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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Friday , July 7 , 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 8:52 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
15       OF THE CASE AS RECORDED    AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




                                                                Page     1
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 1                                 I N D E X

 2
                             DIR          CROSS    REDIR      RECROSS
 3
     Richard   Gervasoni     43,54        47,61
 4
     George Hubbard          130          159      170        173
 5
     Chris Sakala            177
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23 Reporter's Certificate                                     216

24 Concordance                                                217

25



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 1            MR. SUSSMAN :         Does Your Honor want the morn ing

 2 health     report ?

 3            THE COURT:          We got a voice mail from you .          Any

 4 update ?

 5            MR. SUSSMAN :         The only update      I have is I spoke

 6 to Ms. Harden         at 8:10 .     She call ed me , she said she was

 7 run ning a little        late .     She had gastric      disturbance     as

 8 part of the package , and she was in dis pose d, but she

 9 should     be here right at 9:00 .

10            THE COURT:          I' m going to be dealing      with legal

11 matter s until 9:00 .

12            MS. JOHNSTON:          Your Honor , I apologize .      I

13 thought     we were start ing at 9:00 .

14            THE COURT:          No , no , I said I would be here a

15 quarter     of .

16            MR. WARD:       You only have to come 50 yards .

17            THE COURT:          Counsel , I have distributed      to all

18 of you a cautionary            instruction       regard ing the testimony

19 of Shelton         Robert s.    I hope I spell ed it right .          Please

20 look at that because            I want to discuss       that with you

21 when we get everybody             ass embled .

22            MS. JOHNSTON:          That instruction      is fine with        the

23 government .

24            THE COURT:          All right .

25            MR. WARD:       Your Honor , if I may .         I wonder    if




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 1 the Court should n't say at the end , according ly

 2 instruct , you may consider        this evidence       but only for

 3 the limited     purpose s that I have just de scribe d, and

 4 you may give it such weight         as you think is

 5 appropriate .

 6            THE COURT:     I think that 's appropriate        for the

 7 final instruction s, but this is just an interim

 8 instruction .     I want to make sure they know it 's

 9 admitted     for one purpose , but not for the other .

10            MR. WARD:     All right , sir .

11            MR. MONTEMARANO :     If the de fendants      could be

12 heard , Your Honor .

13            THE COURT:     Certain ly .

14            MR. MONTEMARANO :     There has been no evidence

15 that Ms. Martin        occup ied the premises .       Using the word

16 occup ied, if you use the dictionary           definition , she

17 certainly occupied        it because     she was there on those

18 two day s.     There has been no evidence         that she rent ed ,

19 no evidence     she live d there , no evidence         regard ing

20 personal     paper s or any other indicia       of

21 ownership /tenancy .

22            THE COURT:     What would you pro pose I put down ?

23            MR. MONTEMARANO :     I'm mull ing that over as we

24 speak , but I want it put on the record              that I think

25 that is a less than --




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 1          THE COURT:     I mean , occupi ed is about as benign

 2 as I could make it .      I didn't    say own ed , but I didn't

 3 say rent ed by .    I didn't    say live d in .    She certain ly

 4 was occupy    -- occupy ing it on the two occ asions          when

 5 they went there .

 6          MR. MONTEMARANO :      How about occupi ed by Paulette

 7 Martin   and other s, because     there is testimony       of that ?

 8          MS. JOHNSTON:      It does n't make any -- that 's not

 9 the issue here .      The issue is what the evidence          has to

10 do with Ms. Martin .      The Court 's not try ing to

11 summarize    the evidence    or try to be all -inclusive        in

12 term s of what the evidence       was .     You would   -- the Court

13 should   then add and occupi ed other s where -- we could

14 have the Court de scribe       the cocaine     that was found and

15 the gun that was found on one occasion .            I don't think

16 add ing other s does anything       to the instruction .

17          MR. MONTEMARANO :      The other s take s away from the

18 suggestion    in occupi ed that there is some kind of

19 ownership    or tenancy   because    that is part of the issue ,

20 the problem , whatever      you want to call it .

21          THE COURT:     By the way , for appellate        re view

22 purpose s, I'm going to direct        that one copy of this

23 draft instruction      be filed as the       Court 's draft

24 instruction    so that the record         will be clear what we're

25 talk ing about .




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 1          MR. MONTEMARANO :       No objection   from the defense ,

 2 Your Honor .     I submit    that it is the whole question          of

 3 occupancy ; i.e., her owner ship of the premises            involve d

 4 in this case at Bexhill        -- South Dakota    that create s

 5 the problem     for the defense , and I would submit         that

 6 suggest ing in any way , shape or form a par allel nature

 7 to her occupancy        of the 9th Street add ress is just not

 8 an accurate     recitation    of the fact s, and too paral lel

 9 the two is something        the Court should    seek the avoid .

10 And for that reason , if you suggest         occupi ed by her and

11 other s, it make s clear the distinction         between    Bexhill

12 or Hayward     of which there is no question        about

13 occupancy    or --

14          THE COURT:       I'll put in and other s.      It's an

15 innocuous    change .

16          MS. JOHNSTON:       Your Honor , that has nothing        do

17 with the instruction , and quite frankly , the residence

18 on Hayward     is not own ed by Ms. Martin .      She occupi ed

19 that .   We're not going to -- that 's argument          for him to

20 argue that there were other s in the house and that

21 maybe the drug s weren't       her s.

22          THE COURT:       Ms. Johnston , I'm going to put it in

23 and other s.     I don't think    that 's a big deal and --

24          MR. MONTEMARANO :       Thank you , Your Honor .

25          THE COURT:       -- I would just as soon get this so




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 1 that there 's not any serious            objection , but I've tr ied

 2 to faith fully follow         the rule and to take one of the --

 3 I don't want to say anything             un kind about the   language

 4 draft ing of this rule , but having           been a rule writer

 5 for many year s, I don't like the language               of this rule ,

 6 but I tr ied to put in non -tongue -twisting             language    what

 7 the command      of this rule mean s in language          that a

 8 normal      human being can understand .

 9             Now , Mr. McKnett , have you been given a copy of

10 this transcript ?

11             MR. MCKNETT :     No , I haven't , Your Honor .

12             THE COURT:      Let me give it to you .       I didn't

13 real ize you didn't      have a copy .       David .

14             MS. JOHNSTON:      Your Honor , we have not received

15 a copy either .

16             THE COURT:      Okay .    How many counsel    want copies

17 of this transcript       that relate s to Mr. McKnett 's issue

18 on detective      -- Sergeant        Sakala 's testimony ?   Do you

19 all want it ?

20             MR. MONTEMARANO :        I want a copy as well , Your

21 Honor .

22             THE COURT:      All right .    It will take a little

23 long er .

24             MR. HALL:    We can share .

25             THE COURT:      We will have them for you in a few




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 1 minute s, so we can deal with that issue .            I will tell

 2 you this , while we're maki ng copies        for you , Mr.

 3 McKnett    it does appear     that the whole question      of him

 4 having    an opinion    about that subject    was never given by

 5 him on direct    and was only raise d by you on cross , and

 6 that he said he didn't        have an opinion    or had not given

 7 an opinion , excuse      me , in his direct , and then when you

 8 asked him for it , he says , well , I do have an opinion

 9 a, nd when he was asked what the basis was , he says ,

10 well , other matter s not in evidence .         So , I think the

11 subject    of his additional     opinion   was brought    out by

12 you on cross .

13           MR. MCKNETT :     Your Honor I'm sure that 's

14 accurate , but the -- I think the crux of my argument                 is

15 that he had already       been asked that question       when he

16 was being voir dire d as to whether         or not he was an

17 ex pert , and his answer      then was that he did not rely on

18 any statement s from other s involve d in the case that

19 form ed the basis of his opinion .

20           THE COURT :     That 's correct , because    the opinion s

21 he gave on direct       were ones that were limited       as he

22 indicated , but on your cross,       you asked him to give an

23 opinion    in an area that he had not wandered          into .

24           MR. MCKNETT :     Your Honor , I want to be clear .

25 I'm not talk ing about what he said yesterday            on direct




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 1 or recent ly on direct .        I'm talk ing about early on in

 2 the trial when he was being voir dired --

 3            THE COURT:      On his voir dire , correct.

 4            MR. MCKNETT :     -- as an ex pert , he was asked

 5 specifically     whether    or not    he had based his opinion s

 6 -- any of his opinion s as an ex pert in this case on

 7 information     he received     from other s involve d in the

 8 case .   His answer      was un equivocal , no , he did not .      He

 9 form ed his opinion s based on the information , his

10 expertise , train ing , so forth and other information             he

11 received    during   the case .      I'm sorry , the --

12            THE COURT:      I think his opinion s were limited         to

13 the totality     of all the record ed conversation s so he

14 could figure     out , look ing at them as a whole , what on

15 earth was being talked         about in apparent ly code d

16 conversation , plus his background           and experience , plus

17 the surveillance s --

18            MR. MCKNETT :     Your Honor .

19            THE COURT:      -- which are in evidence .

20            MR. MCKNETT :     Mr. Martin     just point ed out to me

21 that the witness        is in the courtroom , and I think just

22 for everybody 's sake , it might be a good idea -- .

23            THE COURT:      Excuse me .    I didn't know   that .

24 Sorry to exclude        you again , Sergeant .

25            MR. MCKNETT :     Your Honor , I may not be maki ng




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 1 myself    clear , but I remember       the question s when he was

 2 being voir dire d -- we had original ly challenge d his

 3 status    as an ex pert as proffered       by the government , and

 4 during    the voir dire , he was asked to de scribe          the

 5 basis for his opinion s -- any of his opinion s that he

 6 intend ed to adduce        during   this trial .

 7            He said that his opinion s were form ed on his

 8 train ing , his expertise , and the information            gathered

 9 during    the course    of this investigation .         He was then

10 asked his -- the basis for his opinion               in any way --

11 his opinion s were in any way based on information                 he

12 received     from other individuals       in this case , and he

13 said no .     He said he reach ed his opinion s as an ex pert

14 without     discuss ing the case with other s involve d in the

15 case , cooperator s, in formants        and such .     He said then

16 when he talk ed to them , they corroborate d his opinion .

17            So I was -- when I asked him -- I was simply

18 asking    him the same question , the question           to which he

19 had answered     previously , no , his opinion s are not based

20 on information     he received       from cooperator s, informant s

21 or other s involve d in this case .         I think I'm entitle d

22 to rely on him giving         the expectation      that he will give

23 the same answer     to the same question .           He didn't .    He

24 changed     his answer .

25            THE COURT:      No , no , the problem     is you will have




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 1 to see the transcript .        The transcript      of your

 2 cross-examination      of Sergeant     Sakala    had a question ,

 3 and we'll have the exact question           in a moment , but the

 4 essence   of it was , the relationship          between   Ms. Ali and

 5 who was the other person ?          I can't remember      what it

 6 was .

 7           MS. JOHNSTON:      Ms. Levi .     Ms. Levi .

 8           THE COURT:      It was a question      about the

 9 relationship    between    the two of them .

10           MR. MCKNETT :     Yes .

11           THE COURT:      And you asked him about that

12 relationship , and he said I have not given an opinion

13 about that .    He hadn't     given an opinion      at all , and

14 then you asked him for it .

15           MR. MCKNETT :     Yes , I did , Your Honor .

16           THE COURT:      Well , you asked him an opinion        that

17 was outside    the subject     area that he had testifi ed to

18 on his direct    and which was limited          in his dir ect

19 testimony   to the subject      area s of knowledge       that he --

20 you were advise d he was rely ing upon .           When you asked

21 him for an opinion      that was outside        the scope of his

22 direct , he said he haven't         given an opinion      on that

23 subject , and then you said well , essentially , give it

24 to me .

25           MR. MCKNETT :     Yes , I did .




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 1          THE COURT:      And then when you asked him what the

 2 basis of it was , he very candid ly told you it was on

 3 other stuff I got in the investigation .

 4          MR. MCKNETT :     Your Honor , I didn't      ask him -- I

 5 did not ask him the basis for his opinion .             I just went

 6 on .

 7          THE COURT:      Oh , no .    You did .

 8          MR. MCKNETT :     I don't have     a transcript .     It was

 9 on Ms. Johnston 's re direct         that he made the statement

10 that he based his opinion          on --

11          THE COURT:      Other information .

12          MR. MCKNETT :     What other people      told him .

13          THE COURT:      Right .

14          MR. MCKNETT :     I think in all fairness , I am

15 entitle d to rely on the fact that he had previous ly

16 state d under oath that he did not base any of his

17 opinion s on what other people          involve d in the case told

18 him .

19          THE COURT:      That is what he consistent ly did on

20 direct , in the opinion s he gave on direct , but on

21 cross , he was asked for an opinion          that went out side

22 the scope of where he had circumscribe d himself             in his

23 direct   opinion   testimony .

24          MR. MCKNETT :     He testifi ed that as an ex pert , he

25 had an opinion     about what my client       knew about Ms.




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 1 Levi 's action s.

 2            THE COURT:      Only because    you asked him that

 3 question .

 4            MR. MCKNETT :     That 's true .   I asked him that

 5 question     because    he had already     been asked that

 6 question     or a similar    question     when he was being voir

 7 dire d, and the answer       to that question     was , I did not

 8 rely on information        told to me by other people s

 9 involve d in this case to form the basis for my opinion .

10            THE COURT:      I don't have    the transcript    that

11 that was voir dire .        I don't recall     the voir dire     going

12 into that intense        de tail of the specific     opinion    about

13 the relationship        between   Ms. Levi and Ms. Ali .

14            MR. MCKNETT :     I can proffer    to the Court that he

15 did say that , and I wrote it down and highlight ed it

16 because    it 's critical    that his opinion s not be based on

17 hearsay    information     un support ed otherwise    by people

18 involve d in this case .

19            THE COURT:      They were not support ed by hearsay

20 on his direct     opinion s.      It was only an opinion       you

21 asked him for on cross where he did that .

22            MR. MCKNETT :     It does n't change   the fact , Your

23 Honor , that he already        testifi ed that he did not base

24 any of his ex pert opinion s on information           --

25            THE COURT:      The ex pert opinion s he was going to




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 1 give were going to be ex pert opinion s based on two

 2 subject s:     Interpretation    of the words use d on the

 3 record ed conversation s, and second ly , the nature             of the

 4 drug business     and how people     conduct   it .   Those were

 5 the two area s of his expertise .         Those were the two

 6 ar eas that he specifically       testifi ed to , at least on

 7 his direct .     He was n't asked on direct      to give any

 8 opinion s about do these two people         know each other .

 9          MR. MCKNETT :     Your Honor is absolute ly correct ,

10 but I -- again , I'm going back to when he was voir

11 dire d as an ex pert in which he flat ly state d that none

12 of his opinion s were based on thing s told to him --

13 none of his opinion s as an ex pert .

14          THE COURT:      None of the opinion s that he

15 anticipate d giving     on direct , th at 's correct .

16          MR. MCKNETT :     No , he didn't    say that .    He said

17 none of his opinion s were based on information                told to

18 him by other s in this case .        That was a flat --

19          THE COURT:      Mr. McKnett , it 's like a radiologist

20 get s up on the stand and gives exhaustive            testimony

21 interpret ing x-ray s, and on cross-examination           , he 's

22 asked what 's your opinion       of Ocean City , and he says , I

23 think it 's a dump .     Now he gave an opinion        about Ocean

24 City that was asked about on cross-examination             .

25          I don't understand      how that kind of an opinion




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 1 asked of an ex pert who gave care fully circumscribe d

 2 testimony     on direct   somehow    is changed   drastically       by

 3 the fact that on cross-examination         , he is asked a

 4 different     opinion .   He was asked an opinion         that ,

 5 frankly , I think there could have been a very

 6 legitimate     basis to object      to the question      you asked

 7 because    it is asking    for information      that , in essence,

 8 would be based upon hearsay .

 9           MR. MCKNETT :     Your Honor , Mr. Sussman        I think is

10 -- Mr. Sussman     want ed to make some comment s.

11           THE COURT:      Mr. Sussman , where is your client ?

12           MR. SUSSMAN :     She 's at the Hyattsville        exit .

13 She just call ed me .

14           THE COURT:      She's at Hyattsville ?         That 's a long

15 way away .

16           MR. MONTEMARANO :     That 's a half an hour .

17           THE COURT:      Well , it depends    on whether     you're

18 being follow ed by the state police           or not .

19           MR. MONTEMARANO :     She 's a trucker , Your Honor .

20 I submit     the Court can take judicial        notice    that the

21 speed limit s are mere ly advisory        if you're      use d to

22 drivi ng an 18 -wheel er .

23           THE COURT:      Mr. Sussman , your client        needs to

24 understand     she 's skati ng very close to a line that is

25 going to result     in her being detain ed .       She can't




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 1 choose    to show up at the time of her choosi ng .

 2           MR. SUSSMAN :       I don't think     she 's do ing that ,

 3 Your Honor .     As I said before , she call ed me at 5:00 in

 4 the morn ing when she got out of the hospital .               I mean ,

 5 people    get sick .    I mean , large trial s are like small

 6 town s.     Things   happen   to people    during   the course of

 7 the trial .     It's un fortunate      it happen ed to Ms. Hard en,

 8 but it happen s to juror s and sometimes            even

 9 prosecutor s.

10           THE COURT:      What is the next witness          this

11 morn ing , Ms. Johnston ?

12           MS. GREENBERG:        Your Honor , it is a chemist , and

13 Ms. Harden     did stipulate       to the drug stipulation .          The

14 chemist     is offering   testimony     as to Ms. Dobie 's

15 residence     -- Ms. Dobie 's residence        and a residence

16 associate d with Mr. Goodwin .

17           MR. SUSSMAN :       Obvious ly , I would waive .         We 've

18 stipulate d.

19           THE COURT:      Why don't you get your client             on the

20 phone and we'll get her to waive with respect                to the

21 chemist ; correct ?

22           MS. GREENBERG:        Yes, sir .

23           THE COURT:      What's    the next witness       after the

24 chemist ?

25           MS. GREENBERG:        Although     she stipulate d,




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 1 certain    defendant s didn't    stipulate .    T he drug

 2 stipulation    only contain ed the one s that everybody

 3 stipulate d to , and the chemist        is testify ing as to the

 4 non -- some of the non -stipulate d evidence .           The next

 5 witness    is Mr. Bynum 's search      of and arrest    as to his

 6 residence .

 7           THE COURT:      Those would be matter s that don't

 8 pertain    to your client .     Mr. Sussman , why don't you

 9 talk to your client , and as her counsel , dis cuss with

10 her whether    she should     or would want to waive her

11 presence .

12           MR. SUSSMAN :     I don't think    there 's going to be

13 any problem    with waiver .     I'll get her on the phone .

14           THE COURT:      I want to make sure you have the

15 chance    to con sult with her yourself , and then I want to

16 get her on the phone and get on the record             that she

17 waive s her presence      with respect    to the chemist     and

18 with respect    to Gene --

19           MS. GREENBERG:      George   Hubb ard as to the search.

20           MR. SUSSMAN :     I will do that , and I trus t the

21 Court will accept       my representation s.

22           THE COURT :     I would like to get it on the

23 record , but I would like to -- I'm going to have to

24 have her state it on the record          that she did waive it .

25 Make sure she understand s her constitutional            right , her




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 1 right under the Federal           Rules to be present , and that

 2 she 's willing ly waivi ng it .

 3          MS. JOHNSTON:           The government   would ask that

 4 that waiver    be done on the record         before , and I hate to

 5 be -- if we're on appeal .

 6          THE COURT:       Mr. Sussman , call her .        I'll do

 7 other matter s here for a minute .           Call her .

 8          MR. SUSSMAN :      I did want to speak to Mr.

 9 McKnett 's matter       if I can , because    I think -- I got

10 into this as well .        My understanding       was that Detective

11 -- Sergeant    Sakala --

12          THE COURT:       Mr. Sussman , I hate to cut you off

13 on that issue , but I'm going to give you the

14 tra nscript s and we can talk about it on a break .

15 Second ly , I don't want this jury cool ing its heel s any

16 long er than I have       to , so let 's get your client       on the

17 phone , get the waiver       done , get the chemist       in , get the

18 search   agent in , and then we can move on .

19          MS. GREENBERG:           Your Honor , I can suggest    that

20 he use the Court 's phone , that way when he 's talk ing to

21 her , it can just --

22          THE COURT:       Oh .

23          MS. JOHNSTON:           And if I might mention     the fact

24 that our one television           over there has nothing     but

25 static   on it , so .




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 1           THE COURT:      Oh , all right .

 2           MR. MCKNETT :     Your Honor , I did want to also

 3 mention     -- I take it the Court want s to get the jury in

 4 here now .

 5           THE COURT:      Yes .

 6           MR. MCKNETT :     We will take this up at the break ,

 7 perhaps     --

 8           THE COURT:      We will take this up --

 9           MR. MCKNETT :     -- at some point before       the

10 se rgeant    get s on the stand .

11           THE COURT:      Yes , I will re solve it before

12 Sergeant     Sakala    resume s the stand .

13           MR. MCKNETT :     Thank you .

14           THE COURT:      We simply    have to get this -- when

15 did you anticipate        call ing Sergeant   Sakala   again ?

16           MS. JOHNSTON:       We would like to get him done .

17           THE COURT:      Sometime    this summer ?

18           MS. JOHNSTON:       We are now on discretionary

19 recross -examination       as a result    of the government 's

20 brief re direct       examination    on Wednesday .

21           THE COURT:      I think he 's a head of a patrol

22 division ; isn't he ?

23           MS. JOHNSTON:       He is in deed , Your Honor .

24           THE COURT:      Okay .    Mr. Sussman , your client 's

25 cell phone does n't answer .          It goes direct ly into voice




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 1 mail , and the mailbox        is full .

 2            MR. SUSSMAN :     That was the number      she call ed me

 3 on .

 4            THE COURT:      How long ago did she call you ?

 5            MR. SUSSMAN :     Well , I can exact ly tell you .

 6 9:08 .

 7            THE COURT:      Counsel , we will advise     the jury

 8 that someone     has been delay ed in traffic         and we will

 9 resume     as soon as we can begin .         We won't tell them who

10 is stuck in traffic , but somebody 's stuck in traffic .

11            MR. MCKNETT :     Your Honor , I have re view ed the

12 transcript .

13            THE COURT:      Okay .   Well , let me ask you this :

14 Have all counsel        re view ed this transcript ?

15            MR. MARTIN :     Yes, sir .

16            MR. HALL:      Yes , Your Honor .

17            THE COURT:      It 's Mr. McKnett 's primary     issue .

18 Mr. McKnett , I direct        your attention     to Page 4.

19            MR. MCKNETT :     Yes , Your Honor , I see that .

20            THE COURT:      And on Line 2, you      ask ed the

21 question , now , is it your testimony           that Ms. Ali knew

22 that Ms. Levi was involve d in drug distribution , and

23 his answer     was , I don't think        I've testifi ed to that ,

24 no .     Now that 's consistent     with his voir dire

25 examination     and qualification s on the opinion s he was




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 1 going to ex press .     It's consistent      with the lim itations

 2 place d on his testimony .

 3            An d then you said , I'm sorry , is it your opinion

 4 that Ms. Ali knew about Ms. Levi being involve d in drug

 5 distribution ?     Only when he 's pre ss ed did he answer         the

 6 opinion .     My opinion    is , yes , but not based on these

 7 conversation s.     And then you asked him again , well ,

 8 what is it based upon , and he said other information .

 9 And you know , you press ed him again .

10            Other information     that 's been present ed to the

11 jury ?   He said , I do not believe        the jury has heard

12 that information .      So I mean , you force fully opened         the

13 door to him giving      opinion    testimony   outside   the scope

14 of his qualification s and outside          the scope of the

15 permissible     basis for that series       of opinion s he gave

16 on direct .

17            So , why is it not a situation      where you opened

18 the door to that by press ing him to give an opinion               in

19 an area that he had decline d to go into on direct              and

20 on cross ?

21            MR. MCKNETT :     Because   previously   with being voir

22 dire d, Your Honor , he testifi ed without          equivocation

23 that none of his opinion s were based on information               he

24 received     from individuals     involve d in this case .

25            THE COURT:      None of his opinion s that he was




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 1 prepared     to offer on direct     and which he did give on

 2 direct .

 3            MR. MCKNETT :     He didn't    qualify   that .   He said

 4 none of his opinion s.

 5            THE COURT :     Well , you know , how is this any

 6 different     than the hypothetical        I gave you about a

 7 radiologist     who testifi es about x-ray s end less ly on

 8 direct     and somewhere    in the middle     of his

 9 cross-examination     , he 's asked about Ocean City , and he

10 says I think it 's a dump ?

11            Now , clear ly that 's outside     the scope of his

12 expertise     on qualification s as a radiologist .

13            MR. MCKNETT :     I didn't    ask -- the Court 's

14 question     about Ocean City is un related         to the x-ray s,

15 the medical     treatment , or that expertise          at all .    I

16 asked him a question        specifically     related    to his

17 expertise , his opinion s as an ex pert , and he had

18 previous ly said none of his opinion s are based on

19 information     he received     from other individuals       involve d

20 in this case .

21            I also would point out , Your Honor , that it

22 was n't -- I didn't      ask him what his opinion         was based

23 on .   That was the government 's question .            And what he

24 gave was an opinion        based on hearsay .       It 's not only a

25 Crawford     violation   because   it was hearsay       apparent ly




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 1 obtain ed during     -- by a police officer         in the

 2 in vestigation     of this case in which he sought             to obtain

 3 information      to be use d during    the presentation         of this

 4 case .

 5            It 's also a hearsay     violation     in and of itself

 6 because    he is tell ing us what other people           told him .

 7 That is not ex pert opinion .         That is simply      re lay ing

 8 hearsay    information       to the Court .     That is a violation

 9 of the hearsay      rule .     It does n't -- I did not invite

10 him to present      evidence     that is barred     by the rule s of

11 evidence .     He has simply      elevate d hearsay     opinion    to

12 the status     of ex pert opinion     now because      he 's

13 testify ing as an ex pert .

14            THE COURT:      Well , ex pert s routine ly testify      on

15 the basis of hearsay          information     that 's deem ed re liable

16 by those in the field in which they give opinion s.

17            MR. MCKNETT :      That 's true , Your Honor .

18            THE COURT:      I'm not suggest ing we can sudden ly

19 dis regard    Crawford , but he gave opinion s on his direct

20 based upon the totality          of all the record ings that he

21 listened     to as well as the surveillance           information       and

22 based -- and based on his experience              and knowledge     in

23 the field .

24            MR. MCKNETT :      It 's not information     available       to

25 ex pert s in the field .        It would have been -- let 's




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 1 assume    -- I don't know .     Let 's assume    it was Ms. Levi

 2 who said that .     That is not -- information         received

 3 from Ms. Levi or somebody        else is not the basis for an

 4 ex pert opinion    --

 5           THE COURT:      Mr. McKnett , I would be sympathetic

 6 to your argument        if he had given opinion s on direct

 7 examination    that clear ly involve       going outside    the

 8 scope pf the knowledge        he announced     that he would base

 9 his opinion s upon , but that 's not what happened .

10           He gave a series     of opinion s on his direct

11 examination    that were appropriately         circumscribe d in

12 accordance    with what he said on his voir dire , and it

13 was only on his cross-examination           when he was press ed

14 several    time s to give an opinion       about something    that

15 he gave a response        to your question .     I don't see how

16 that create s a Crawford       violation    when you were the one

17 that solicited     it , not the government .

18           MR. MCKNETT :     Your Honor , first of all , I didn't

19 solicit    that answer .

20           THE COURT:      You press ed him for the opinion .

21 You press ed him for the basis of the opinion .

22           MR. MCKNETT :     I asked him if i t was information

23 present ed to the jury , and he said , no , and I move d on .

24 I did not press him for the base of his opinion .

25           MR. MONTEMARANO :     The information     from other




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 1 individuals        in response    to Ms. Johnston 's question         on

 2 Page 126 , that 's the problem .            That 's the Crawford

 3 violation .        That is precise ly what Crawford          speak s to ,

 4 and he slip ped it in when he had been voir dir ed on

 5 that , and he said specifically , my expertise                is based

 6 upon information        not involving       other individuals , which

 7 specifically        speak s to the whole question          that we voir

 8 dire d him at length       about his reference          to cooperator s,

 9 et cetera .

10          It was specifically            because   he made those

11 representation s to us and to the Court on voir dire

12 that he was admitted        as an ex pert .       He cannot    then

13 having   been grant ed leave to testify            as an ex pert slip

14 in in appropriate       base s for expertise .         It may be a

15 reason   he honest ly believe s it .

16          THE COURT:       Mr. Montemarano , take a look at the

17 re direct   by the government           on this issue .     Where she

18 invite d Sergeant       Sakala    to go back to the question          he

19 was asked on cross about the              conclusion    that Ms. Levi

20 and Ms. Ali knew each other and their involve ment in

21 drug s, and he was asked , do you remember                that question ?

22 She asked,     what was the basis of it ?           He asked to

23 re phrase   it .

24          And the next thing he says is , and my answer                  to

25 the question        -- excuse    me .    And at the bottom     of Page




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 1 125 of the transcript        I have in front of me at Line 23

 2 and my question     to you is what is the basis for your

 3 conclusion    or your statement       that Ms. Ali knew that Ms.

 4 Levi was involve d in drug s, and the answer           was ,

 5 information     I received    from other individuals , which

 6 was the same response        he gave to you .

 7            MR. MONTEMARANO :    That is not the same response

 8 -- I'm sorry for interrupt ing .          That is not the same

 9 response , and I respect fully submit          to the Court if

10 that was the answer        he 'd given in voir dire , he

11 would n't have been an ex pert , because         that 's not going

12 to permit    him to testify .

13            THE COURT:    He answered      on his cross-examination

14 what's   it based on :      Other information .

15            MR. MONTEMARANO :    Other information .

16            THE COURT:    Other information      that 's been

17 present ed to the jury ?       No .

18            MR. MONTEMARANO :    There may be information         that

19 is not Crawford     vi olative , but also is not admissible

20 before   the jury for a lot of different          reason s.

21            THE COURT:    Let me do this .      I've heard eloquent

22 argument    from counsel     for the defense ; let me hear from

23 Ms. Johnston .

24            MS. JOHNSTON:     Your Honor , this is simply

25 outrageous    argument     by counsel .




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 1           THE COURT:     Just tell me why it 's outrageous .

 2           MS. JOHNSTON:       Well , it 's mind boggli ng to the

 3 government , because      quite frankly , when Detective

 4 Sakala    was voir dir ed , he knew what opinion s he was --

 5 what question s he was going to be asked on direct .                We

 6 proffered     him as an ex pert in particular          areas in

 7 interpreting     the code language     and in term s of the

 8 manner    and mean s in which drug traffick ers conduct

 9 activity .

10           The Court admitted      him on that basis .       He made

11 it very clear what the basis of those opinion s were .

12 On direct     examination , he testifi ed about those

13 opinion s.     On re direct    examination    -- on

14 cross-examination      by Mr. McKnett , he is asked if he

15 gave an opinion     about is it your -- and it was n't even

16 opinion , it was a question .        Is it your testimony         that

17 Ms. Ali knew that Ms. Levi was involve d in drug

18 distribution ?     His answer     was , I don't think      I've

19 testifi ed to that , no .

20           So he didn't    give an opinion      on direct

21 concern ing the relationship        between    Ms. Ali and Ms.

22 Levi , and Mr. McKnett        then asked him , is it your

23 opinion     that Ms. Ali knew about Ms. Levi being involve d

24 in drug distribution ?         That 's not asking      for an ex pert

25 opinion .     There it 's asking    him whether       he had an




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 1 opinion .

 2           It would be the same thing as asking          any

 3 individual , do you have an opinion          if Mr. Jones knew

 4 Mr. Smith ?     And he said , my opinion      is yes , but not

 5 based on these conversation s.           Made it very clear at

 6 that point in time to Mr. McKnett           that his opinion        was

 7 not based upon the conversation s that he had heard .

 8 Mr. McKnett     should    have let it drop right then , but Mr.

 9 McKnett     didn't    do that .   He press ed the detective .

10           What is your opinion       based on ?   Detective

11 Sakala , when he was being voir dire d, could not have

12 anticipate d that he was going to be asked on

13 cross-examination        if he had opinion s about what

14 individual     defendant s knew or didn't      know about each

15 other , what their relationship s were with or without

16 each other .

17           Mr. McKnett     went on and asked the question ,

18 which he just told the Court he did not ask , which is

19 what is your opinion        based on ?    He said , other

20 information .        And then Mr. McKnett    went further     and

21 asked him other information          that 's been present ed to

22 the jury ?     He said , no , I do not believe      the jury has

23 heard that information .          On re direct , and without

24 objection     I might note , the government       asked him the

25 series    of question s that begin s on Page 125 .




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 1            Counsel    asked you about your conclusion             that Ms.

 2 Ali knew Ms. Levi was involve d in drug s.                Do you

 3 remember    that question ?      Yes .     Okay .     What was the

 4 basis for your conclusion         that Ms. Ali knew Ms. Levi

 5 was involve d in drug s?        And Sergeant         Sakala    said , I'm

 6 sorry , would you re phrase       the question , I want to make

 7 sure I heard the question         correct ly .

 8            The question    is that this morn ing , Mr. McKnett

 9 asked you whether        or not you had an opinion             as to

10 whether    Ms. Ali knew Ms. Levi was involve d in drug s.

11 Do you recall        that question ?      Yes , I do .    And my

12 question    to you is , what is the basis for your

13 conclusion     or your statement         to Mr. McKnett        that Ms.

14 Ali knew that Ms. Levi was involve d in drug s?                   His

15 answer :    Information     I received      from other individuals .

16            The government    didn't      ask him at that point what

17 did other individuals        tell you .      At that point , based

18 on Mr. McKnett 's question s, the government                  was allow ed

19 to have that detective         explain     what the basis of his

20 opinion    was so that the jury didn't              believe    that the

21 government     was somehow     not providi ng them with

22 additional     information .     There was materials            that the

23 government     did not provide     as a result         of the

24 cross-examination        question s.

25            There is nothing     in here testimonial            in nature




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 1 in term s of what other individuals         told him .       So , this

 2 notion     that there 's some kind of Crawford         violation       is ,

 3 in the government 's position , without           merit .

 4 Furthermore , the question s were not object ed to either

 5 by Mr. McKnett , so now several         day s later to come in --

 6 the day after that testimony          to come into the court and

 7 now say somehow     all of Sergeant      Sakala 's testimony       has

 8 to be stricken     is certain ly not support ed by the

 9 record , and in deed this is class ic example           of Mr.

10 McKnett , being quite frankly , not know ing the answer                 to

11 his question     and asking    the question      and then --

12            MR. MCKNETT :    Objection , Your Honor .

13            MS. JOHNSTON:     -- and then rather       than let ting

14 it go , specifically       asking   the sergeant     what was the

15 basis for his opinion , allow ing the government              then to

16 put in at least     the source      of his information       but not

17 the substance     of that information , and we believe            that

18 there 's no -- that the Court should            deny Mr. McKnett 's

19 motion , certain ly to the ex tent that he 's asking             the

20 Court to strike     the entire      testimony    of Sergeant

21 Sakala .

22            MR. MCKNETT :    Your Honor , if I may respond .

23 First of all , as to the timeliness         argument .       I would

24 point out that if my recollection          is correct , Sergeant

25 Sakala     was the last witness      on that day .     The




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 1 information     I'm complain ing of was produced        literal ly

 2 minute s before    he left the witness        stand and minute s

 3 before     the session    was over that day .      And I raise d the

 4 issue before     we went back into the trial .         So as far as

 5 timeliness , it may not have been at the very second ,

 6 but it was within        minute s, and I think there is ample

 7 precedent     that an objection    made that quick ly is

 8 timely .

 9            Second ly , the question    I asked -- I did not ask

10 the question     not know ing what the answer        was going to

11 be .   I asked the question      know ing what the answer

12 should     have been .    The answer   should    have been

13 something     other than what people      told him , because        he

14 said on voir dire        that he form ed all of his opinion s

15 about this case without        information      -- without   talk ing

16 to the cooperator s or informant s or anyone           else and

17 they simply     confirm ed his opinion .

18            I had every reason     to expect     he would give the

19 same answer     the second    time he was asked the question

20 as he gave the first time he was asked the question                  and

21 he didn't .     That 's the issue that I'm raisi ng .         He

22 changed     his answer , he broad en ed without      prompt ing .        He

23 broad en ed the base of information        he reli ed upon to

24 form his opinion , and by do ing that , he included

25 im proper    information , hearsay     information    which cannot ,




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 1 under any circumstance s, be corroborate d according to

 2 the Daubert      standards .     It is simply    elevati ng hearsay

 3 evidence      to the level of ex pert opinion          and that is not

 4 allow ed .

 5            MR. MONTEMARANO :        Your Honor , very brief ly .

 6            THE COURT:       Very brief .

 7            MR. MONTEMARANO :        Let 's go back to your

 8 radiologist .      You admit him based upon his expertise ,

 9 his train ing , to give certain          testimony .     On cross or

10 re direct , wherever       during   his testimony , he now

11 provides      a different    basis for his opinion         not based on

12 train ing and experience         prior to his analyzi ng this

13 patient .

14            He decides , I don't really        like this patient .

15 He 's from Ocean City .         I think it 's a dump , people         from

16 that dump don't really          de serve a lot of concern       on my

17 part .    He 's now given us a different         rationale .     It 's

18 not an exceptional         -- acceptable     rationale .     If that

19 was the rationale         provide d in voir dire , he would n't

20 have been admitted         as an ex pert .

21            The difference      is there 's a very clear

22 difference      between    my 20 year s as a radiologist        and

23 train ing and experience , and I don't like people               from

24 O. C.    I mean , the dis connect       there is pal pable .     The

25 problem      here is we have     a dis co nne ct between     what I




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 1 knew comi ng in as a narcotic s officer            and what I've

 2 learned in the wiretap.           That 's the argument       we made

 3 before     Sergeant   Sakala    took the stand .

 4            We said , Judge , we're going to have a problem

 5 with this guy .       He's going to be blurring        the line

 6 between     fact and fiction.        He's going to be blurring

 7 the line between        expertise    prior and expertise       gain ed

 8 during     the investigation      because     you can't ignore      the

 9 fact of thing s you learn ed during            the investigation .

10 I respect fully submit         that there is no way not to

11 understand     that some of what Detective          Sakala    think s

12 about , let 's say , Paulette        Martin    is based upon the

13 fact that there were huge seizure s of drug s from her

14 evidence .

15            THE COURT:     Mr. Montemarano , Ms. Harden         has

16 arrive d.     We need to get this jury in here .             I think a

17 more apt analogy , perhaps          I was giv ing a bad one with

18 Ocean City , is you have someone            on the stand qualifi ed

19 in the field of radiology , and sudden ly give s, on

20 cross-exami nation , an opinion         on pediatric s that he 's

21 not been qualifi ed for and it come s in .

22            Counsel , I'm going to -- with all due respect                 to

23 eloquent     argument , I'm going to deny Mr. McKnett 's

24 motion .     I think that the testimony          elicited    from

25 Sergeant     Sakala   on cross-examination        was elicited      by




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 1 the defense .     It was an opinion       that perhaps     was

 2 objectionable , but no objection          was made .     It was

 3 elicited     by defense   counsel    himself    and only when

 4 press ed did he say what his opinion            was based upon , and

 5 under the circumstance s, I find no basis for grant ing

 6 the motion     and your motion      is de nied .

 7            MR. MONTEMARANO :    For the record , the defense

 8 will be permitted       a retrospective     and pro spective

 9 continui ng objection ?

10            THE COURT:     You already    have a continui ng

11 object ion on that you have already            made on Sergeant

12 Sakala .     That continui ng objection        is alive and well ,

13 but you need to understand          that it 's based upon the

14 voir dire     exam ination   producing    a ruling     by the Court

15 that he was qualifi ed to give an opinion              on the

16 language     use d in these conversation s, and the nature              of

17 the drug business , and whether          he 's qualifi ed to do

18 that or not .

19            But you do not have a continui ng objection             if

20 you ask him about his opinion           about racetrack s or

21 something .     So make sure you -- if there 's a new basis

22 for objection , you need to raise it anew , but a new

23 question     of whether   he 's qualif ie d to give opinion s

24 within     the subject s that I've permitted         is a continui ng

25 objection     that you do not need to re assert .




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 1           All right , counsel , anything        further ?    I intend

 2 to bring the jury in .         I intend   to first give them

 3 404 (b) cautionary       instruction    about Mr. Roberts .

 4           Now , Ms. Harden , you need to understand           that you

 5 need to be in this court on time and I recognize                you

 6 have an illness , but we can't simply            bring this huge

 7 operation     to a halt unless       there 's something     really

 8 serious .     So , please   understand    that this trial is

 9 going to resume     on Tuesday       at 10 o'clock   and you should

10 be here by no later than quarter           of 10:00 on Tuesday ,

11 all right ?

12           MS . HARDEN:      Fine .   Thank you .   I'm normally

13 here on time .     I have     a contagious     thing as that

14 paperwork     is going to tell you , and I didn't           get out of

15 the hospital     until five o'clock       this morn ing .

16           THE COURT:      All right .     We're ready to proceed ?

17           MS. JOHNSTON:       Yes , Your Honor .

18           MS. GREENBERG:       May we set up the evidence        over

19 there while the jury is comi ng in ?

20           THE COURT:      Yes , certain ly .

21           MS. JOHNSTON:       I would just like the record           to

22 reflect     that Ms. Harden     was diagnose d with having       a

23 strep throat , given an antibiotic , and I believe

24 Tylenol     for her condition , and I would just like the

25 record    to reflect     that if Ms. Hard en is late for




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 1 another    court proceeding , the government          will move to

 2 revoke    her condition s of re lease for the trial .

 3           THE COURT:     I think I've communicate d to her the

 4 need to be here on time on Tuesday , and you know , Mr.

 5 Sussman , I'm sure you can advise            her that that is a

 6 possibility    that the government         will make that motion ,

 7 and I would grant it .         She needs to make sure she 's

 8 here .

 9           I will direct    that the document       that she

10 furnish ed from the Bay view campus           of John s Hopkins   be

11 place d in the record     so that it 's clear what was the

12 nature    of the   illness .    Does anybody     want a copy of

13 this ?    Ms. Johnston , do you want a copy of this ?

14           MS. JOHNSTON:        No, sir .   I'm satisfi ed that it 's

15 filed .

16                    (Jury returns     at 9:39 a.m. )

17           THE COURT:     Good morn ing , ladies and gentlemen          .

18 Sorry for the late start .          Moving    this battleship

19 sometimes    is hard to get it maneuvered          into place at

20 precise ly the moment     I want ed to start , but sometimes

21 our high ways and byways don't work well .

22           Before we begin testimony          today , I want ed to

23 refer you back to some testimony             you heard yesterday .

24 Yesterday    you heard the testimony          of Officer   Shelton

25 Robert s concern ing se arche s made of premises           occupi ed




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 1 by Paulette    Martin     and other s in 19 86 and of her plea

 2 of guilty    to a plea charge        of possession       with intent      to

 3 distribute    cocaine .     This testimony      was admitted      but

 4 only for a limited        purpose    that I will now ex plain to

 5 you .

 6          Our evidence      rule s state that , and I quote

 7 "evidence    of other crime s, wrong s or act s is not

 8 admissible    to prove the character         of a person      in order

 9 to show action     in conformity        there with ."     Si mply put ,

10 this language    of the rule mean s that evidence             of other

11 crime s, wrong s or act s may not be use d to demonstrate

12 that a person    has a certain        character , and that because

13 of that character , such person           is like ly to have

14 committed    the offense     charge d in this case .

15          The evidence      rules provide , however , that such

16 evidence , and I quote "may be admissible                for other

17 purpose s, such as proof of motive , opportunity , intent ,

18 preparation , plan , knowledge , identity           or absence       of

19 mis take or accident ."       I have ruled that the testimony

20 of Officer    Shelton     Robert s is admissible         but only for

21 these other limited        purpose s.     According ly , I instruct

22 you that you may consider           this evidence       but only for

23 the limited    purpose s that I have just de scribe d.

24          All right .      You may proceed , Ms. Greenberg .

25          MS. GREENBERG:       Thank you , Your Honor .




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 1            Your Honor , at this time , before       we begin with

 2 the witness , the Court will be happy to know the

 3 parti es have reach ed some stipulation s.           I don't want

 4 to read them at this time , but I would like to

 5 introduce     them on the    record    and give a general

 6 description     of what they contain .

 7            THE COURT:    All right .     You may do so .     I will

 8 explain    it to the jury .       Ladies and gentlemen     , part ies

 9 can reach agreement       on fact s, and when they do that ,

10 it 's call ed a stipulation , and this is in lieu            of

11 testimony .     You should    accept    this as true , what's

12 being read to you as a stipulation.              There will be a

13 long er version    that will be place d in evidence          that I

14 can refer to later , but Ms. Greenberg            is going to

15 summarize     what the stipulation       is .

16            Mr. Ward , did you have an issue ?

17            MR. WARD:    I'll wait for the stipulation s.

18            MS. GREENBERG:     Your Honor , the first

19 stipulation     relate s to the telephone        records   and the

20 various    telephone    records    and the various    subscriber s

21 associate d with this case , and there 's a lengthy

22 document    contain ing those telephone         number s and the

23 subscriber s.

24            The second   stipulation     relate s to motor vehicle

25 records    and relate s to who was the registered           owner of




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 1 various   motor vehicle s, and the third stipulation

 2 relate s to chemical      an alyses   of various    item s taken

 3 from various    search    warrant s connect ed with this case ,

 4 and that those item s were determine d to contain

 5 controlled    substance s.

 6           Your Honor , we have at least         some chemist s that

 7 will come testify       as to non -stipulate d item s, and the

 8 first chemist    is here today to testify.

 9           THE COURT :    All right .       Mr. Ward , did you have a

10 --

11           MR. WARD:     I did with regard       to this next

12 witness , Your Honor .

13           MS. GREENBERG:      There is 2, 3, and 4.        Two being

14 the telephone    stipulation , three being the vehicle

15 stipulation , and four being the chemical            analysis

16 stipulation , Stipulation s 2, 3, and 4.

17           THE COURT:     All right .

18           MR. MITCHELL:      I need to speak to counsel         before

19 that 's publish ed to the jury .

20           THE COURT:     Pardon   me ?

21           MR. MITCHELL:      Before      that 's publish ed to the

22 jury , I need to speak to counsel .

23           THE COURT:     Do you want to approach        the bench ?

24 Oh , you want to speak to Ms. Greenberg .            All right .

25           MR. MITCHELL:      Yeah .




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 1            THE COURT:    Mr. Ward , you have an issue ?

 2            MR. WARD:    We need to come up .

 3            THE COURT:    Approach      the bench .

 4                    (At the bar of the Court.)

 5            MR. WARD:    I believe , Ms. Greenberg       --

 6            THE COURT:    Wait until all counsel        get here .

 7            MR. WARD:    I'm sorry .

 8            THE COURT:    I'll tell you when you can go .

 9            All right , go .

10            MR. WARD:    I believe      Ms. Greenberg   said this

11 next witness     is going to testify        regard ing CDS seize d

12 from Ms. Dobie 's house .

13            MS. GREENBERG:      Yes .

14            MR. WARD:    I have a copy of the crime lab

15 analysis    report , and it appear s that the examiner             was a

16 Jocelyn    Santor , S A N T O R.

17            MS. GREENBERG:      Santos .

18            MR. WARD:    Oh , Santos .

19            THE COURT:    You're    going to tell me this is not

20 Ms. Santos ?

21            MR. WARD:    It does n't look like Ms. Santos

22 unless    she 's under gone a sex change       operation , Your

23 Honor .

24            MR. MONTEMARANO :      Gender   re assignment .

25            MR. WARD:    I'm sorry , gender     re as sign ment .    I




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 1 would like some explanation .

 2            MS. GREENBERG:      Yes, your    Honor .     This is the

 3 head of the lab .       He is Ms. Santos' supervisor        , and he

 4 is confident     in his opinion s as to her work not only

 5 from the time it was done and now , and he is certain                    --

 6            MR. WARD:     I certain ly object .        He's not the man

 7 who un seal ed the stuff , according         to this report      that I

 8 have , the bag s that came out of the laboratory .               He's

 9 not the man who re seal ed them , and he 's not the man who

10 perform ed the analyses .

11            MR. MONTEMARANO :     He does n't counter sign the

12 report .

13            MR. WARD:     Precise ly .    He does n't counter sign

14 these report s, at least       that I can see .        That 's my

15 first objection .

16            My second    objection   is to this evidence       being

17 put in before     the actual     object s that were seize d

18 themselves     have been put in .        It seem s to me it 's out

19 of order .

20            THE COURT:     We're going to have a lot of thing s

21 not in precise     chronological        order in   this trial , Mr.

22 Ward .     Obvious ly , if -- put ting aside your first

23 objection , this would come in subject             to a motion      to

24 strike     if they don't actual ly offer the item s

25 themselves .




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 1           MR. WARD:     I would ask the Court to instruct              the

 2 jury that it is comi ng in subject             to being link ed up .

 3           MS. GREENBERG:        That 's fine .

 4           THE COURT:     But I think your first objection

 5 goes to the weight .       This is a supervisi ng chemist             in

 6 this case having       direct    supervisory     authority     over this

 7 person , and I think that would go to the weight                 of the

 8 -- to be given to it by the          jury .

 9           MR. WARD:     The document     I have says that the

10 re view ing person     is Paula Wolf , W O L F.

11           THE COURT:     Why don't you , on voir dire           of this

12 person 's qualification s, inquire            into that .    If the

13 answer    is he has no basis for the opinion , then we'll

14 deal with it , but that 's the case .            All right .     I will

15 give an instruction       that this is being offered            prior to

16 receipt    of the actual    evidence     that he 's testify ing to ,

17 subject    to being link ed up .

18           MR. WARD:     Thank you , sir .

19                  (Back in open court .)

20           THE COURT:     Ladies and gentlemen       , you're     going

21 to hear some testimony          momentarily     from a chemist       with

22 respect    to certain    drug s that was obtain ed .         Those

23 drugs are not    yet before       you because     this evidence is

24 being taken slightly out of turn because of people's

25 vacation and those schedules, and it is being received




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 1 subject to     being link ed up with the evidence          that it 's

 2 relating    to .

 3            All right .    You may proceed .

 4            MS. GREENBERG:      Your Honor , at this time , I will

 5 call Richard       Gervas oni to the witness     stand .

 6            MR. WARD:     I'm sorry ?

 7            MS. GREENBERG:      Gervas oni .

 8 Thereupon,

 9                          RICHARD   GERVASONI ,

10 having been called as a witness on behalf of the

11 Plaintiff , and having been first duly sworn by the

12 Courtroom Deputy, was examined and testified as

13 follows:

14                          DIRECT EXAMINATION

15            BY MS. GREENBERG:

16 Q.         Sir , could you state your name       and spell your

17 last name for the jury , please ?

18 A.         My name is Richard      P. Gervasoni ,

19 G E R V A S O N I.

20 Q.         If perhaps    you could just bend that micro phone a

21 little   closer     to you .   It turn s out to be a big room as

22 you start to talk .

23            Where are you employ ed ?

24 A.         I'm the chief forensic      scientist    for the

25 Montgomery     County Crime Laboratory        in Rockville ,




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 1 Maryland .

 2 Q.       Can everybody     hear him okay ?

 3          What does that mean ?

 4 A.       Basically , I'm the lab director         of laboratory ,

 5 but I also function      as a drug analyst      as circumstance s

 6 determine .

 7 Q.       As lab director , what are your duti es and

 8 responsibilities ?

 9 A.       Pretty   much I'm responsible        for run ning the

10 lab oratory , all facet s of the lab oratory        as far as

11 budget , ordering     supply , hiri ng people .     We have two

12 section s in our laboratory ; a DNA analysis            section   and

13 a drug analysis     section .

14 Q.       How people     do you sup ervise ?

15 A.       There are four drug analyst s and three DNA

16 analyst s.

17 Q.       So basically     this is your shop ?

18 A.       Yes, ma'am .

19 Q.       What train ing and experience         do you have for

20 your job current ly ?

21 A.       I have a bachelor       of science    degree   in chemistry

22 from St. Vincent's      College    in Latrobe , Pennsylvania ; a

23 master   of forensic    science    degree   from George

24 Washington    University .      I original ly under went an

25 on -the -job six -month train ing program       in drug analysis




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1 with the New Jersey         State Police Crime Laboratory         in

2 19 71 .

3            I have been a forensic        drug analyst for three

4 years with the        New Jersey    State Police , two year s with

5 the New York State Police in Albany , New York , and I

6 have been the chief forensic            scientist    with Montgomery

7 County now for over 30 year s.

8 Q.         Have you -- do you teach chemistry ?            Have you

9 taught     chemistry ?

10 A.        I have taught     both an Introduction        to Forensic

11 Science     course   at Montgomery     College , and also at

12 Shepherd     College    in West Virginia .       I also taught   a

13 general     Chemistry    course   for 18 year s at Capitol

14 College .

15 Q.        How many drug case s would you say that you have

16 been -- have you testifi ed as an ex pert witness ?

17 A.        Yes, ma'am .

18 Q.        Approximately     how many time s?

19 A.        I would say somewhere        over 600 time s.

20 Q.        Have you personally        analyze d drug case s?

21 A.        Yes, ma'am .

22 Q.        Approximately     how many time s?

23 A.        I would estimate        somewhere   over 25 ,000 case s.

24 Q.        Re ad other analyses       of people     under your

25 supervision ?




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 1 A.        Yes, ma'am .

 2 Q.        And approximately        how many time s?

 3 A.        In our laboratory , it 's standard          procedure   to

 4 technically     re view and administrative ly re view every

 5 case , both drug s and DNA.          I would be the technical

 6 administrative     re viewer   on all case s, unless       I'm not

 7 present     at the laboratory .

 8 Q.        In connection     with your testimony        as an ex pert ,

 9 have you been certifi ed as an ex pert in federal             court

10 in the district       of Maryland ?

11 A.        Yes, ma'am .

12 Q.        Have you been certifi ed as an ex pert before

13 Judge Titus ?

14 A.        Yes, ma'am .

15           MS. GREENBERG:       Your Honor , I would move that

16 Mr. Gervasoni     be certified       as an ex pert in drug

17 an alysis    and examination       an d be allow ed to offer his

18 testimony     in this case .

19           THE COURT:      Anyone    wish to ask question s on the

20 his qualification s?

21           MR. WARD:      May I ask what the Court 's ruling            was

22 the last time , sir ?      I'm joki ng , Judge .

23           THE COURT:      You may .

24           MR. WARD:      Your Honor , may I get into the issue

25 that we rais ed?




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 1            THE COURT:     You may .

 2            MR. WARD:     Thank you , sir .

 3                           CROSS-EXAMINATION

 4            BY MR. WARD:

 5 Q.         Mr. Gervasoni , good morn ing .

 6 A.         Good morn ing .

 7 Q.         My name is Peter Ward .        I have a copy of the

 8 crime laboratory        CDS evidence    transmit tal and

 9 laboratory     report    in this case about which I understand

10 you are going to testify .

11            Now , it appear s from this form that the actual

12 analysis     was conduct ed by a Jocelyn          J. Santos ?

13 A.         That 's correct .

14 Q.         Where is Ms. Santos ?

15 A.         She is on vacation     visiting        family   in the

16 Philippine s.

17 Q.         I see .   Who is a Paula Wolf ?

18 A.         Paula is another     drug analyst        in our laboratory .

19 Q.         I see .   In the space provided          on the form where

20 it says "re view ed by ," the name Paula Wolf appear s.

21 Does that mean Paula Wolf is the person                who re view ed

22 this analysis ?

23 A.         As I mention ed brief ly in my previous            testimony ,

24 we do two separate        re view s; one 's a technical         re view

25 and one 's an ad ministrative         re view .    The technical




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1 re view involve s check ing all the work done in a case ,

2 all the chart s, all the note s taken by the analyst , and

3 confirm ing that the result s the analyst            reach ed is

4 consistent      with the note s and the test s that have been

5 perform ed .

6           The second        re view is an administrative     re view ,

7 and the administrative           re view is strict ly check ing

8 basically      the typi ng on the final report        to show that

9 the typed report       is the same as the written          report   that

10 the analyst      has set forth to the secretary .          What you

11 see with Ms. Wolf 's signature         there is the

12 administrative      re view .

13 Q.       You are the person        who conducted    the technical

14 analysis ?

15 A.       Technical    re view , yes, sir .

16 Q.       Now , it appear s from the report         that the object s

17 that were seize d and analyze d were seize d on June 1 of

18 '04.   Do you have a copy of the report            in front of you ,

19 by the way ?

20 A.       Could you just read the number          on the top left

21 -- top right , excuse , me 06 -19         -- 04, rather ?

22 Q.       04-19 06 , I'm sorry .

23 A.       906 .    Okay .

24 Q.       And it appear s that the object s were seize d on

25 June 1 of '04; is that correct ?




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1 A.        Yes, sir .

2 Q.        And there 's a date that says today 's date , June

3 7, '04.      Do you know what that date is , sir ?

4 A.        I don't have    personal    knowledge , but based on

5 our polici es in the lab -- in the department , not the

6 laboratory , excuse      me , that would be the date that the

7 paperwork     was fill ed out .

8 Q.        Okay .   All right .     Now , it appear s that the --

9 is there a day date on here that show s when these

10 object s were received      in the Montgomery       County Crime

11 Laboratory ?

12 A.       Not on that particular       form , no, sir .

13 Q.       Not on this form ?

14 A.       That 's correct .

15 Q.       You're   not able to give us the date ?

16 A.       We have a chain of custody        record    that I have in

17 my folder    that would indicate      that .

18 Q.       All right , sir .      And it appear s that the seal

19 was broken , according      to this form , by Jocelyn       Santor

20 (sic) on October      15 of '04; is that correct , sir ?

21 A.       Yes, sir .

22 Q.       And that mean s that whatever         was submitted    was

23 un seal ed by her for the purpose       of preparing     it for

24 analysis ; is that correct , sir ?

25 A.       That 's correct .




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 1 Q.       You had no par ticipation       in that un seal ing ; is

 2 that correct , sir ?

 3 A.       That 's correct .

 4 Q.       And you did not see the object s in the manner                in

 5 which they were actual ly submitted         to the laboratory ?

 6 A.       I may have     pass ed by her bench , but actual ly

 7 observing    the individual     item s and actual ly know ing

 8 that she was analyzi ng that item at that particular

 9 time , no, sir .

10 Q.       All right , sir .     Usually , there 's a re seal date .

11 Is there a re seal date on here ?

12 A.       Yes, sir .     On the bottom , the second      blank from

13 the bottom    of the report , it says re seal ed by , and it

14 has Ms. Santos ' signature       and the date .

15 Q.       I'm sorry .     I over look ed that .

16 A.       10 -15, so she apparent ly conduct ed the

17 examination    on 10 /15 ?

18 A.       Yes, sir .

19 Q.       You had no participation        whatsoever    in the

20 conduct ing of whatever      examination    she conduct ed ?

21 A.       That 's correct .

22 Q.       Okay , sir .    I'm somewhat    puzzle d by -- well ,

23 maybe I'll come into that later .

24          When you conduct ed your analysis , sir , it was

25 strict ly of documentation ; is that correct ?           Your




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 1 technical     re view ?

 2 A.       Yes, sir .       I did not perform       any an alysis    at

 3 all .

 4 Q.       Okay .

 5 A.       On this particular         case , what I did was just

 6 re view her note s, her chart s, and confirm ed the fact

 7 that the result s that she had obtain ed were consistent

 8 with the test s that she had run .

 9 Q.       And did you , in connection         with that technical

10 re view , sir , actual ly look at whatever           it was that had

11 been submitted ?

12 A.       No, sir .

13 Q.       Okay .    So let me just give you a hypothetical

14 situation .     If , for example , an item , let 's say a

15 pla ying card , was submitted        with what was suppose d to

16 be a trace amount         of drug s on there .     You didn't     see

17 that play ing card ?

18 A.       No, sir .

19 Q.       You didn't       analyze   the drug s?

20 A.       That is correct .

21 Q.       You simply       saw what Jocelyn    Santor    (sic) wrote

22 down about the play ing card ?

23 A.       That is correct .

24 Q.       And did you actual ly , upon re view , determine

25 what test s had been conduct ed ?




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1 A.          Based on her note s and based on the chart s that

2 she obtain ed from run ning it on several           of the

3 instruments , that would be my basis .

4 Q.          I see .     Now , your instruments , sir , are required

5 to be certifi ed by the State Health Commission er of the

6 State of Maryland ; is that correct , sir ?

7 A.          Not really , no .

8 Q.          Is there any regular       -- I don't know     what you 'd

9 call it -- check up done on the machine s to calculate

10 them for accuracy        purpose s?

11 A.         Yes, sir .

12 Q.         I see .     Did you check with respect       to the --

13 first of all , do you know which machine s she -- Ms.

14 Santos   use d in the course      of her analysis ?

15 A.         Yes , sir .    Based on the chart s that are in her

16 analysis     packet    and her file folder , I would be able to

17 tell which instruments         were use d.

18 Q.         I see .     Do you have any knowledge , or did you

19 determine     when any calibration       had been done on those

20 machine s prior to the testing ?

21 A.         No, sir .

22 Q.         If the calibration      had not been done and the

23 machine s were off somewhat , then the result ing test

24 clear ly would have been off , too ; is that correct , sir ?

25 A.         It 's not that simple .




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 1 Q.         Well , I understand    it 's not that simple , but in

 2 layman 's term s?     I mean , if my speedometer       is off and I

 3 think I'm drivi ng 15 miles an hour , the fact is I'm not

 4 drivi ng 15 miles an hour        because   my speedometer 's off .

 5 A.         It 's not quite the same with the instruments .

 6 If they're     not run ning proper ly , you would know right

 7 off the bat .     You're    not going to get erroneous

 8 report s.     You either    just don't get result s is

 9 basically     what happen s.     You don't get result s.       You're

10 not going -- it 's not going to give you a heroin

11 spectrum     if you're   run ning a cocaine     or something     like

12 that .    Only if the , you know , contamination        issue is

13 involve d.

14 Q.         But the fact of the     mat ter is   you don't know

15 whether     or not these machine s had been proper ly

16 calibrate d prior to the tests being done or when they

17 had been calibrate d prior to the test s being done ?

18 A.         It 's standard   operati ng procedure    in our

19 laboratory     that at least     month ly an auto tune is done ,

20 and this is to check all the mechanism s in the

21 instrument .     Daily , we run a known mixture        of heroin ,

22 cocaine , and THC, which is        the ingredient    in marijuana

23 on our gas chromatograph mass spectrometer             is what

24 we're discuss ing here , just to verify          that the

25 instrument     is work ing as it should .




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 1 Q.       I see .   And that 's the     standard     operati ng

 2 procedure , but the point is in this case , you did not

 3 go back and in dependent ly confirm        that the standard

 4 operati ng procedure     had in deed been follow ed ?

 5 A.       That 's correct .

 6 Q.       All right .

 7          MR. WARD:      At this point , Your Honor , I have no

 8 other question s.      Thank you .

 9          THE COURT:      All right .

10          MS. GREENBERG:      Brief ly , Your Honor .

11                    FURTHER DIRECT EXAMINATION

12          BY MS. GREENBERG:

13 Q.       To be clear , Mr. Gervasoni , your testimony            is

14 you re view ed Ms. Santos ' result s when ?

15 A.       The technical     re view would have been either         the

16 same day or the day after her analysis              would have been

17 complete d.

18 Q.       Did you re view it again before          comi ng to court ?

19 A.       Yes, ma'am .

20 Q.       Were you able to tell from re view of the records

21 that you had done the technical         re view ?

22 A.       Yes, ma'am .

23 Q.       How were you able to tell that ?

24 A.       My initial s are on each page of the work sheet s

25 from the -- each case that was involve d.




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 1 Q.         She is under -- she is one of your employee s; is

 2 that correct ?

 3 A.         Yes, ma'am .

 4 Q.         Are you able to tell the procedure          that she

 5 utilize d from your re view of the document s?

 6 A.         Yes, ma'am .

 7 Q.         How does that relate         to your standard    operati ng

 8 pro cedure ?

 9 A.         Our standard     operati ng procedure , as far as

10 analysis      is done , is there are a set number          of test s

11 that need to be run before         a positive     result    can be

12 report ed .     With the technical       re view , I am re view ing

13 the fact that each of those test s were run , that she

14 has a hard copy of the result s of the analysis               from

15 run ning it on the various        instruments , and they are

16 present    in the file folder .

17 Q.         That was done in the case that Mr. Ward asked

18 you about ?

19 A.         Yes, ma'am .

20 Q.         And in fact , in all the case s that you're

21 talk ing about to this jury about today ?

22 A.         Yes, ma'am .

23            MR. WARD:      Objection .

24            Oh , I'm sorry .    I withdraw     that .

25            BY MS. GREENBERG:




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 1 Q.          The document    that you referred    to with the lab

 2 number      on it , what is that document ?      What is it

 3 call ed ?

 4 A.          Could you clarify    -- all of our document s have

 5 the lab number s on them .

 6 Q.          Is there document    that is produced        by your

 7 office      indicating    the result s of the laboratory

 8 analyses ?

 9 A.          Yes, ma'am , our laboratory      report .

10 Q.          Your laboratory    report ?   Is that a record         that 's

11 made at or about the time of the analysis ?

12 A.          At the completion    of the   technical      re view , yes,

13 ma'am .

14 Q.          Is it kept in the ordinary       course     of business ?

15 A.          Yes, ma'am .

16 Q.          I'm going to ask you with each case to refer to

17 the laboratory         report , and it is a document       kept in the

18 ordinary      course    of your business ?

19 A.          Yes, ma'am .

20 Q.          Now , Mr. Ward also asked you about the machine s

21 and whether      or not    they were operati ng proper ly .        Is

22 that something         that you would be aware of as head of

23 the lab ?

24 A.          Yes, ma'am .

25 Q.          At the time s that you're     talk ing about , the




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 1 re view of these substance s that you're         about to explain

 2 to the jury , were the machine s operati ng proper ly ?

 3 A.       Yes, ma'am .

 4 Q.       And you mention ed a particular         test , the gas

 5 mass speck -- I always       mis pronounce    that .   Could you

 6 say it for me ?

 7 A.       Gas chrom atograph mass spectrometer.            The

 8 acronym is     GCMS , just to be on the easy side.

 9 Q.       For that test , you need a ma chine; is that

10 correct ?

11 A.       It is an instrument , yes, ma'am .

12 Q.       Your testimony     is that 's check ed daily ?

13 A.       Yes, ma'am .

14 Q.       If it was inoperable,       tha t has -- has that ever

15 happen ed in your lab ?

16 A.       Oh , yes .

17 Q.       Who take s care of get ting that fix ed ?

18 A.       We have two people      that will handle      min or issue s

19 with the instruments , and if whatever          they know how to

20 do and can do does n't work , we call the vendor            in to

21 re pair it .

22 Q.       Is that something      you're   aware of as head of the

23 lab when that happen s?

24 A.       Yes, ma'am .

25 Q.       Did that happen     with any of the analyses           you're




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 1 about to talk about today ?

 2 A.       It may have    happen ed, but if there was an issue ,

 3 it was fix ed before     the analysis     was complete .

 4 Q.       How do you know that ?

 5 A.       Again , based on the chart s that are obtain ed

 6 from the instrument , if the instrument 's not work ing

 7 proper ly , you're    not going to get positive        result s.

 8 Q.       Are there test s that you perform          on these drug s

 9 that don't involve      the use of a machine ?

10 A.       Yes, ma'am .

11 Q.       What are those test s?

12 A.       These are our preliminary        testing    procedure s.

13 Basically , we start out with screen ing color test s.

14 These are simple      little   re agent s that will turn color s

15 with different     type s of drug s.    It's a very quick and

16 easy , down and dirty way to eliminate          class es of drug s

17 and give some indication         of what type of drug we're

18 look ing at , so we're not wasting        a lot of time just

19 try ing to test the     whole spectrum     of drug s at one time .

20          Secondly,    we would move on to a process         known as

21 thin layer chromatography .         Chromatography , basically

22 in chemistry,    mean s separation,     and what we're do ing is

23 taking   -- at this point , we have a pretty         good idea the

24 type of drug we're look ing at .        If we're not sure , we

25 can use several      standards    in our thin layer process ,




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 1 but thin layer chrom atography        basically       involve s a

 2 glass plate that is covered         on one side with a white

 3 powdery    substance .

 4            We'll take an ex tract of known standards           and

 5 ex tract s of our sample s, and these are spot ted -- the

 6 solvent    ex tract is spot ted with little       capillary    tube s

 7 on the bottom     of the plate .     First the standard ,

 8 several samples, another standard if we're using more

 9 than one standard.       These are place d in solvent         system ,

10 just a series     of organ ic liquids .

11            The organ ic liquid    will just rise up the plate ,

12 much if you put a little         piece of paper towel on the

13 edge of the     sink , it will eventually      all get wet .        It's

14 call ed capillary    action .     Once the liquid       reach es the

15 top of the plate , it's re move d from the sol vent system ,

16 dried and sprayed with die.          What we're look ing for is

17 a comparison     of the known sample s versus          the standards

18 in order     for a positive     result .      The sample s have to

19 travel    the same distance      up the plate as the known

20 standard     and have to be the same color with the

21 standard .     And if they are not , then we would not

22 consider     that a positive     result .   At the conclusion        of

23 those test s, we then move on to the instruments              because

24 the instruments     are a confirmatory       test .     We will put a

25 result    out on a drug other than marijuana , if it 's not




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 1 run on either the      GCMS, or other instrument          we use for

 2 confirmation     call ed the infrared         spec trometer.

 3 Q.       Starting    with the presumptive color test,              is

 4 that basically what the officers in the field refer to

 5 as a field test or color test ?

 6 A.       Yes, ma'am .        Our test s are very similar       to what

 7 the officer s use when they're             perform ing field test s.

 8 Q.       Would you -- how often would -- you said that

 9 the presumptive      color test come s back with a known

10 controlled     substance , such as cocaine         or heroin   and

11 then the confirmatory          test ?

12          MR. WARD:      Objection , Your Honor .

13          THE WITNESS :        No, that 's not true .

14          THE COURT:         Wait a minute .

15          MS. GREENBERG:         Is that of ten or rare ?

16          MR. WARD:      I'm object ing , Your Honor .

17          What happen s in other case s has no bear ing on

18 what happen ed in this case , I suggest .

19          THE COURT:         Over ruled .

20          MS. GREENBERG:         Your Honor , he raise d the issue .

21          THE COURT:         Over ruled .

22          THE WITNESS:         It does happen     occasional ly .

23 Again , these are just screen ing test s.             There are a

24 number   of drug s that may give the same color with that

25 particular     re agent .     I personally     think after year s of




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 1 experience    where somebody     start ing out new might look

 2 at a particular      color and think it could be that drug ,

 3 having   all that experience , sometimes         you can say ,

 4 well , you know , eve n though        it give s the same color ,

 5 it 's not as intense .       It's not the exact same color ,

 6 and you know , you can make some distinction s.

 7          But again , this is just like a little           road map

 8 to set us in the right direction , and even if we're not

 9 sure that the color is exact ly the same or not , that

10 will come out in the wash as we move further             along the

11 analytical    process .

12          BY MS. GREENBERG:

13 Q.       But fair the color test is a presumptive            test ,

14 so pre sum ptively, it is      that drug .     Is that fair to

15 say ?

16 A.       That is correct .

17          MS. GREENBERG:       Your Honor , at th is time , I

18 would , again , offer Mr. Gervasoni          as an ex pert in drug

19 an alysis   and examination     and allow him to give his

20 opinion s about the       substance s that were submitted        in

21 this case .

22          MR. WARD:     I do have one more question         based on

23 what was asked by Ms. Greenberg .

24          THE COURT:       You may .

25                    FURTHER CROSS-EXAMINATION




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 1           BY MR. WARD:

 2 Q.        You said that sometimes       people   who do the

 3 so -call ed field test s can mis interpret        them basically .

 4 I mean , you didn't       use that word , but that 's what I

 5 understood      to be the effect    of what you said ; is that

 6 correct ?

 7 A.        That 's a possibility .

 8 Q.        This would be particular ly true with someone             who

 9 is not a chemist        or does not have , for example ,

10 experience      do ing such result s in a laboratory        set ting ;

11 is that correct , sir ?

12 A.        It does happen      like that ; yes, sir .

13 Q.        I mean , for exam ple, a police officer          who has no

14 train ing at all in chemistry        might very well mis read or

15 mis interpret     what show s up on a field test ; is that

16 right , sir ?

17 A.        Yes, sir .     It can happen .

18 Q.        Just by way of explanation         so the jury

19 understand s, a field test is you have           a little    tube

20 with some chemical        in it , and you take a little       bit of

21 the powder      or whatever   it is you believe , and you drop

22 it in .     And if it 's one controlled      substance , it turn s

23 a certain     color , or if it 's another     one , it turn s a

24 different     color .    Is that basically    what it i s?

25 A.        Yes, sir .




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 1 Q.         Thank you .

 2 A.         There 's a whole series      of those .

 3            MR. WARD:      I understand .    Thank you .

 4            I submit , Your Honor .

 5            THE COURT:      He will be permitted      to testify       as

 6 an ex pert in forensic        chemistry .

 7            MS. GREENBERG:      If I could direct      your

 8 attention , Mr. Gervasoni , to Goodwin           26 and Goodwin       31 .

 9            MR. WARD:      I'm sorry .   Could you give me those

10 again ?

11            MS. GREENBERG:      They would be Goodwin         26 and

12 Goodwin    31.     And for housekeeping     purposes,     Your Honor ,

13 we will tie that up when we get to the search at                36

14 Farragut     Place , Northwest , Washington , D. C.          So 26 and

15 31 relate     to the search     of 36 Farragut     Place ,

16 Northwest , Washington , D. C.

17            BY MS . GREENBERG:

18 Q.         Mr. Gervasoni , were those two item s, Goodwin              26

19 and Drug s 31 analyze d by your laboratory           and re view ed

20 by you ?

21 A.         Do you have an exhibit       number   that I can refer

22 to for my work ?

23 Q.         Certain ly .

24 A.         Ex cuse me .    You said it was Goodwin        26 and 31 ?

25 Q.         Yes .




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 1 A.        I've got the tag s.

 2 Q.        Thank you .     Could you tell us what those two

 3 exhibit s are ?

 4 A.        Which one are you asking        about first ?

 5 Q.        First with Goodwin     -- Drug s 31 .

 6 A.        Thirty-one     was submitted    to our laboratory     under

 7 Laboratory     Case No. 04-19 02 and listed        as Exhibit 1 .

 8 It was a heat -seal ed plastic       evidence     bag contain ing

 9 plastic   wrapper s, contain ing a brown -colored         plastic

10 wrapper , contain ing a tan -colored , brick -shape d

11 substance .     There was a key stamp ed on one side of the

12 so -call ed brick and a shallow        hole on the other .

13 Q.        I'm sorry , what shape was it in ?

14 A.        A key , like a skeleton -type key .

15 Q.        And what shape was the powder       ?

16 A.        It was a hard , thin , brick -type substance .

17 Q.        I apol ogize for interrupt ing .         Please continue .

18 What was done with Drug s 31 ?

19 A.        With 31 , a two -chemical      color test , screen ing

20 test that     we de scribe d earlier     were run .    This was also

21 run on thin layer chromatography , and a final

22 confirmation      run on the GCMS, which I eluded to before

23 as the gas chrom atograph       mass spec trometer .

24 Q.        Was it also weigh ed ?

25 A.        Yes, ma'am .     The total weight       was 969 .53 grams .




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1 Q.          And what was the result          of the chemical     analysis

2 for Drug s 31 ?

3 A.          It was positive        for cocaine .

4 Q.          Did you take that any further           to analyze    the

5 per centage        of cocaine ?

6 A.          No .     In our laboratory , our policy        is not to

7 determine      percent      puriti es .

8 Q.          So you have        no analysis   as to the purity     of that

9 particular         item ?

10 A.         No, ma'am .

11 Q.         But your opinion        as to whether    or not it

12 contain ed cocaine         was what ?

13 A.         It definite ly did contain         cocaine .

14 Q.         Goodwin     26 .    Could you tell the jury about that ?

15 A.         Goodwin     26 was also submitted       under Laboratory

16 Case No. 04-19 02, listed           on our report    as Exhibit   No.

17 4, and it consisted           of a glass bowl contain ing a

18 residue .     The residue , or the bowl , was rinse d with

19 methyl   alcohol      and that rinse was analyze d.

20 Q.         In what condition        was the bowl when your office

21 received     it ?

22 A.         It was submitted        in our original    evidence    bag .

23 No indication        from the note s that it was in any kind of

24 broken   condition , that it was whole .

25 Q.         What did you do with the item s that you obtain ed




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 1 from the bowl , the substance         that you obtain ed from the

 2 bowl ?

 3 A.         The substance     was analyze d using chemical        color

 4 test , thin layer chromatography , and the GCMS and was

 5 positive     for cocaine .

 6 Q.         What was the amount       in the bowl , which is mark ed

 7 as Goodwin     26 ?

 8 A.         It 's a trace amount .

 9 Q.         What is the difference        when you say something

10 has a detectable        amount   of cocaine    versus   trace

11 amount s?     What's    the difference      in that analysis ?

12 A.         When we talk about a trace or residue , it 's an

13 amount    that is not weigh able or is less than 0.01

14 grams .     Our scale s that we use are balance s that we use

15 in the laboratory        for weigh ing minimal ly will weigh .01

16 grams .     So if it 's not weighable        or weigh s less than

17 .01, it 's listed       as a trace or residue .

18 Q.         That 's based on the substance        you were actual ly

19 able to obtain        from Goodwin   26 ?

20 A.         Yes, ma'am .

21 Q.         What happened     to Goodwin     26 after you analyze d

22 it ?

23 A.         It was sent to our forensic         service s section    for

24 fingerprint     analysis .

25 Q.         In what condition      was it when you got it back ?




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 1 A.        The bowl had been broken .

 2           MS. GREENBERG:         Your Honor , I would now pub lish

 3 Goodwin    26 and Drug s 31 .

 4           THE COURT:      You may .

 5           BY MS. GREENBERG:

 6 Q.        While I'm walk ing that over to the jury , can you

 7 explain    with Drug s 31 , did you seek to determine             how

 8 much of this powder        was actual       cocaine   versus   cut in

 9 term s of your analysis ?

10 A.        No, ma'am .

11 Q.        I'm now going to refer you to           the item s that the

12 agent is put ting in front of you .

13           For housekeeping        purpose s, Your Honor , these

14 will be the item s that will be introduced               relating    to

15 846 Oglethorpe       Street , Northeast , Washington , D. C.

16 Again , that will be related             to 846 Oglethorpe     Street ,

17 Northeast , Washington,          D. C.

18           Start ing with Drug s 19 .         Do you need a lab

19 number    for that , sir ?

20 A.        No .    It 's fine .

21 Q.        Can you tell the jury what's           contain ed in Drug s

22 19 ?

23 A.        Drug s 19 is -- was submitted          under our

24 Laboratory       No. 04-19 07 , and listed      as Exhibit 11 .      And

25 Exhibit 11 , Drug s 19 consisted            of various   type s of




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 1 plastic     bag s, 23 of them in fact , which all contain ed a

 2 brown ish -yellow ish substance .

 3 Q.         What did you do with Drug s 19 ?

 4 A.         Drug s 19 was weigh ed .   The total weight       -- each

 5 of the package s were weigh ed individual ly .          The total

 6 weight     of all of them together     was 156 .51 grams .      Each

 7 of the substance s, all 23 were tested          usi ng the

 8 chemical     color test de scribe d previously .       They were

 9 also run on the thin layer chromatography .

10            The re were two instruments     that were use d on

11 these exhibit s.       Each of the package s that were

12 similar , there were four package s that are           with Ziploc

13 bag s that contain ed different       size s of Ziploc    bag s, et

14 cetera .     Each of the group s were analyze d separate ly on

15 the infrared     spec trometer   and it was determine d that

16 each of those group s were positive         for cocaine      base ,

17 and then all of them were com posited          and run on the

18 GCMS for a final result .

19 Q.         What is the common    name for cocaine      base ?

20 A.         It 's common ly known as crack .

21 Q.         Referring   to Government 's Exhibit     Drug s 19 ,

22 approximately     156 grams of cocaine      base as you 've just

23 testifi ed , how did you determine        to make that a

24 separate     exhibit   from this location     that we're talk ing

25 about here ?     I mean , how did you -- how does your lab




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 1 divide     up the exhibit s that it get s?

 2 A.         These were submitted     and package d by the

 3 off icers and it was submitted        as one case .     So it came

 4 into us as a case , each one of these was package d

 5 separate ly .     So , Exhibit   No. 11 that we just mention ed ,

 6 which is Drug s 19 , was -- this is the way these drug s

 7 were package d and submitted        to the laboratory .

 8 Q.         So in other words , that 's how you get it from

 9 the agency ?

10 A.         Yes, ma'am .

11 Q.         While we're on that subject , what is the

12 procedure     for your lab when the drug s is submitted          by

13 an agent?       What is your chain of custody , thing s like

14 that ?

15 A.         When a case submitted     to the lab oratory,     it is

16 submitted     -- suppos ed to be submi tted in a seal ed form ,

17 general ly in the plastic        bag s which we have in front of

18 us here .     If the evidence     is too large to fit in the

19 plastic     bag s, they're   place d in either    paper bag s or

20 box es .    The plastic   bag s are heat seal ed .

21            The box es and bag s would be tape d general ly with

22 evidence     tape , but mas king can also be use d.       The

23 seal ed evidence , along with a request          for analysis    and

24 along with the chain of custody         form indicati ng who had

25 the evidence      when , are all submitted     to the laboratory .




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 1 When they're      submitted     to the laboratory , they're

 2 assigned    a laboratory      number .

 3            They're   sign ed into the lab both on our chain of

 4 custody    form and we also have a computer           system    to do

 5 that .    The evidence    is then place d in a laboratory

 6 vault .    It remain s in our laboratory         vault until the

 7 chemist    re move s it for analysis .        After the analysis ,

 8 obvious ly before      the analysis,       bag s are open ed, the

 9 evidence is      re move d, the evidence      is analyze d.

10            After the evidence       is analyze d, all the

11 packaging    is mark ed with the laboratory          number , the

12 date -- not the date , the exhibit            number , and the

13 initial s of the      analyst .     All the evidence    is place d in

14 their original       evidence     bag s.   If it 's a plastic    bag ,

15 it 's re heat seal ed , and paper or box es are tape d,

16 place d back in the vault , and they remain            there for

17 dis position .

18 Q.         Are you able to tell without          going through    each

19 and every exhibit       the exhibit s you're      testify ing about

20 here today , which are on that cart , were they

21 original ly heat seal ed back by someone           in your office ?

22 A.         When the evidence       come s into the laboratory , the

23 three sides of the bag are seal ed by the manufacturer .

24 The officer      involve d will seal the top of the bag after

25 the evidence      is submitted .      In order   not to destroy     the




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 1 officer 's seal , we would cut off the bottom           of the bag ,

 2 place the piece that was cut off in side the evidence

 3 bag , and at the conclusion       of the analysis , heat seal

 4 the part that we had jus t cut off , place the initial s

 5 -- our initial s and the date that we seal ed it across

 6 that heat seal .

 7 Q.         And is that what was done with the evidence             that

 8 you're   testify ing to today ?

 9 A.         Yes, ma'am .

10 Q.         So it is in the same condition        as after the

11 analysis    by a laboratory ?

12 A.         Yes, ma'am .

13 Q.         So the jury can understand , Drugs 19 A, what is

14 contain ed in that bag ?

15 A.         There are two evidence     bag s.   The original

16 evidence    bag has the red label on it .        A request    was

17 made to have the original        packaging .    I mention ed that

18 there were 23 individual        packet s contain ing this

19 substance .     There was a request     to have those 23

20 packet s finger printed , so we re move d the drug s from the

21 original    packaging , place d it in new Ziploc        bag s or

22 other packaging     from the laboratory , and the original

23 bag s were sent to our forensic        service s section     to

24 determine     if any finger prints    were present .      And the

25 second   bag , which has a black label and black en ed




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 1 plastic   bag s in it are the bag s that were process ed for

 2 fingerprint s.

 3           MS. GREENBERG:      Your Honor , may I publi sh 19 and

 4 19 A to the jury ?

 5           THE COURT:     Yes , you may .

 6           BY MS. GREENBERG:

 7 Q.        Sir , while I'm do in g that , if I can direct        your

 8 attention    to what is mark ed as Government        Exhibit    Drug s

 9 20 and ask you to explain        to the jury that is .

10 A.        State 's Exhibit    Drug s 20 is also submitted       under

11 the lab oratory    Case No. 04-1907, listed        as our Exhibit

12 No. 9.    It consisted     of a total of 20 various        plastic

13 baggi es , each contain ing chunks      of white substance .

14 Each of those was weigh ed individual ly and tested

15 individual ly .

16 Q.        What were the test s conduct ed on those -- that

17 item ?

18 A.        The total weight     of the substance s came out to

19 353 .32 grams , as I said , each of these weigh ed and

20 analyze d individual ly .     The chemical     color test s were

21 use d, thin layer chromatography , infrared

22 spec trophotometry, and the final test was the             GCMS.

23 Q.        What were the result s of those analyses ?

24 A.        This substance     was positive    for cocaine

25 hydrochloride .




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 1 Q.         What is contain ed in Government 's Exhibit             Drug s

 2 20 A, which should       be attach ed to Drug s 20 ?

 3 A.         Twenty A would be the original            packaging    that

 4 this -- these substance s were in .               Again , these

 5 evidence     bag s, the original       packaging , was sent over to

 6 our forensic      service s section      for fingerprint

 7 process ing .

 8            MS. GREENBERG:     Your Honor , if I may publish

 9 Drug s 20 and have the agent obtain               Drug s 21 and 26       for

10 the witness ' re view .

11            THE COURT:     Yes , you may .

12            BY MS. GREENBERG:

13 Q.         Start ing with Drug s 21 , could you tell the jury

14 what that is ?

15 A.         This also is evidence        submitted     under Laboratory

16 Case No. 04-19 07 , listed      as our Exhibit         No. 4, and

17 Drug s 21 is a heat seal ed plastic          evidence      bag , which

18 contain s a large Ziploc       bag .     And in that Ziploc       bag

19 was a trace of white powder .

20 Q.         Drug s 26 ?

21 A.         Drug s 26 , also under Laboratory          Case No.

22 04-19 07 , our Exhibit      No. 5, and it consisted          of a --

23 what I call a sergeant        safety     tube .     It's hard plastic

24 tube in which we put sharp object s.                This contain ed a

25 glass tube contain ing a residue .




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 1 Q.        A residue    of what , sir ?

 2 A.        Just a white residue , and it tested         positive            for

 3 cocaine .

 4           MS. GREENBERG:      If I could now publish        those to

 5 the jury , Your Honor , and ask the agent to provide                  the

 6 witness     Drug s 22 , Drug s 25 and Drug s 27 .

 7           THE COURT:     You may .

 8           MS. GREENBERG:      Publish ing Drug s 26 and 21 .

 9           BY MS. GREENBERG :

10 Q.        Sir , could you tell the jury what's         in front of

11 you as Drug s 22 , Drug s 25 and Drug s 27 ?

12 A.        Drug s 22 submitted    under Laboratory      Case No.

13 14 19 07 -- excuse     me 04-19 07 , listed    as our Exhibit         No.

14 3.   Again , a heat -seal ed evidence      bag con taining        a

15 regular     bag -- excuse   me it is a Ziploc       bag contain ing

16 vegetation .     Total weight    of the vegetation      was 77 .72

17 grams and the vegetation        was positive     for marijuana .

18 Q.        Drug s 25 and also please      25 A, which should           be

19 attach ed .

20 A.        Twenty-five    is also Laboratory      Case No. 04-19 07 ,

21 our Exhibit     No. 7.    This consisted      of a number    of

22 plastic     bag s each contain ing vegetation .       There were a

23 total of five plastic       bag s.   The total weight       of the

24 vegetation     in all -- well , these are separate d as 7A,

25 7B and 7C for each of the three packet s.




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 1            Seven A consisted       of three Ziploc       bag s, total

 2 weight   of those bag s or the vegetation              in those bag s

 3 was 338 .48 grams , 7B was just a large Ziploc               bag with

 4 vegetation , total weight          422 .20 grams , and the

 5 vegetation     in the third Ziploc         bag was .85 grams .        Each

 6 of these was analyze d individual ly and found to be

 7 positive     for marijuana .

 8 Q.         Do you have a 25 A there which might relate             to 25

 9 -- how 25 was package d?

10 A.         Yes, ma'am .     Twenty-five      A is a black bag which

11 contain ed the Ziploc        bag s that I just referred        to that

12 contain ed the vegetation .

13 Q.         Just to be clear .         Drug s 27 .   Is that contain ed

14 in this big suitcase         here ?     If we could just take that

15 out to show the jury .           Is that Drug s 27 ?

16 A.         Yes, ma'am .

17 Q.         Is that the analysis         that you related     to that

18 was positive        for marijuana ?

19 A.         I haven't    spoken    about this item yet .

20 Q.         Okay .    You can speak about this item .          Thank

21 you .

22 A.         Government     27 , Drug s 27 is listed       as Laboratory

23 Case No. 04-19 07 and our Exhibit             No. 8.     It contain ed a

24 total of ten various         bag s contain ing vegetation .       Each

25 of the bag s of vegetation            were analyze d individual ly .




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 1 The total weight      of all the vegetation      was 3,23 1.18

 2 grams , and they all were tested          positive   for marijuana .

 3 Q.       The substance     in 22 , 25 are the same substance

 4 as contain ed in this black suitcase ?

 5 A.       Yes, ma'am , they're        all marijuana .

 6 Q.       Marijuana ?

 7          Your Honor , for the jury 's purpose s, what I'd

 8 like do is publi sh 22 and       25 but not the black

 9 suitcase .

10          THE COURT:      You may .

11          BY MS. GREENBERG:

12 Q.       Sir , if we can turn to Government            Exhibit    Drug s

13 23 .

14 A.       Drug s 23 , also Laboratory       Case No . 04-19 07 ,

15 listed   as our Exhibit 6 .

16 Q.       What analyses     did you perform      on that ?

17 A.       This consisted      of five small bag s contain ing a

18 tan -colored   substance .    These were broken        down into 6A,

19 B, C, D and E.      Six A weigh ed a total of .41 grams ;

20 6B,.32 grams ; 6C, 0.07 grams ; and 6D and E were both

21 trace amount s of substance .         These were all analyze d,

22 substance    6A, the 0.41 grams was positive           for cocaine

23 base ; 6B, 0.32 grams cocaine         hydrochloride ; 6C, 0.17

24 grams cocaine    base , and the two item s that con tained            a

25 trace were both positive        for cocaine .




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 1           MS. JOHNSTON:        Your Honor , at th is time , if I

 2 could publish      Government     Exhibit   Drug s 23 and ask the

 3 agent to provide       the witness    with Government        Exhibit

 4 Drug s 24 .

 5           THE COURT:     You may .

 6           BY MS. GREENBERG:

 7 Q.        Could you tell the jury what Government              Exhibit

 8 Drug s 24 is ?

 9 A.        Drug s 24 , also Lab oratory      Case No. 04-19 07

10 listed    as Exhibit    No. 2.     This consisted     of a

11 heat -seal ed plastic     evidence    bag contain ing a

12 sift er -type object     which had some residue        and also some

13 cream -colored     substance     scrape d from it .

14 Q.        I'm sorry , did you say a weight ?

15 A.        A total weight       of the material    scrape d from the

16 sift er was 0.39 grams and it was positive             for cocaine

17 base .

18 Q.        Again , we're talk ing about the same test s you

19 previous ly de scribe d to this jury run on that

20 substance ?

21 A.        Yes, ma'am .

22           MS. GREENBERG:        Your Honor , at this time , I'd

23 like to pub lish Government 's Exhibit           Drug s 24 and ask

24 the special      agent provide     the witness    with Government

25 Exhibit    Oglethorpe    2.




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 1            THE COURT:     You may .

 2            BY MS. GREENBERG:

 3 Q.         Would you tell the jury what Oglethorpe            2 is ?

 4 A.         Oglethorpe    2 was submitted     under lab oratory        Case

 5 No. 04-19 07 , listed      as our Exhibit    Numb er 1 .     It was a

 6 seal ed box contain ing eight Pyr ex measuring             cup s.

 7 These were ex tract ed and run as a composite              and were

 8 positive     for trace amount s of cocaine .

 9 Q.         How did you ex tract those ?

10 A.         We basically    just use d methyl    alcohol     and then

11 rinse d the materials       and then combine d them and run the

12 test on the met hanol extract.

13 Q.         Were you able to get a weight        on this ?

14 A.         No, ma'am .    Trace amount s.

15 Q.         How many bowl s were there?

16 A.         Eight .

17 Q.         Your Honor , again , perhaps      what we could do here

18 with Oglethorpe      2 is just give the jury an example .

19            You said bowl s.    Did you mean measuring         cup s?

20 You said bowl s.        You mean measuring     cup s?   On this

21 particular one, there's a white thing on the bottom.

22 What is that?

23 A.         I think it 's more scratch es than anything              else .

24 Q.         More scratchy ?    When these were analyze d,

25 though , you were able to obtain        some result s from




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 1 certain    of these measuring      cup s?

 2 A.         Yes, ma'am .

 3 Q.         And they were tested         positive   for what ?

 4 A.         Cocaine .

 5 Q.         There 's a broken    one in here .       Were these item s

 6 whole when you received         them ?

 7 A.         I'm not sure .

 8 Q.         There is no indication         in the report   if any were

 9 broken ?

10 A.         No, ma'am .

11 Q.         That happen s in transport ing them back and

12 forth ?

13 A.         Sometimes , yes, ma'am .

14 Q.         Es pecial ly like this .       All right .

15            For housekeeping , Your Honor , this relate s to

16 7427 Ninth Street , Northwest .            Again, these relate to

17 7427 Ninth Street,        Northwest.

18            MR. WARD:      I'm sorry .     We're on to Ninth Street

19 now ?

20            MS. GREENBERG:      Your Honor , I believe      Mr. Ward

21 had a question     for the Court .

22            THE COURT:      He just said are you moving          on to

23 Ninth Street .

24            MS. GREENBERG:      7427 Ninth Street , Northwest .

25            If we co uld start with Drug s 29 A.         Do you have




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 1 that in front of you ?

 2           MR. WARD:      I'm just taking       a look at it .       Thank

 3 you .

 4           BY MS. GREENBERG:

 5 Q.        Do you have that in front of you ?

 6 A.        Yes, ma'am .

 7 Q.        These are the question s you answered          for Mr.

 8 Ward earlier ; is that correct .

 9           MR. WARD:      I'm sorry ?

10           MS. GREENBERG:      These particular       -- this

11 particular    search   is the question s you were answering

12 for Mr. Ward earlier ; is that correct ?

13           MR. WARD:      I'll stipulate .

14           THE WITNESS:      I don't know .

15           BY MS. GREENBERG:

16 Q.        Were you relating     to 04-1096 ?

17 A.        Yes, ma'am , th at 's correct .

18           MS. GREENBERG:      Your Honor , I'd like to

19 approach .

20           THE COURT:      You may .

21           BY MS. GREENBERG:

22 Q.        Show ing you what 's been mark ed as Miscellaneous

23 14 .    Is that the lab report        you were referring       to

24 earlier    that was a business        record   kept by your office ?

25 A.        Yes, ma'am .




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 1 Q.         That relate s to the substance s that you're            about

 2 to re view ?

 3 A.         Yes, ma'am .

 4            MS. GREENBERG :      Your Honor , at this time , I'd

 5 like to introduce        Miscellaneous     14 as an exhibit .

 6            MR. WARD:      I have no objection .

 7            THE COURT:      You may .

 8            BY MS. GREENBERG:

 9 Q.         Now , if you could start with Drug s 29 A, could

10 you tell the jury what that is , please ?

11 A.         This is a Ziploc      -- a heat -seal ed plastic     bag

12 contain ing several       item s.   On the outside      of the bag ,

13 you have Government 's 29 A and 29 B.          I'm not sure which

14 one refer s to which .

15 Q.         What is reflect ed in 29 A and B in front of you ?

16 A.         That 's correct .     This is -- under Laboratory          No.

17 04-19 06 , listed      as Exhibit   No. 4, and Exhibit      No. --

18 Q.         Is that on the screen       in front of you ?     I'm

19 sorry to    interrupt .

20 A.         Yes, ma'am .

21 Q.         What was the result s of your analyses ?

22 A.         This is broken      down into Exhibit s 4A and 4B.

23 Four A   is a Ziploc      plastic   bag contain ing a

24 brown ish -tan powder .       The result s of the analysis      were

25 that this powder        was positive     for heroin .    Total weight




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 1 was 11 .65 grams .

 2 Q.         And 29 B relate s to your Exhibit         No. 4B contain ed

 3 on Miscellaneous        14 ?

 4 A.         Fou r B was 44 small Ziploc          bag s contain ing small

 5 amount s of a tan powder .           All this powder    was combine d

 6 as one sample , and the total weight              of the powder    was

 7 .24 grams , and the analysis           show ed that the powder      was

 8 positive      for a mixture       of heroin    and cocaine .

 9            MS. GREENBERG:         Your Honor , at this time , I

10 would like to publish            Government 's Exhibit s 29 A and 29 B

11 and ask that the witness            be provided    Government    Exhibit

12 Drug s 30 .

13            THE COURT:      You may .

14            BY MS. GREENBERG:

15 Q.         What is contain ed in Government 's Exhibit 30 ,

16 Drug s 30 .

17 A.         Drug s 30 is under Lab oratory         Case No. 04-19 06 ,

18 Exhibit    No. 3, and this consisted            of a brown bag

19 contain ing a box which has tan colored              powder .    Total

20 weight    of the powder         was .31 grams , and the powder      was

21 positive      for heroin       and cocaine .

22 Q.         If I could direct        your attention    to Government 's

23 Exhibit    Dobie 9 .

24            Could you tell the jury what 's contain ed in

25 Government 's Exhibit           Dobie 9 and    what your lab number




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 1 was for that exhibit ?

 2 A.         This is also under Laboratory            Case No. 04-19 06 ,

 3 listed    as Exhibit     No. 6 on this report .

 4 Q.         Show ing up on the screen           to your right ; is that

 5 correct ?

 6 A.         Yes, ma'am .

 7 Q.         How did you analyze      -- did you analyze         this in

 8 the same manner        you've   been testify ing to ?

 9 A.         Yes .

10            MR. WARD:      Objection .     Your Honor , he didn't

11 examine     it -- didn't     analyze    it .

12            BY MS. GREENBERG:

13 Q.         Did y our lab analyze        this in the manner      you've

14 been testify ing to ?

15 A.         Yes, ma'am .

16 Q.         What was the result s of the analysis ?

17 A.         Again , this was a box which contain ed a small

18 amount    of trace amount       of powder .      The powder    was

19 positive     for a mixture      of cocaine      and heroin .

20 Q.         What is the lab number         on this exhibit ?

21 A.         04-19 06 , exhibit    No. 6.

22 Q.         If we could go to Dobie 10            relating   to Lab

23 Numb er -- Item No. 7 under this lab report .

24 A.         Yes, ma'am .     This consisted        of a brown -colored

25 scale .




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 1            MR. WARD:      I'm sorry , what is your lab number ?

 2            THE WITNESS:      It 's Exhibit   No. 7.

 3            MR. WARD:      Thank you .   I'm sorry .   I didn't       hear

 4 you .

 5            BY MS . GREENBERG:

 6 Q.         What is Government 's Exhibit       Dobie 10 ?

 7 A.         It is a small , brown -colored      scale which had a

 8 residue     on it , and that residue     was positive    for

 9 cocaine     and heroin .

10 Q.         When you give your opinion        that the residue        was

11 positive     for heroin    and cocaine , I'm not taking        you

12 back over , that is based , again , on all the test s that

13 you previous ly testifi ed to this grand jury ?

14 A.         Yes, ma'am .

15 Q.         Perform ed under your direction       by somebody      in --

16 on your staff ?

17 A.         Yes, ma'am .

18 Q.         And you personally     -- when you testify       you

19 personally     re view ed not only the result s at the time

20 but you also re view ed the result s prior to comi ng to

21 court ?

22 A.         Yes, ma'am .

23            MS. GREENBERG:      Your Honor , if I could publish

24 Dobie 10 and ask the agent to provide Dobie             13 to the

25 witness .




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 1           THE COURT:      You may .

 2           BY MS. GREENBERG:

 3 Q.        Was Dobie 13 analyze d by your office         under this

 4 item number ?

 5 A.        Yes, ma'am .     Dobie 13 , Laboratory    Case No.

 6 04-19 06 , Exhibit     No. 11, and Exhibit     No. 11 consisted

 7 of several    different     item s.   There was a Ziploc      plastic

 8 bag with a residue , a metal lic measuring          spoon , a brown

 9 plastic   contain er plus play ing cards , tissue , metallic

10 clip s, various    other item s.

11           The Ziploc     bag with the residue,     the metallic

12 measuring    spoon , and the brown plastic       contain er were

13 analyze d as a com posit e, and the amount         that was

14 obtain ed was just a trace amount , but it was positive

15 for cocaine     and heroin .

16 Q.        How did you -- when you say "composite ," could

17 you explain     again how you made up -- how your office

18 made up that com posite?

19 A.        Th ese item s were just rinse d again with methyl

20 alcohol , and those rinse s were just add ed together , and

21 the test was done on those on the ex tract ed alcohol .

22           MS. GREENBERG:       Your Honor , if I could publish

23 Dobie 13 to the jury and ask the agent to provide               the

24 witness   Dobie 15 , please .

25           THE COURT:      Yes , you may .




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 1          BY MS. GREENBERG:

 2 Q.       Would you tell the jury what Dobie 15 is , the

 3 lab number,     and what item number ?

 4 A.       Dobie 15 is Laboratory       Case No. 04-19 06 , Exhibit

 5 No. 2, and this is another         scale which contain ed

 6 residue , trace amount s of material        found on the scale

 7 were positive      for cocaine    and heroin .

 8          MS. GREENBERG:       Your Honor , may I publish        Dobie

 9 15 and ask the agent to provide         the witness       with Dobie

10 11 , please ?

11          THE COURT:       Yes , you may .

12          BY MS. GREENBERG:

13 Q.       Does that have the       same lab number ?

14 A.       Yes, ma'am .      04-19 06 , exhibit    No. 8, and this

15 consisted   of a metallic      box , which had a residue        in it ,

16 and residue     was positive     for cocaine .

17 Q.       How did you test the metallic           box ?

18 A.       Excuse    me ?

19 Q.       How would you test a metallic           box ?

20 A.       Again , this was rinse d with methyl            alcohol , and

21 that alcohol      ex tract was what was analyze d.

22          MS. GREENBERG:       Your Honor , may I publish        Dobie

23 11 and ask the agent to provide         the witness       with Dobie

24 14 , please ?

25          THE COURT:       Yes , you may .




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 1           BY MS. GREENBERG:

 2 Q.        What item number     is this under your Lab Report

 3 04-19 06 ?

 4 A.        Dobie 14 is Exhibit       No. 5.

 5 Q.        Does it contain     both 5A and 5B?

 6 A.        Yes, ma'am .     Five A consisted      of a Sharp 's

 7 contain er with a ra zor blade , and the ra zor blade was

 8 rinse d with methyl       alcohol   and was found to contain

 9 heroin    and cocaine .     Five B is a series      of item s, a

10 deck of cards , plastic       spoon s, a cloth bag , and some

11 plastic      bag s contain ing a residue .      There was a total

12 of .15 grams that was ex tract ed , and I should n't say

13 ex tract ed -- re move d from the plastic         bag s.    Total

14 weight    was .15 grams , and the powder         was positive       for

15 heroin    and cocaine .

16           MS. GREENBERG:      Your Honor , if we could publish

17 Dobie 14 to the jury .

18           THE COURT:      Yes , you may .

19           BY MS. GREENBERG:

20 Q.        While I'm do ing that , at the bottom            of

21 Government 's Exhibit       Miscellaneous    14 , there is a name

22 here , Paula Wolf .       Do you see that on your screen ?

23 A.        Yes, ma'am .

24 Q.        Can you tell the jury who Paula Wolf is ?

25 A.        Paula Wolf is another       analyst    at the laboratory ,




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 1 and her signature         appear s in that location      because     she

 2 administrative ly re view ed this report         showing ,

 3 basically , her signature           was that -- show ing that the

 4 typed result s on the final report           correspond     to the

 5 written    laboratory      report    that Ms. Santos    had prepared .

 6 Q.        Where -- is your signature         on this document ?

 7 A.        No, ma'am .

 8 Q.        Had your signature         been on internal     paper s

 9 related    to this case ?

10 A.        My initial s appear        on all the note s of Ms.

11 Santos    under the section         on those note s that indicate

12 technical    re view .

13 Q.        So those would be referred         to in your office        as

14 the work paper s?

15 A.        Yes, ma'am .

16 Q.        You re view ed the work paper s at the time of

17 these analyses ?

18 A.        Yes, ma'am .

19 Q.        All three location s that we talk ed about today ?

20 A.        Yes, ma'am .

21           MS. GREENBERG:       Your Honor , while I'm publish ing

22 -- may I publish         Dobie 14 and have the witness        testify

23 about Dobie 12 ?

24           THE COURT:       Yes , you may .

25           BY MS. GREENBERG:




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 1 Q.         Would you tell us if Dobie 12 is under the same

 2 lab report      and what item number        it is , please .

 3 A.         Dobie 12 is our Lab oratory         Exhibit   No. 9,

 4 consisted      of a plastic     bottle    with a red cover , and

 5 it 's mark ed Inositol,        and it contain ed a white residue .

 6 Q.         Were you able to determine          if that was a

 7 controlled      substance ?

 8 A.         There was a trace amount         of material    in that

 9 particular      bottle , and no controlled       substance s were

10 detect ed .

11 Q.         Thank you .

12            What is Inositol ?

13 A.         The bottle    was mark ed Inositol .      One of the

14 test s that Ms. Santos         ran , which was on the infrared

15 spec trometer,     show ed that the material        that she found

16 in my Exhibit      No. 9 was positive        for Inositol .

17 Inositol      is a non -controlled       substance , but it is found

18 very often in --

19            MR. WARD:     Objection , Your Honor , unless          it

20 relate s specifically         to this case .

21            THE COURT:     I could n't hear you , Mr. Ward .

22            MR. WARD:     I said , I'm object ing to what may be

23 done -- may be found in other case s and ask that he be

24 confine d to this case .

25            MS. GREENBERG:       Your Honor , he 's talk ing about




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 1 what he know s from his expertise , what the substance                    is

 2 use d for .

 3           THE COURT:      Over ruled .

 4           BY MS. GREENBERG:

 5 Q.        You may continue .

 6 A.        Inositol     is found very often mix ed with cocaine

 7 in cocaine    sample s.

 8           MS. GREENBERG:      Your Honor , may I approach            the

 9 witness    again ?

10           THE COURT:      You may .

11           BY MS. GREENBERG:

12 Q.        You testifi ed about Government 's Exhibit

13 Miscellaneous        14 being a business       record .    You've

14 previously    testifi ed as to that , and that was up on the

15 screen    next to you .     If I could show you Government 's

16 Exhibit    Miscellaneous     15 .

17           Is that a similar         business   record     that 's kept at

18 or about the time of the event s record ed on it and

19 maintain ed by your office ?

20 A.        Yes, ma'am .

21           MR. WARD:      May I see it , please ?

22           MS. GREENBERG:      This goes to Mr. Martin .

23           BY MS. GREENBERG:

24 Q.        Misc ellaneous    16 -- without       going through       the

25 whole litany    of questions -- is         that a business       record




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 1 kept by your office ?

 2 A.       Yes, ma'am , it is .

 3          MR. WARD:       Does that have anything      do with me ,

 4 Miss ?

 5          MS. GREENBERG:       Your Honor , may I approach       Mr.

 6 Ward ?

 7          MR. WARD:       Thank you .

 8          MS. GREENBERG:       Your Honor , I provide d to the

 9 clerk now Miscellaneous        14, 15 and 16 .

10          BY MS. GREENBERG :

11 Q.       Sir , you testifi ed about cocaine        and cocaine

12 base .

13          Are you familiar      with how cocaine     is convert ed

14 into cocaine    base ?

15 A.       Yes, ma'am .

16 Q.       Could you tell the jury about that ?           How is that

17 chemically    done ?

18 A.       Cocaine     hydrochloride     is common ly thought    of as

19 powder   cocaine .     The powdered    cocaine , the cocaine

20 hydrochloride      can just be dis solve d in water and baki ng

21 soda can be add ed to it .       The baking soda     cause s the

22 hydrochloride      salt , as we call it , to break down and

23 form a base -- cocaine        base .

24          Well , cocaine     base is not is sol uble in water .

25 It does not dis solve in water , and at that point , the




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 1 in sol uble cocaine      base would just form in that water

 2 solution    and can be re move d and dried .

 3 Q.         What is cocaine     base -- how is that relate d to

 4 the cocaine ?     What is the end result ?

 5 A.         Chemically , they're    both cocaine .     General ly ,

 6 you would find cocaine         in the hydrochloride     or the salt

 7 form because     it 's sol uble in water .      All drug s,

 8 legitimate     or illegitimate     are in the salt form because

 9 our bodi es of water system , in order          for the drug to be

10 effective , it needs to be able to dis solve in your

11 circulatory     system    to do whatever   it 's supposed     to do .

12            If the cocaine     base would not dis solve in water ,

13 it would not be very effect ive to take and in gest

14 oral ly because    it does n't dis solve in water.        It's not

15 going to really     pass through     your circulatory     system ,

16 but cocaine     base does have one property         and that is

17 that it burn s very readily        and it 's use d to be smoke d.

18 Q.         Is cocaine     base common ly referred    to , I think as

19 you said before , crack cocaine ?

20 A.         Yes, ma'am .

21 Q.         You mention ed baki ng soda .       Have you ever -- in

22 term s of your chemical        analysis , could other liquids        be

23 add ed to the process       with the baki ng soda cocaine       plus

24 a liquid    in the conversion      process ?

25 A.         Sometimes , depend ing on the recipe       th at 's being




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 1 use d, or if not an exact recipe        is use d, too much

 2 baki ng soda is put into the process .

 3 Q.       What happen s if too much baki ng soda --

 4          MR. MARTIN:      Objection .

 5          If he could be allow ed to finish         his response .

 6          THE COURT:      Let him finish     his answer .

 7          THE WITNESS:      The baki ng soda will not dis solve

 8 -- all the baki ng soda will not dis solve in water , so

 9 as the cocaine      base is form ed , you're    get ting a mixture

10 of the cocaine      base and the un dis solve d baki ng soda .

11 If the person      involve d want s to have a more pure form

12 of the cocaine      base , one way to do that would be to use

13 some type of organ ic solvent .

14          Cocaine     base is extreme ly sol uble, and organ ic

15 solvent s, baki ng soda is not , so that 's a mean s of

16 separati ng out the baking       soda from the cocaine       base .

17          BY MS. GREENBERG:

18 Q.       Can you give me some example s of what you mean

19 by "organ ic solvent ?"

20 A.       Alcohol .     Any type of alcohol .      Ether .

21 Chloroform .    These are the one s we would general ly use

22 in our laboratory , so they 're the         one s that come to

23 mind .

24 Q.       Would any type of liquor        work , or would it have

25 to be a particular       type of liquor ?




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 1 A.         Alcohol ?    Again , you could use ethyl alcohol ,

 2 which is a drinking       alcohol , any form of it .        We don't

 3 have a whole lot of that in our laboratory , so we would

 4 use methanol     or something        like that .

 5 Q.         Would the liquor        have to be clear liquor , or

 6 could it be a colored        liquor ?

 7 A.         Probably    would n't make any difference , but I

 8 would assume     you would prefer        clear so you're    not

 9 add ing color to your materials .

10            MS. GREENBERG:         Court 's indulgence .

11            No further    question s.

12            THE COURT:     All right .     This is an opportune

13 time to take a morn ing recess .           We will re cess until

14 11 :15 .

15                   (Jury excused at 10:57 a.m.)

16                   (Off the record        at 10 :57 a.m. )

17                   (On the record       at 11 :17 a.m. )

18            MS. GREENBERG:         Your Honor , may I -- I neglect ed

19 to cover one area at the end .            It will just take a

20 minute     or two .

21            THE COURT:     Sure .     All right .

22            THE CLERK:     You ready ?

23            THE COURT:     Yes .

24                   (Jury return s at 11 :18 a.m. )

25                   (Witness    resumed     the stand .)




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 1            THE COURT:     You may proceed , Ms. Greenberg .

 2            MS. GREENBERG:     Your Honor , just a housekeeping

 3 matter     to not have to bring Mr. Gervasoni           back .

 4            BY MR. GREENBERG:

 5 Q.         Sir , did you also re view certain       item s reflect ed

 6 on Miscellaneous        17 and Miscellaneous     18 ?

 7            For housekeeping      purpose s, this relate s to the

 8 next witness , Your Honor , involving          a search    in 19 99 at

 9 72 19 Flower Avenue , No . 20 3, and a car locate d at that

10 residence .

11            I'M show ing you 17 and 18 .      Is that your

12 signature     on there , sir ?

13 A.         Yes, ma'am , it is .

14 Q.         On Miscellaneous      17 and Miscellaneous       18 , are

15 the analyses     that were perform ed by your laboratory               the

16 same analyses     that you just spoke to this jury about

17 relating     to cocaine , cocaine     bas e, also known as crack

18 co caine and    marijuana ?

19 A.         Yes, ma'am .

20 Q.         Could you start with Miscellaneous           17 and tell

21 the jury what was determine d to be contain ed in those

22 substance s by amount       and type of drug ?

23 A.         In Miscellaneous      17 , there were three item s

24 listed .     Item No. 1 , 11 .65 grams marijuana ; Item No. 2 ,

25 147 .12 grams of cocaine         base ; and No. 3 , 4.68 grams of




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 1 cocaine .

 2 Q.         Miscellaneous     Item 18 ?

 3 A.         Miscellaneous     18 , Item No. 1 , trace cocaine ;

 4 Item No. 2, trace cocaine ; Item No. 3 , 57 .88 grams of

 5 cocaine     base .

 6            MS. GREENBERG:      No further     question s, Your

 7 Honor .     Thank you .

 8            THE COURT:      All right .     Cross-examination ?

 9            MR. MONTEMARANO :         Thank you , Your Honor .

10                            CROSS-EXAMINATION

11            BY MR. MONTEMARANO :

12 Q.         Good morn ing , Mr. Gervasoni .

13 A.         Yes, sir .

14 Q.         Good to meet you .         Based upon your question s

15 that you were asked in voir dire             between   Ms. Greenberg

16 and Mr. Ward , would it be fair to say that you , at one

17 time , serve d as a -- as an exam iner in the same role

18 that Ms. Santos       did , that the report s Mr. Ward was

19 quizzing     you about before        you became    a supervisor ?

20 A.         Yes, sir , I still do on occasion .

21 Q.         Still do on occasion .         You've   been in this

22 business     for about how long ?

23 A.         Thirty-five     year s.

24 Q.         Okay .    So it would be fair to say you were --

25 you did that kind of examination             for more than a




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 1 decade ?

 2 A.         Yes, sir .

 3 Q.         More than two dec ades ?

 4 A.         Yes, sir .

 5 Q.         Okay .    So you 've got   a vast wealth    of experience

 6 do ing this sort of thing ; is that a fair statement ?

 7 A.         Yes, sir .

 8 Q.         Okay .    Would it be fair to say that in your

 9 experience , it is not un common          to receive   -- well ,

10 strike     that .    Let 's start back from the beginning .

11            You were asked by Ms. Greenberg        as to how the

12 materials     are received     by you in the lab .      Remember

13 that question ?

14 A.         Yes, sir .

15 Q.         And you said you divide d up, based on the tests,

16 but you get it package d together           by the police , as you

17 de scribe    the way it was seize d; is that a fair

18 statement ?

19 A.         Yes, sir .

20 Q.         And it would be fair to say that        the drug s

21 seldom , if ever , are loose ?        They're   always in some

22 kind of packaging ?

23 A.         Yes, sir .

24 Q.         Plastic     bag s; correct ?

25 A.         Correct .




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1 Q.          Vi als ?

2 A.          Yes, sir .

3 Q.          In your experience , it 's probably      more common

4 than not that drug s are package d especially            in small

5 package s and lot s of small package s; correct ?

6 A.          We get them in vary ing size s, very small up to

7 general ly gallon -size Ziploc s.

8 Q.          Just so we're clear , sometimes       the packaging        is

9 loose like paper or tape or thing s like that , too ;

10 correct ?

11 A.         That 's correct .

12 Q.         Based upon your train ing and knowledge         and

13 experience      over these 35 year s, would it be fair to

14 suggest     that it 's not un common   that when you receive

15 drug s to be tested , still in their packaging , in an

16 envelope     that you need to un seal that , it has       been --

17 it has not come direct ly from the seizi ng officer              to

18 the lab ?

19 A.         That 's correct .

20 Q.         In fact , sometimes   it goes and get s

21 fingerprint ed first ; isn't that a fair statement ?

22 A.         If it 's a drug contain er , our policy      and our

23 department      policy   is that it will come to us first .           We

24 empty the drug s from the original         contain er and then

25 that contain er is then package d by us and sent for




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 1 fingerprint s.

 2 Q.        So you treat it very care fully so as not to

 3 disturb   any potential     finger print s on the packaging ; is

 4 that correct ?

 5 A.        That 's correct .

 6 Q.        You repack the packaging ; is that correct ?

 7 A.        That 's correct .

 8 Q.        Then it goes through      your same chain of custody

 9 procedure s to the fingerprint        lab ; is that correct ?

10 A.        Correct .

11 Q.        At that point it 's out of your custody              and you

12 don't know what happen s to it , and presumably                it 's

13 going to be tested ?

14 A.        That 's correct .

15           MR. MONTEMARANO :     No further    question s, Your

16 Honor .   Thank you .

17                         CROSS -EXAMINATIONn

18           BY MR. MARTIN:

19 Q.        Good morn ing , Mr. Gervasoni .      My name is Tony

20 Martin , sir , and I represent       Mr. Goodwin      here .

21           Bear with me a little      bit .   You talk ed a little

22 about cocaine    base , and would it be fair to say that

23 there are various       form s of cocaine    base ?

24 A.        Chemically , no .

25 Q.        Would n't you agree that the pa ste from the cocoa




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 1 leaf is also cocaine         base ?

 2 A.         That 's correct .

 3 Q.         Would you     also a gree that the freebasi ng that

 4 became    infamous , I guess , in the 1980s with the

 5 come dian, Richard       Pry or , is also a form of cocaine

 6 base ?

 7 A.         They're     all cocaine    base , yes, sir .

 8 Q.         So when you said in response         to Ms. Greenberg 's

 9 question     that crack was cocaine        base , that wasn't   quite

10 accurate .     There are different        form s of cocaine   base ;

11 right ?

12 A.         She asked if cocaine        base is known as crack , and

13 it -- you know , it -- crack is a slang term that 's use d

14 for a way that cocaine         base is made .

15 Q.         Usable .     Crack is a usable    form of cocaine    base ?

16 A.         Right .

17 Q.         And one of the distinctive        feature s of that is

18 that it 's smoke able ; right ?

19 A.         That 's correct .

20 Q.         But you didn't      test to determine    whether   any of

21 the drug s taken was smokeable , any of the cocaine             base

22 that you tested        in your lab , did you ?

23 A.         No, sir .

24 Q.         With respect     to - if I might look at

25 Miscellaneous        15 and 16 for a moment , Madam Government ,




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 1 if you have it available .

 2          With respect     to the analysis      that was done , you

 3 just tested     for the presence     of cocaine ; is that

 4 correct ?

 5 A.       No, sir .    It depend ed on the exhibit .          On some ,

 6 it was just for cocaine        and other s.    It was whether         it

 7 was cocai ne base or cocaine        hydr ochloride .

 8 Q.       Well , you didn't     test to determine         whether    or

 9 not there were other chemical s add ed to that , did you ?

10 A.       No, sir .

11 Q.       So we don't know what percentage           of cocaine       was

12 in that compound      or that mixture     that was seize d; do

13 we ?

14 A.       That 's correct .

15          MS. GREENBERG:       Here yo u are,    Mr. Martin .

16          MR. MARTIN:      Thank you , ma'am .

17          BY MR. MARTIN:

18 Q.       Call ing your attention       to both 15 and 16 .          Let 's

19 go to -- if I could put this on the screen , maybe we

20 can get this up here .       Can you see that , sir ?         I'm

21 going to try to zoom this -- that 's just the opposite ,

22 isn't it ?     Can you see that ?

23 A.       Yes, sir .

24 Q.       Do you see here where my finger          is ?     Can you --

25 let 's see .    See here where it says Exhibit 1 ?            Can you




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 1 see that ?

 2 A.         Yes, sir .

 3 Q.         And it says 969 .53 grams of cocaine ; correct ?

 4 A.         That 's correct .

 5 Q.         But we don't know if that 's cocaine          base ; do we ?

 6 A.         Let me check the note s here , please .         No , we do

 7 not .

 8 Q.         And we don't know that because        we don't know if

 9 there 's sodium       bi carbon ate in there ; do we ?

10 A.         No .    We can -- if we have a relative ly pure form

11 of cocaine        and it 's not mix ed with other substance s, we

12 can pretty        much determine   whether   it 's one or the

13 other , but this one was fair ly weak .

14 Q.         So we don't know if this particular           cocaine   was

15 smokeable , and we don't know if there was baki ng soda

16 in there ; correct ?

17 A.         That 's correct .

18 Q.         Court 's indulgence .

19            Now , with respect      to the drug s that were seize d

20 and that was publish ed to the jury,           when you got them ,

21 were they in plastic        bag s or did you put them in

22 plastic     bag s?

23 A.         They were received       -- most of the item s were

24 received     in the heat seal able evidence       bag s that

25 they're     present ly in , and in side those bag s were




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 1 various   contain er s.    Now , some of those contain er s we

 2 request ed to send for fingerprint s, and in those

 3 instance s, those were re move d from the original

 4 contain er s and place d in bag s from the laboratory               so

 5 the original       contain er s could be sent for fingerprints .

 6 Other than that, as you see them package d now is how

 7 they were package d when we received               them .

 8 Q.        Okay .    Well , let 's talk about the sequence .              Did

 9 they go to the fingerprint          lab before       or after they

10 came to your lab ?

11 A.        The department       policy    is packaging       come s to our

12 laboratory , we re move the drug s from the original

13 packaging , and then package            up those item s to be sent

14 for fingerprint s.

15 Q.        When you do that , of course         you wear late x

16 glove s so that your finger print s are not transferred;

17 right ?

18 A.        Th at 's correct .

19 Q.        Th at 's very important        because    you don't want to

20 contaminate    any of the      packaging ; right ?

21 A.        That 's correct .

22 Q.        Okay .    Now , with respect      to your laboratory .

23 You talk ed a little      bit about it , but you didn't            tell

24 us whether    or not you actual ly calibrate d the machine s

25 that do the testing .       Do you do that , sir ?




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 1 A.         No, sir .     Well , let me clarify .     We have people

 2 assigned     to do that on day s -- there might be day s --

 3 we're a small laboratory .          There might be day s where

 4 I'm the first one in and I'm going to analyze                drug s

 5 that day , and I will calibrate           the instrument .     So , I

 6 have done it .        General ly , I do not .

 7 Q.         Okay .     And you didn't    testify   today as to

 8 whether     or not that machine        was calibrate d on June 1st ,

 9 2004 .    You didn't     testify   that it was done on that day ;

10 did you ?

11 A.         No .

12 Q.         And you don't have any paperwork          to show that

13 the machine       was calibrate d on that day ; do you ?

14 A.         Not with me .     That 's correct .

15 Q.         Now , you also , if I heard you correct ly , say

16 that you were Ms. Santos ' supervisor ?

17 A.         Yes, sir .

18 Q.         Did you hire Ms. Santos ?

19 A.         Yes, sir .

20 Q.         And you're     responsible    for her supervision ?

21 A.         Yes, sir .

22 Q.         You've     been in charge    of the lab for how many

23 year s, sir ?

24 A.         Thirty .

25 Q.         So , your performance       is based on the competency




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 1 of the laboratory          over all and the people     within      it ; is

 2 that correct ?

 3 A.         I would say so , yes, sir .

 4 Q.         With respect      to controlled     testing .    Do you have

 5 that done at the lab ?

 6 A.         Excuse   me ?

 7 Q.         Controlled      testing .   In other words , where

 8 samples    are sent that are known to contain              trace

 9 element s of controlled         substance s.     In other words , to

10 determine     the accuracy      of the lab .     Do you have

11 controlled     testing ?      I don't know     how else to de scribe

12 it .

13 A.         Each of our analyst s, whether         it be DNA or drug

14 analyst s, are proficiency         tested    twice a year where we

15 receive    un known samples      from an outside     agency     to

16 determine     if we can analyze        the materials    correct ly .

17 Q.         That 's an in dependent      lab , it 's not a government

18 agency ?

19 A.         That 's correct .

20 Q.         I take it that Ms. Santos         was re certifi ed within

21 that time frame that you mention ed ?

22 A.         Yes, sir .      We do it every six month s.

23 Q.         You've   work ed for the government         for at least

24 the last , I think you said , 30 -- 35 year s?

25 A.         Thirty-five      year s, yes, sir .




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 1 Q.         And you testify         exclusive ly for the government ,

 2 don't you ?

 3 A.         I believe     so .     I can't think off the top of my

 4 head of having        testifi ed for defense .

 5 Q.         Right .     The judge didn't     call you today to

 6 testify ; did he ?

 7 A.         No, sir .

 8            MR. MARTIN:          I have no further    question s.

 9            MR. HALL:      Your Honor , I have no question s of

10 Mr. Gervasoni .

11            MR. MITCHELL:          No question s, Your Honor .

12            MR. WARD:      I have a couple , Your Honor .

13                            CROSS-EXAMINATION

14            BY MR. WARD:

15 Q.         Mr. Gervasoni , since all of the testing             about

16 which you have testifi ed was actual ly done by Ms.

17 Santos , I wanted       to ask you a little         bit about her and

18 her background        and qualification s.

19            What education         does she have in the field of

20 chemistry ?

21 A.         She has a bachelor 's degree         in chemistry .     I

22 can't remember        the name of the school , but it 's a

23 Filipino     school    -- college .

24 Q.         I see .     When was she hire d by you , sir ?

25 A.         She start ed work ing with us in --




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1 Q.          I mean approximately .     I don't need an exact

2 date .

3 A.          19 98 .

4 Q.          19 98 .   Do you know what prior experience       she had

5 had before       -- in the field before     comi ng to Montgomery

6 County ?

7 A.          Yes, sir .    She was employ ed as a drug analyst

8 with the Maryland        State Police Laboratory      in

9 Pike sville , I believe      for 13 year s before     she came to

10 our laboratory .

11 Q.         All right , sir .   Now , the form which is in

12 evidence     as Government 's Miscellaneous      4, that is the

13 Laboratory      Report 04-19 06 , state s above the signature

14 of Ms. Santos :       I here by certify   the above -de scribe d

15 material     was analyze d by me under procedure s approve d

16 by the Department       of Health an d Mental Hygiene;      is that

17 correct ?

18 A.         Yes, sir .

19 Q.         And are those the standards      that your laboratory

20 follow s or do you have your own standards ?

21 A.         These -- the standards     we use are -- or the

22 procedures      we use have been approve d by the Department

23 of Health and Mental Hygiene .

24 Q.         All right , sir .   And it also state s, I continue ,

25 I am certifi ed by the State Department          of Health and




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 1 Mental Hygiene       as an individual    qualifi ed under the

 2 standards     approve d by that department       to analyze

 3 controlled     danger ous substance s, and it continue s on

 4 with other matter s.

 5            Do you know when Ms. Santos       was approve d by the

 6 state or certifi ed by the State Department            of Mental

 7 Hygiene ?

 8 A.         Actual ly , she was -- had to be approve d twice

 9 because     the certification    only appl ies to     the

10 laboratory , so she was certified         when she work ed with

11 the state police       in Maryland , and as soon as she began

12 her employ ment with Montgomery         County , we submitted       the

13 required     paperwork    to have her certifi ed with the State

14 Department     of Health and Mental Hygiene        in our

15 laboratory .

16 Q.         That would have been in 19 98 when she join ed ?

17 A.         That 's correct .

18 Q.         Is certification     an on going or repetitive

19 process ?     That is , under State Health and Mental

20 Hygiene     regulation s, is certification       required   on an

21 on going basis ?

22 A.         For this certification       from the State Department

23 of Health and Mental Hygiene , no .          All you need is that

24 original     one .   The only way you would have to renew it

25 is if you changed        laboratori es within    the state of




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 1 Maryland .

 2 Q.        All right , sir .     You have already    said that you

 3 are her -- and have been her supervisor            since she came

 4 with Montgomery       County or since she joined      Montgomery

 5 County ; is that right , sir ?

 6 A.        Yes, sir .

 7 Q.        And as supervisor , I assume      that you have the

 8 responsibility     to periodically     re view an employee 's

 9 work and to eval uate an employee 's work ; is that

10 correct , sir ?

11 A.        Yes, sir .

12 Q.        Can you recall      any occasion s in the past when

13 you've    had to , let 's say , order re testing     with regard

14 to Ms. Santos ?

15 A.        No, sir .

16 Q.        Can you recall      any occasion s in the pas t when

17 you've    had to comment    on her compliance      with an

18 administrative     standard    of the laboratory ?

19 A.        No, sir .

20 Q.        Now , is the laboratory     itself   audited   on an

21 on going basis by either       the State Department      of Mental

22 Hygiene    -- I'm sorry , State Department       of Health and

23 Mental Hygiene     of Maryland     or some other in dependent ,

24 qualifi ed laboratory      approve d by the State Department

25 of Health and Mental Hygiene ?




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 1 A.         No, sir .

 2 Q.         So , the -- so in the 30 year s you've        been there ,

 3 neither     the State Department       of Mental Health and

 4 Hygiene     or some other laboratory       approve d by them has

 5 not come in and done an order of the laboratory                and

 6 approved     its operati ng procedure s and so forth ?

 7 A.         That 's correct .

 8 Q.         So you're     sort of self- auditing ?

 9 A.         Yes, sir , and that 's one of the reason s we use

10 proficiency     testing .     It's one method     of testing    each

11 of our analyst s, and again , we do it twice a year , even

12 though    once a year is the only requirement          in the

13 forensic     field .     And that 's , you know , it 's proficiency

14 testing .

15 Q.         Nobody    ever look s over your shoulder      and says ,

16 hey , you're    do ing this wrong , or you're       do ing that

17 wrong , or we think you should          do this or do that ?

18 A.         No, sir .     There 's standards     that are set up out

19 there .     Nobody     is really   check ing to see that we're

20 follow ing those standards .

21 Q.         Okay .    Now , let 's turn to some of the exhibit s

22 that you were shown , sir .

23            First of all , do we have 4C, I think it is the

24 laboratory     report .     Thank you , sir .    Now , as I

25 recollect     and certain ly the jury 's recollection          is what




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 1 control s, you were asked the difference            between   a

 2 detectable    amount    and a trace amount ; is that correct ,

 3 sir ?

 4 A.        It was something     to that effect .

 5 Q.        Something     to that effect.    And as I understood

 6 your testimony     with respect    to trace amount      or your

 7 definition , it is something       that is so small , it is

 8 less than .01 grams , so it really         cannot    be weigh ed by

 9 your scale s.

10 A.        That 's correct .

11 Q.        All right , sir .    And if it weigh s more than 0.1

12 grams , it is classifi ed as some other manner ?

13 A.        We would actual ly designate      the weight    that we

14 had received .

15 Q.        All right , sir .    Do see Item No. 1 there , sir ?

16 Exhibit    No. 1 on the line , first line ?

17 A.        Yes , sir .

18 Q.        All right , sir .    Now , be hind the word "cocaine "

19 is typed in par en these s " trace ;" is that correct , sir ?

20 A.        Yes, sir .

21 Q.        Do I assume     correct ly that is something        that Ms.

22 Santos    would have put there as she did the testing             or

23 after she did the testing ?

24 A.        Yes, sir .

25 Q.        All right , sir .    Under weight    found , sir , what




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 1 does it say ?

 2 A.         8.62 grams .

 3 Q.         According    to your definition       of trace , 8.62

 4 grams is not a trace ; is that correct , sir ?

 5 A.         That 's correct .

 6 Q.         Do you know what she meant when she put down

 7 8.62 grams and then put trace ?           Do you know whether        she

 8 meant trace or whether         she meant something      else ?

 9 A.         Yes, sir .     The total weight   of this exhibit , the

10 powder     that weigh ed in this particular        exhibit   was 8.62

11 grams .     Upon the analysis , the amount        of cocaine

12 determine d was extreme ly weak and just -- we just felt

13 it 's un fair to give the impression         that there 's 8.62

14 grams of a quantity        of powder    that is strong ly cocaine

15 or at least     relative ly strong      and in actuality,        in this

16 particular     instance , was very , very weak , so , you know ,

17 sort of give s the impression          that there really     was a

18 very small amount       of cocaine     present   in this particular

19 sample .

20 Q.         It certain ly would have been un fair to lea ve the

21 jury with the im pression        that it was 8.62 grams of

22 cocaine ; is that correct , sir ?

23 A.         That 's correct .

24 Q.         I'm glad you clarifi ed that .         Thank you .

25            All right , sir .    Let me just look at my note s




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 1 for a second .     You talk ed about a lot of small glass ine

 2 or plastic    bag s that were part s of the various        exhibit s

 3 that were submitted ; is that correct , sir ?

 4 A.      Yes, sir .

 5 Q.      And you said that -- I believe          that a number        of

 6 those plastic     bag s had trace s of controlled      dangerous

 7 substance s in them ; is that correct , sir ?

 8 A.      Yes, sir .

 9 Q.      That would seem to indicate , would it not , sir ,

10 that the bag s had , at one time , held controlled ,

11 dangerous    substance s, and had been empti ed , which had

12 been empti ed out or use d; is that correct , sir ?

13 A.      Yes, sir .

14 Q.      Okay .    For example , if a drug addict        bought   a

15 dime bag on the street , took it home and empti ed the

16 stuff out , snort ed the stuff , fire d it up , whatever

17 they do with it , you would expect         to find trace s in the

18 bag ?

19 A.      That 's correct .

20 Q.      All right , sir .     Now , is it a fact , sir , that

21 with respect     to the exhibit s that were shown to you by

22 Ms. Greenberg , you don't know , other than the fact that

23 the form says that they were seize d at 7427 9th Street ,

24 you don't know where any of those item s were found ?

25 A.      That 's correct .




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 1 Q.         You don't know if they were found in the

 2 base ment , in the attic , in the kitchen , in the bathroom

 3 or where ?

 4 A.         That 's correct .

 5 Q.         That would not be important       to you ?

 6 A.         That 's correct .

 7 Q.         With respect    to 29 B -- I'm sorry , do you have

 8 that in front of you , sir ?

 9 A.         I don't have    those number s.

10 Q.         Do you recall    that your testimony      was that it

11 consisted     of 44 small Ziploc     bag s, each with trace s of

12 powder ?

13 A.         I knew there was an item like that .          I don't

14 know particular ly which item .

15 Q.         Let 's get that for you , then , please .       I don't

16 want to have you guess ing .

17            This heat -seal ed envelope , as I understand        it ,

18 contain s both 29 A and 29 B, but it 's 29 B that I'm

19 focusing     on , sir .   The question   is , is 29 -- does 29 B

20 consist    of a number     of small , plastic , Ziploc -type

21 bag s?

22 A.         That 's correct .

23 Q.         Okay .   And that 's -- that has your laboratory

24 number , I believe , 4B?

25 A.         That is correct .




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 1 Q.       Is that correct , sir ?

 2 A.       Yes, sir .

 3 Q.       You were able to weigh a detectable          amount       of

 4 both heroin    and cocaine , .24 grams ; is that correct

 5 sir ?

 6 A.       Yes, sir .

 7 Q.       As I understand     it , you're   not say ing that there

 8 was 2.4 grams in any one of those bag s?            You're   say ing

 9 that the total of the residue         left in each of those 44

10 bag s totalled   .24 grams .

11 A.       That 's correct .

12 Q.       Again , that would be consistent , would it not ,

13 with let's just say an addict         buy ing a quantity     of

14 drug s in those bag s and then empty ing them out , using

15 the drug s, and then put ting the bag s aside , leavi ng a

16 small trace quantity      in each ?

17 A.       Yes, sir .   Each of the bag s just had very small

18 quantiti es in it .

19 Q.       Yes, sir .   Four A was a bag , which was 11 .65

20 grams of heroin .

21 A.       Yes, sir .

22 Q.       All right , sir .     Do I understand that      that was

23 not tested    for purity ?

24 A.       That 's correct .     We don't test anything        for

25 purity   in our laboratory .




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 1 Q.        I see .     Were you able to get any indication ,

 2 because    you testifi ed just a few minute s ago , if that

 3 something      was very weak and it was , therefore ,

 4 character ized as a trace .

 5           If you can't say percentage -wise , with respect

 6 to 4A and the 11 .65 grams , say whether            the quantity         of

 7 heroin    was weak or not ?

 8 A.        No, sir .     Some other substance s were found in

 9 there , which would indicate            that it was n't pure ,

10 obvious ly .     But as to the ex tent of how pure that was ,

11 we would not know .

12 Q.        All right .      Thank you .

13           Now , the scale s that you talk ed about .             I think

14 it was Dobie 10,       which was your item Exhibit 7             -- or

15 from which Exhibit 7        was derive d.      You recall    that

16 those trace s were found on a scale ?

17 A.        Yes, sir .

18 Q.        All right , sir .         Now , is that a scale

19 manufactured      and sold sole ly for the purpose          of

20 measuring      quantiti es of controlled , dangerous

21 substance s?

22 A.        I don't think      so .     I'm sure you can purchase          it

23 for whatever      reason   you want .

24 Q.        Would you expect          jeweler s to use a scale like

25 that to weigh diamonds         or other precious      stone s?




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 1 A.       It 's a possibility .

 2 Q.       The same goes , I guess , for the other scale that

 3 was found , which was ?

 4 A.       Number    two .

 5 Q.       I believe    Exhibit 2 .       Or Dobie Exhibit 15 ,

 6 Exhibit 2    on your report .       There were trace s of coke

 7 and heroin ; is that correct , sir ?

 8 A.       That 's correct .

 9 Q.       All right , sir .       Now , let 's talk about Dobie 13

10 for a moment      where trace s were found .        I think that 's

11 your Exhibit 11      as shown on the screen .            May I see

12 that , Detective ?     Thank you , sir .

13          MR. WARD:         May I show this to the witness ?

14          THE COURT:         You may .

15          BY MR. WARD:

16 Q.       Do you remember        testify ing about that , sir ?

17 A.       Yes, sir .

18 Q.       All right , sir .       If I may .     Within    this

19 heat -sealed   bag , there are several         play ing cards ; is

20 that correct , sir ?        The kind you sit down and play , I

21 don't know , Poker or Bridge or something                with ; is that

22 correct ?

23 A.       That 's correct .

24 Q.       There look s like a couple           of lottery    receipt s.

25 Do you see them here ?




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1 A.        Yes, sir .

2 Q.        Pair of tweezers ; is that right ?

3 A.        Yes, sir .

4 Q.        Pair of toenail        clipper s?

5 A.        Yes, sir .

6 Q.        D. C. Lottery -in scribe d pencil ; is that right ,

7 sir ?

8 A.        Yes, sir .

9 Q.        A common     kitchen    item measuring   spoon .   Look s

10 like a half teaspoon ; is that correct , sir ?

11 A.       Yes, sir .

12 Q.       And then what look s like a -- I don't know .               Is

13 it a plastic      or tin lid of some kind ?

14 A.       I think it 's a -- yeah , it 's just some sort of a

15 little   -- yes , metal lid .

16 Q.       Okay , sir .    It 's my understand ing , based on your

17 testimony , that all of those item s were wash ed in some

18 kind of a, I think you said methyl           alcohol   rinse or

19 solution .

20 A.       Methyl    alcohol , yes, sir .

21 Q.       And that was for the purpose         of wash ing off any

22 residue ?

23 A.       Yes, sir .     Not all those item s were rinse d.

24 Q.       Not all of them ?

25 A.       No .   Not the cards or the paper s.          It was just




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 1 the measuring     spoon , the -- that metal cap and there 's

 2 a small Ziploc     bag in there also .

 3 Q.       A small Ziploc      bag .   All right , sir .     And that

 4 was to be my next question .          Which item s were which .

 5 You've   just answered     that .    In any event , whatever     was

 6 rinse d, including     the small plastic      bag , only a trace

 7 was found ; is that correct , sir ?

 8 A.       Yes, sir .

 9 Q.       You have no way of tell ing whether            that trace

10 came from the spoon , the little , I don't know , like a

11 tin lid or something       or the bag ?     You have no way of

12 know ing where that trace came from ?

13 A.       That 's correct .

14 Q.       All right , sir .     It could have certain ly come

15 just from the bag ?

16 A.       Could have come from either         one or all of them .

17 Q.       And if it came from the bag , that again , would

18 not be in consistent      with , let 's say , an addict     bring ing

19 home a dime bag or whatever          it was , empty ing it out ,

20 using it and put ting the bag aside ?

21 A.       That 's correct .

22 Q.       All right , sir .     Thank you .

23          Now , Dobie Exhibit 14 , which was , I believe ,

24 your Exhibit 5 .      I'm sorry to put you through         all this

25 trouble , Detective .      A ctual ly 5A.    Thank s.




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1             MR . WARD:     Now , if I may , Your Honor .

2             THE COURT:      Yo u may .

3             MR. WARD:      Thank you .

4             BY MR. WARD:

5 Q.          In this heat -seal ed bag , sir , which is Dobie

6 Exhibit 14,      it appears     we have some kind of plastic

7 tube with a label that says "Sergeant               Safety Tube;" is

8 that correct , sir ?

9 A.          Yes, sir .     We use that for sharp object s so that

10 people   don't injure      themselves      while transport ing the

11 evidence     or using it .

12 Q.         All right , sir .     There 's a lit tle pumice stone,

13 the kind that you use in the bathtub              to rub a callus

14 off your foot ; is that right , sir ?

15 A.         Yes, sir .

16 Q.         A ballpoint     pen ; right ?

17 A.         Yes, sir .

18 Q.         Again , there appear         to be several   play ing cards

19 in there ; is that right ?

20 A.         Yes , play ing cards , paper s,

21 Q.         A little     round tin , the kind that would hold

22 pastel s or something        that you would buy in the

23 drugstore ; is that right , sir ?

24 A.         Yes, sir .

25 Q.         A plastic , small plastic         spoon ?




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 1 A.        That 's correct .

 2 Q.        Numerous     paper s; is that right ?

 3 A.        Yes, sir .

 4 Q.        A small cloth bag ?

 5 A.        Yes, sir .

 6 Q.        I believe     there were also some plastic       bag s in

 7 here , or do you recall ?

 8 A.        There are some small Ziploc s also .

 9 Q.        All right .     Now , I think there was a ra zor blade

10 in here , too .

11 A.        Yes .     The ra zor blade is in the Sergeant 's

12 Safety Tube .

13 Q.        I see .     That 's so I don't cut myself      when I pick

14 it up .

15           Now , the ra zor blade , I think you said , was 5A;

16 is that right , sir ?

17 A.        Yes, sir .

18 Q.        Huh ?

19 A.        Yes, sir .

20 Q.        And that was what had an un measurable          amount   of

21 heroin    and cocaine .     In other words , a trace of heroin

22 and cocaine ; is that correct , sir ?

23 A.        Yes, sir .

24 Q.        The other item s -- as I understand         it , the other

25 item s that were tested       collectively    had .15 grams of




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 1 heroin   and cocaine ; is that correct , sir ?

 2 A.       Yes, sir .   There were principally        the -- there 's

 3 Zip loc bag s in there .

 4 Q.       The five Ziploc     bag s.   Now , you don't know , I

 5 assume , whether    the .15 grams of heroin       and cocaine

 6 came from one of the bag s, two of the bag s, or all five

 7 of the bag s; is that correct ?

 8 A.       That 's correct .

 9 Q.       But that is bare ly -- not bare ly .        That is above

10 a trace .    How do you character ize that as a detectable

11 quantity ?

12 A.       Yes, sir .

13 Q.       Okay .   But you don't know if it was simply           since

14 that 1.15 grams could have been divided           up between    the

15 item s that were tested , you don't use , for example ,

16 each bag had simply      a trace in it , for example , the

17 glass ine bag ?

18 A.       Yes, sir .

19 Q.       That , again , could would not be in consistent

20 with an addict     buy ing a glass ine bag for a fix ,

21 empty ing it out , using it which ever way it was use d,

22 and then put ting the bag aside with simple           trace ?

23 A.       That 's correct .

24 Q.       All right , sir .    You were shown a bag of

25 Inositol.




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 1 A.         It was a bottle      that was labeled      Inositol   that

 2 had trace amount s of white powder          in it .

 3 Q.         I'm sorry .    Could you spell that for me ?

 4 A.         I N O S I T O L.

 5 Q.         Inositol ?

 6 A.         Inositol .

 7 Q.         What is Inositol ?      I mean , I don't need a long ,

 8 complicate d chemical        answer , but --

 9 A.         It 's something     you can buy in health      store s and

10 mix it , and I don't know        what it 's suppose d to do .

11 It 's sort of like a vitamin        kind of thing , but you

12 know , we see it quite frequent ly in the lab .

13 Q.         But it 's something     that has legitimate      use s as ,

14 for example , does baki ng soda ; is that right ?            I mean ,

15 to bake cake s?

16 A.         That 's correct .

17 Q.         All right , sir .     And as you said , it is a

18 non -controlled    substance .     You don't need a doctor 's

19 prescription     to walk in a health      store and buy a bottle

20 of Inositol ; do you ?

21 A.         No , you do not .

22            MR. WARD:     Let me just check one thing first .

23            If the Court would bear with me just one moment ,

24 please .

25            Mr. Gervasoni , I think that 's all I have , except




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 1 now I can't find my copy of my report .

 2          Oh , here it is .     Thank you , Madam Prosecutor .

 3          Thank you , Mr. Gervasoni .

 4          THE COURT:       All right .   Any further

 5 cross -examination ?

 6          MR. MCKNETT :      Just a few question s, Your Honor .

 7                           CROSS-EXAMINATION

 8          BY MR. MCKNETT :

 9 Q.       Good morn ing .

10 A.       Good morning .

11 Q.       I want to ask you a couple         of question s, if I

12 may , about the    format    of the lab report s themselves .

13          Do you have one there ?        Any one will do .

14 A.       Sure .

15 Q.       I'm going to put up this one .          The report    is

16 divide d up into section s; correct ?

17 A.       That 's correct .

18 Q.       I want to refer to them as they appear            on the

19 page .   There 's a top section      up here .    Who fill s that

20 in ?

21 A.       That whole top section , except         for the

22 laboratory    number , which is on the upper right-hand

23 corner , lab number .

24 Q.       That 's here ?

25 A.       The lab number      is put in there by the laboratory




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 1 personnel .    The rest of that section       is fill ed out by

 2 the officer    involve d.

 3 Q.       In this case , it would appear        to be a detective ?

 4 A.       Pa palia .

 5 Q.       Detective     Papalia ?

 6 A.       Yes, sir .

 7 Q.       Do you know him ?

 8 A.       Yes, sir .

 9 Q.       He 's Montgomery    County , I believe ?

10 A.       Yes, sir .

11 Q.       So he fill s in these line s?       The officer , agency

12 phone number , and then defendant         suspect   line ; correct ?

13 A.       Yes, sir .

14 Q.       I'm sorry .     I keep hitting    the wrong button

15 here .   There 's a next section , which is in this box

16 here .   Who fill s in that box ?

17 A.       That would also be fill ed in before         it come s to

18 the laboratory    by the officer     involve d.

19 Q.       So that would have been either         Detective    Papalia

20 or someone    else work ing with him ?

21 A.       That 's correct .

22 Q.       Then we have the next box , which is here , which

23 start s out with exhibit      number , complete     description ,

24 suspect ed substance .      Who fill s in this portion ?

25 A.       That 's also fill ed in by the officer s.




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 1 Q.         Then there 's a very narrow        box here , it says lab

 2 use only , and that 's the line that indicate s when --

 3 the analyst ?     Is that the proper         term --

 4 A.         Yes, sir .

 5 Q.         -- actual ly goes into the exhibit          and take s out

 6 whatever     there is in there to be analyze d; correct ?

 7 A.         That 's correct .

 8 Q.         In this case , it was Jocelyn         Santos ?

 9 A.         Yes, sir .

10 Q.         Then there 's another        box that , again , start s

11 with exhibit     number , but then it goes to weight               found

12 and substance     found .    Who fill s in that box ?

13 A.         This is typed in by our secretary .              That

14 information     she obtain s from our written          laboratory

15 result s.

16 Q.         And in this case , the written         laboratory        result s

17 would have been written         by Analyst     Santos .

18 A.         That 's correct .

19 Q.         There 's one entry here , and it appear s to be an

20 entry made by Ms. Santos .         It appear s to be her name

21 there .     Do you see that ?

22 A.         Yes, sir .

23 Q.         Am I correct     on that ?     Does that appear         to be

24 her name ?

25 A.         Yes, sir .




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 1 Q.         What would that indicate ?

 2 A.         The reason      is that sometimes    the description     of

 3 the officer s in that upper block is not complete , or

 4 they may list a number         of item s on one line , so what we

 5 do is divide        them up , like in this particular        case , Ms.

 6 Santos     took Exhibit     No. 4 and divide d it into A and B,

 7 and Exhibit        No. 5A and B, so that when you look at the

 8 low er result s of the report , you will see that there is

 9 a result     for a 4A and a 4B, just to clarify            what's

10 going on from the top part of the report             and the

11 bottom .

12 Q.         So just to make sure I'm clear , the number s one ,

13 two , three , four , five , they were apparent ly written            by

14 Detective     Papal ia ?

15 A.         Yes, sir .

16 Q.         And Ms. Santos      would have broken    it down into

17 5A, 5B, she would have written          that on there , and I

18 think put her initial s adjacent         to it ?

19 A.         Yes .    And then her name and date after that .

20 Q.         That 's just a record -keeping       thing so there was

21 a proper     chain of custody ?

22 A.         Well , it 's a situation    of we try to make the

23 result s of our find ings correspond           to what's    submitted

24 above .     And again , there 's several       item s listed   on each

25 line .     So to break down the fact that we have a 4A and




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 1 a 4B, you have some understand ing of what 4A and 4B

 2 mean s when you look at that report .

 3 Q.      Because    the officer    had put down at Line 4, he

 4 had put down two different        thing s.

 5 A.      That 's correct .

 6 Q.      You could n't analyze      them both at the same time ,

 7 you have to analyze      them separate ly ; correct ?

 8 A.      Yes .

 9 Q.      I want to talk to you also about -- I want ed to

10 ask you also about the use of the word trace .             That 's a

11 term of art in your field ; correct ?

12 A.      Probably    has different     mean ings for different

13 people , but go ahead .

14 Q.      I wanted    to ask you about something .         When Mr.

15 Ward was asking     you about the use of the        word "trace ,"

16 I think he de scribe d it in his question         as 0.1 grams ,

17 but should n't it actual ly be .01 gram ?

18 A.      He did say .01 once or twice and .1 once or

19 twice , but our scale s go down to .01, so a trace could

20 be anything     less than that , or maybe something        that 's

21 just bare ly . 01, and it 's , you know , hard ly registering

22 on the scale .     We would just report      that as a trace .

23 Q.      It become s so small that it 's really          difficult

24 to measure    it with great precision ?

25 A.      That 's correct .




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 1 Q.        And a trace , just to be clear , is a quantity

 2 that would be less than 0 -- see , I almost            did it , less

 3 than .01 grams .

 4 A.        That's    correct .

 5 Q.        0.1 grams is one -tenth of a gram ; is that

 6 correct ?

 7 A.        Yes .

 8 Q.        How many gram s are there in an ounce ?

 9 A.        There are 28.35 grams per ounce.

10 Q.        So 0.1 gram would be 1/ 28 th of an ounce or

11 approximately ?

12 A.        One gram would be 1/ 28 th of an ounce , so you're

13 at .01 would be 1/2800 s of an ounce , I guess .

14 Q.        What would .01 grams be in relation          to an ounce ?

15 A.        That would be 1/ 2800 th of a gram .        One over

16 2800.

17 Q.        It would take 2,800 of them to make up one

18 ounce ?

19 A.        That 's correct .

20 Q.        So a trace is essentially         large enough   to see

21 and to measure       -- I mean , to analyze , but not really

22 large enough       to be worth try ing to weigh it ?

23 A.        That 's correct .

24           MR. MCKNETT :     Thank you .

25           THE COURT:      Any further     cross ?




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 1            All right .    Any re direct ?

 2            MS. GREENBERG:     No , Your Honor .

 3            THE COURT:     All right .     You may step down .

 4 Thank you very much .

 5                    (Witness   ex cused at 12 :09 p.m. )

 6            THE COURT:     We will take a recess      until 12 :30 ,

 7 and we will resume .

 8                    (Jury excused at 12:09 p.m.)

 9                    (Off the record      at 12 :09 p.m. )

10                    (On the record      at 12 :35 p.m. )

11            THE COURT:     All right .     Ready to proceed ?

12            MR. WARD:     Yes, sir .

13            THE COURT:     All right .     Is your next witness

14 ready to go , Ms . Green berg ?

15            MS. GREENBERG:     Yes, sir .

16                    (Jury return s at 12 :37 p.m. )

17            MS. GREENBERG:     Your Honor , the government       call s

18 George   Hubbard    to the witness       stand .

19 Thereupon,

20                            GEORGE     HUBBARD ,

21 having been called as a witness on behalf of the

22 Plaintiff , and having been first duly sworn by the

23 Courtroom Deputy, was examined and testified as

24 follows:

25                          DIRECT EXAMINATION




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 1            BY MS. GREENBERG:

 2 Q.         Could state your last name and spell your last

 3 name for the jury , please ?

 4 A.         My last name is    Hubbard,    H U B B A R D.

 5 Q.         First name ?

 6 A.         George .

 7 Q.         Where are you employ ed , sir ?

 8 A.         I'm current ly employed with        the Washington

 9 Suburban     Sanita ry Commission    Police Department .

10 Q.         As what ?

11 A.         I am current ly the Act ing Deputy Chief of

12 Investigation s for the police        department .

13 Q.         Are you retired , sir , from another       job ?

14 A.         Yes, ma'am .

15 Q.         What was your previous      job ?

16 A.         I was a police officer      with the City of Takoma

17 Park Police     Department , Takoma      Park , Maryland .

18 Q.         Could you tell us when you start ed without            the

19 -- when you start ed out in law enforcement , what year ?

20 A.         19 76 , ma'am .

21 Q.         As what ?

22 A.         I start ed out as a civilian        dispatcher     when I

23 was 17 .

24 Q.         After that ?

25 A.         I was hire d as a police officer        with Takoma     Park




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 1 in 19 79 and I remained      with the agency      until I retired

 2 in 2004 .

 3 Q.       What was your position       when you retired , sir ?

 4 A.       I was captain     -- had the rank of captain , and I

 5 was division      command er in charge   of the Support

 6 Service s Division      for Takoma   Park .

 7 Q.       So you reach ed the rank of captain ?

 8 A.       That 's correct .

 9 Q.       Direct ing your attention       to the time period      of

10 November , 19 99 .     What was your rank at that time ?

11 A.       I was a detective     sergeant .

12 Q.       As detective     sergeant , what were your duti es and

13 responsibilities ?

14 A.       At that particular      time , we were responsible       for

15 all major crime that occurred         within    the boundaries    of

16 Takoma   Park Police Department , which included          the

17 investigation      of homicides , robberi es , burglari es , drug

18 offense s, vice , narcotic s, as well as all internal

19 in vestigations      with the agency , which includes      internal

20 case s against     employee s conduct ing mis conduct     as well

21 as EEO-style investigation s.

22 Q.       If you could get that micro phone as close to

23 your mouth as you can get it .         You're    fair ly tall , even

24 while sitting .       That would be great .      Thank you .

25 Did you have people       work ing for you at that time ?




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 1 A.         Yes, ma'am .

 2 Q.         Did you also conduct          your own investigation s?

 3 A.         Yes, ma'am .

 4 Q.         Direct ing your attention            to November   12 , 19 99 ,

 5 do you recall        your activities          in connection   with your

 6 position     as a detective      sergeant        with the City of

 7 Takoma    Police Department          at 7219 Flower Avenue ,

 8 Apartment     203 , in Takoma        Park ?

 9 A.         Yes, ma'am .

10 Q.         Have you re view ed your paper work that 's

11 available     to you with relation             to those activities ?

12 A.         Yes , I have .

13 Q.         Did you have authority             to do any search es at the

14 residence     I just mention ed , 7219 Flower Avenue ,

15 Apartment     203 , in Takoma        Park , Maryland ?

16 A.         Yes, ma'am      I did .

17 Q.         Without    tell ing us what you told the judge --

18 that 's not an issue here -- did you develop                  information

19 from which the judge gave you authority                  to enter that

20 house and execute        the search      warrant ?

21 A.         Yes .

22 Q.         Did you have an understand ing as to who live d

23 there ?

24 A.         Yes , I did .

25 Q.         Who was that ?




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 1 A.         Mr. Derrick     Bynum .

 2 Q.         Did you seize evidence       pursuant   to that search

 3 warrant    on that date ?

 4 A.         Yes , I did , ma'am .

 5 Q.         Did you take picture s while you were conduct ing

 6 your search     of that residence ?

 7 A.         Picture s were taken , that 's correct .

 8 Q.         Did you also search       a vehicle   in connection    with

 9 that ?

10 A.         Yes , I did .

11 Q.         Were picture s taken of that ?

12 A.         Yes, ma'am .

13 Q.         Were the picture s maintain ed as part of your

14 case file in this case ?

15 A.         Yes , they were .

16 Q.         But the other item s such as the item s seize d,

17 were they maintain ed , to your knowledge ?

18 A.         To my knowledge , they have since been destroy ed.

19 Q.         Is that the typical       procedure   when a case is

20 close d?

21 A.         Yes, ma'am .

22 Q.         And this case had been close d by a guilty         plea ;

23 is that correct ?

24 A.         That 's correct .

25 Q.         And how about the inventory       sheet s, the




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 1 paperwork , the search       warrant    sheet s, the affidavit s.

 2 Are they still around ?

 3 A.        Yes , they are .

 4 Q.        Have you re view ed them to refresh           your

 5 recollection       about what occurred     in 19 99 ?

 6 A.        Yes, ma'am     I have .

 7 Q.        Are you prepared     to tell the jury about that

 8 search    warrant    of the house and the -- the search             of

 9 the house , the apartment , and the vehicle ?

10 A.        Yes, ma'am .

11 Q.        Direct ing your attention       to what's      been

12 previous ly mark ed as P-238 .         Could you tell the jury

13 what we're see ing here on the screen ?

14 A.        This is actual ly a photograph        of the apartment

15 build ing locate d at 7219 Flower Avenue .              It show s the

16 address     above the door , and the front door , it leads

17 into the front hall way of the build ing .

18 Q.        Please    tell the jury what you did with respect

19 to the -- let me first show you -- I apologize , P-239 .

20 What is that ?

21 A.        That 's an apartment      door that is in the hall way

22 on the second       floor , and I believe    it is to be

23 Apartment     203 , although   I cannot    see a number         on that

24 picture .

25 Q.        But you re view ed these picture s before             trial and




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 1 that appear ed to be the Apartment             203 ?

 2 A.        That 's correct .

 3 Q.        And did you -- is that the apartment             for which

 4 you had the authority        to search ?

 5 A.        Yes, ma'am .

 6 Q.        And could you tell the jury what you did with

 7 respect    to Apartment    203 at 7219 Flo wer Avenue in

 8 Takoma    Park on November      12 , 19 99 ?

 9 A.        After knock ing on the door , and also if you look

10 to the right , there 's actual ly a little             doorbell .

11 Q.        Where my pen is right there ?

12 A.        After knock ing and ring ing that doorbell            and

13 get ting no response      and announci ng our presence , we

14 then force d open the door to the residence               to execute      a

15 search    warrant .

16 Q.        Who was there ?

17 A.        There were some uniform ed officer s from Takoma

18 Park , there were some investigator s from my own agency ,

19 as well as some investigator s from --

20           MR. MITCHELL:       Object ion .

21           Can we approach ?

22           THE COURT:      All right .

23           MS. GREENBERG:       Your Honor , I can re phrase         the

24 question .

25           BY MS. GREENBERG:




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 1 Q.         Who was in side the apartment        when you entered ?

 2 A.         When I entered     the apartment , two individuals

 3 were locate d -- they emerge d from a rear bedroom , one

 4 being Mr. Bynum and another         individual    who went by the

 5 nickname      Cookie .

 6 Q.         How were they dress ed ?

 7 A.         They weren't .

 8 Q.         What did you do then ?

 9 A.         They were both force d down onto the ground          until

10 we secured      the apartment    to make sure there was n't

11 anyone   else in side the residence , and then I spoke with

12 both of the individuals , Mr. Bynum , as well as this

13 individual      nickname d Cookie ; and they then check ed as

14 far as   -- one individual       was check ed for warrant s, and

15 he got dressed .         And when there was no warrant s, he

16 left the premises .

17            Mr. Bynum identifi ed himself        as the occupant     of

18 the residence      and sole resident .      He got dress ed , was

19 allow ed to leave the build ing or the apartment , but he

20 elect ed to stay outside        the apartment    while we

21 search ed .

22 Q.         In what area did he stay ?

23 A.         He was in the hall way right outside        the door .

24 Q.         Do you see Mr. - -- the person        you identifi ed as

25 Mr. Derrick      Bynum in the courtroom ?




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 1 A.         Yes, ma'am , I do .

 2 Q.         Could you identify          him by where he is sitting

 3 and what he is wear ing ?

 4 A.         He 's wearing      a kind of a gray and white

 5 checkered      shirt , direct ly between        two gentlemen       with

 6 glass es .

 7            MS. GREENBERG:        Your Honor , may the          record

 8 reflect      that the witness         has identifi ed Derrick       Bynum ?

 9            THE COURT:        The record    will so indicate .

10            BY MS. GREENBERG:

11 Q.         Show ing you wh at 's been mark ed as P-240 , which

12 is your Item No. 9 on your inventory .

13            Can you tell the jury what is reflect ed in that

14 picture ?

15 A.         It 's United      States    cur rency,    various

16 de nomination s.

17 Q.         How does that relate          to your search        on that date

18 November      12 , 19 99 ?

19 A.         It was seize d in the apartment .             I'd have to

20 refer to the paperwork           to remember        exact ly where it was

21 seize d.

22 Q.         If you -- do you have          the paperwork        with you ?

23 A.         Yes, ma'am .

24 Q.         Please    let us also know if that refreshes                 your

25 recollection        as to the amount .




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1 A.         By look ing at the tag that 's on there and

2 look ing at the inventory , it would be United              States

3 currency , and the total amount            was approximately     $2,497

4 that actual ly was seize d from Mr. Bynum after he had

5 place d it back into his pant s pocket           before    leavi ng the

6 apartment .

7 Q.         Now , just so we understand , certain           of the

8 pic tures that relate        to this search .     Can you tell

9 where this picture         was taken ?     Was it at the apartment

10 or at your office        afterwards ?

11 A.        That 's actual ly a photograph       that is at our

12 office    afterwards .     You know , I can tell because        of the

13 background    that 's us ed in the photograph .

14 Q.        Could you explain      to the jury your

15 picture -taking     procedure   in connection     with the search

16 warrant    so they can understand         in look ing through      these

17 various    picture s?

18 A.        When we enter into a residence , we take

19 photograph s before       we begin the search     just to show the

20 condition    of the apartment     as much as     we possibly       can

21 before    moving   anything   or beginning     any of the search .

22 If we find item s of interest           or significance    at the

23 scene , they are then often photograph ed right where

24 they are locate d, or if they've           been move d, where they

25 now are sitting      in side the apartment .




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 1          They are then later , during        an inventory     process

 2 back at police     station   on another     date , photograph ed

 3 again , and then usually       those tag s are there that give

 4 the case identifier       as well as the item number        which

 5 would correspond      to the im pound paperwork .

 6 Q.       So some of the picture s you re view ed for your

 7 testimony    today are in side the apartment         and some , like

 8 this , are back after the search         warrant ; is that

 9 correct ?

10 A.       That 's correct .

11 Q.       The same procedure       for the search     of the vehicle

12 that we talk ed about ?

13 A.       Yes, ma'am .

14 Q.       Did you make a record       of the de nomination s that

15 is reflect ed in P-240 of the different           bill s?

16 A.       Yes , I did .

17 Q.       Could you tell the jury what that is ?

18 A.       Four $100 bill s, two $ 1 bill s, ten $50 bill s,

19 six ty $20 bill s, twenty-nine       $10 bill s, twenty-one $5

20 bill s, and a total of $2,497 .

21 Q.       Show ing you what 's been pre -mark ed as

22 Government 's Exhibit      P-241 -- well , first , what is

23 reflect ed in P-241 ?

24          Where are we in the apa rtment         here ?

25 A.       You're   in a bedroom     of the residence .       It had




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 1 two bedroom s, what I normally        call the master     bedroom

 2 and a second        bedroom , and this is a photograph     of one

 3 of the closet s of the bed room .

 4 Q.         In which bedroom ?

 5 A.         I believe    that 's bedroom   two , which would not be

 6 the master     bedroom .

 7 Q.         That would be the master       bedroom ?

 8 A.         That is not -- I don't believe        that 's the master

 9 bedroom .

10 Q.         How is    the apartment   situated   from when you walk

11 in ?

12 A.         From the front door , you actual ly -- it 's kind

13 of a straight        shot all the way back .     It 's a little   bit

14 offset     to the left .    There 's a living    room that the

15 door open s into , and then there 's a dini ng room on the

16 left-hand side , a kitchen       to the right , and then

17 straight     down the hall way there are two bedroom s, one

18 to the left     and one to the right , and there 's also a

19 bathroom     back there as well .

20 Q.         Did you seize a particular       item from this

21 closet ?

22 A.         There was an item seize d from that closet , yes,

23 ma'am .

24 Q.         Direct ing your attention      to the top portion      of

25 this closet     where there 's a stereo .       Did you end up




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 1 tak ing a more close -up picture        of that ?

 2 A.         Yes, ma'am .

 3 Q.         Is that what is depict ed in P-242 ?

 4 A.         That is correct .

 5 Q.         Direct ing your attention     to this white box on

 6 the right speak er on the right side of the picture .

 7 Did you end up seizi ng that box ?

 8 A.         Yes, ma'am .

 9 Q.         What are we see ing in P-243 ?

10 A.         That 's actual ly a better    photograph   of the box

11 itself .

12 Q.         On top of the   stereo , which was on the top of

13 the closet ?

14 A.         Yes, ma'am .

15 Q.         And it 's this white box here that says ,

16 M A G D E S I A N S?

17 A.         Yes, ma'am .

18 Q.         Did you take a picture     of what was locate d

19 in side that white box ?

20 A.         Yes, ma'am , we did .

21 Q.         Show ing you P-244 .    Could you de scribe    to the

22 jury what we're see ing here ?

23 A.         That 's the item s that were re covered      in side that

24 shoe box .     There is a larger    bag of what look s like a

25 beige , rock -like substance , and next to that is another




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 1 baggy with a green vegetable         substance , and you will

 2 see some packag es with an apple on it that are

 3 individual , empty , Ziploc -style baggi es .         To the left

 4 of that is another       small baggy of a white , rock -like

 5 substance , and an electron ic scale is at the bottom              of

 6 the picture , and there were some other item s as well

 7 in side the box .

 8 Q.         Show ing you what 's been mark ed as P-245 .        What

 9 are we see ing in this picture ?

10 A.         That 's the same box and item s, probably         a little

11 better     picture   of the larger   bag of what I believe d at

12 that time was crack cocaine .

13 Q.         This says free eight by ten .        Do you see that on

14 there ?

15 A.         Yes .   That was a, like , a gift or a photograph

16 card advertisement       that was address ed to the Derrick

17 family .

18 Q.         The Derrick   family ?

19 A.         That 's correct .

20 Q.         And we see these two picture s of thing s with

21 apple on them .       What were they ?

22 A.         Those are empty , Ziploc s -- small Ziploc

23 baggi es .

24            MS. GREENBERG:      May I approach ?

25            THE COURT:    You may .




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 1            BY MS. GREENBERG:

 2 Q.         How does what we're see ing on P-245 relate          to a

 3 drug analysis       report   which has been pre -mark ed as

 4 Miscellaneous       17 ?

 5 A.         Well , in this photograph     and on that form , Item

 6 No. 1A is heat -seal ed bag contain ing one plastic            bag

 7 contain ing green leafy substance         suspect ed as

 8 marijuana , and that would be in that photograph , the

 9 item on the far right .

10 Q.         Okay .

11 A.         Item No. 2 is a heat -seal ed bag contain ing one

12 plastic     bag contain ing numerous     rock -like substance s

13 suspect ed of CDS crack cocaine , and that would be the

14 picture     that 's in the left , more center      of the screen ,

15 the larger     bag .

16 Q.         Could you tell the jury what the result ing

17 weight     was from the lab report      that 's in Miscellaneous

18 No. 17 ?

19 Q.         The crack cocaine .

20 A.         On No. 2 was 147 .12 grams .

21 Q.         Anything    else on that report    relate   to the

22 picture     we're see ing here ?

23 A.         Item No. 3 is a heat -seal ed bag contain ing the

24 one plastic     bag contain ing white powder , rock -like

25 substance     suspect ed as crack cocaine .




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1 Q.          Would you like me to move the picture up?

2 A.          It's there , it 's just right above the larger

3 bag .

4 Q.          The small er bag with the white powder           substance

5 in it ?

6 A.          Correct .

7 Q.          And Item 4 and 5 relate     to marijuana     and that

8 was also connect ed with the search            that date ; is that

9 correct ?

10 A.         That 's correct , from a different      location .

11 Q.         In side the same residence ?

12 A.         In side the same residence .

13 Q.         Based on your train ing and experience , what did

14 that big bag with the chunks        in it appear     to you to       be ?

15 A.         Crack cocaine .

16 Q.         Show ing you what 's B-24 6.    Can you tell the jury

17 what we're look ing at here ?

18 A.         That 's a red -colored   jack et, and on top of the

19 jack et is a heat -seal ed bag contain ing United           States

20 currency    that was found with the jacket .

21 Q.         Where was the jacket     locate d in relation       to your

22 search   of this apartment ?

23 A.         That was in the closet     in bedroom    two .

24 Q.         What are we see ing in P-247 ?       It 's Item No. 3 o n

25 your item and on our Exhibit        P-247 .




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 1 A.         That 's approximately       $7,000    in cash that was

 2 found in the red Eddie Bauer jacket              that was depict ed

 3 in the photograph        before .

 4 Q.         Although   we can see on here the various

 5 de nomination s, did you do a count of the de nomination s

 6 as part of your search        on that date ?

 7 A.         Yes, ma'am .

 8 Q.         Could you tell the jury the count of what we're

 9 see ing in P-247 ?

10 A.         Thirty-nine    $100 bill s, sixty-two       $50 bill s, for

11 a total of approximately            $7,000 .

12 Q.         All 100s and 50 s?

13 A.         Yes .

14 Q.         Did you recall    see ing P-248 as part of this

15 search , which is Item No. 4 on your list ?

16 A.         Yes, ma'am .

17 Q.         Were item s seize d from that coat ?

18 A.         Yes , there was United       States    currency    seize d

19 from that as well .

20 Q.         And from one part of the jacket           or two part s of

21 the jacket ?

22 A.         There was actual ly two location s in the jacket .

23 Some currency      was taken from the left , outside            pocket

24 of the jacket      as well as an interior         pocket     of the

25 jacket .




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 1 Q.         Show ing you what's     been pre -mark ed as P-249 .    Do

 2 you recognize       that ?   It 's Item No. 5 on your list .

 3 A.         That 's the currency     that was re covered    from the

 4 left , outside      pocket   of the jacket .

 5 Q.         Did you record      the de nomination s of that

 6 currency ?

 7 A.         Yes, ma'am .

 8 Q.         Could you tell the jury what it was ?

 9 A.         Twenty   $20 bill s, six $10 bill s, eleven       $5

10 bill s, one hundred eighty-five         $1 bill s, for a total of

11 approximately       $700 .

12 Q.         What is reflect ed in P-250 ?

13 A.         Could you raise the -- just so I can see the

14 tag .

15 Q.         Oh .   Item No. 6 .    Sorry about that .

16 A.         That's   U. S. cur rency that came from the left

17 interior     pocket   of the green-colored jacket      .

18 Q.         Can you tell the jury the de nomination s, please ?

19 A.         Twenty-eight      $5 bill s, two $50 bill s, one $100

20 bill , forty $10 bill s, fifty-three $20 bills, totalling

21 $1,800 .

22 Q.         I'm show ing you wh at 's been mark ed as P-251 ,

23 which is your Item No. 7 .          Could you tell the jury what

24 that is ?

25 A.         That 's a blue -colored    Polo sport s bag that was




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 1 re covered    from the closet    of the residence .

 2 Q.         From which closet    was it re covered ?

 3 A.         The same with the drugs, the closet number -- in

 4 bedroom two .

 5 Q.         Did you open up the bag ?

 6 A.         It was actual ly opened     by another    search    member ,

 7 but yes , I did see what was in it .

 8 Q.         Were you the seizi ng agent ?

 9 A.         Ultimate ly , that 's correct .

10 Q.         So you took custody     of these exhibit s?

11 A.         Yes, ma'am .

12 Q.         Show ing you what 's been mark ed as P-252 , which

13 is your Item 7.       Could you de scribe     to the jury what

14 we're see ing in this picture ?

15 A.         It 's two handgun s as well as ammunition          and a

16 small bottle     of gun oil , a holster , that were in side

17 the blue Polo sport bag .

18 Q.         Could you , for the record , state the type s of

19 gun s that were in the bag ?

20 A.         One was a Sturm Ruger brand police Security            Six

21 .357 Magnum     revolver , and it was load ed with six

22 rounds .     It was chrome   in color with wooden       grip s.

23            And the second    was a Smith & Wesson , Model 19 -3,

24 .357 Magnum , dark blue in color with black rubber

25 grip s, and it was also fully load ed with . 357 rounds .




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1 Q.          This bottle , which has the little           red mark in

2 it , I think you de scribe d it , but could you just

3 de scribe     what we're see ing there for the record ?

4 A.          It's a small bottle         of gun oil that 's use d for

5 the lubrication         of the weapon s.

6 Q.          Were these firearm s de sign ed to operate           as a

7 gun , typically      operate s by expel ling a projectile          by

8 mean s of an explosive ?

9 A.          Yes, ma'am .

10 Q.         Direct ing your attention        now to P-253 .      Could

11 you tell the jury what we're see ing here ?

12 A.         It 's a large plastic        bottle    that was fill ed with

13 currency     in side the residence .

14 Q.         Where was this locate d?

15 A.         If I could look at     my note s.        I believe   that was

16 actual ly in a -- the master           bedroom , but let me just

17 check , if you don't mind .

18 Q.         No , sure .    Go ahead .     For your reference , I

19 believe    it 's Item 16 .

20 A.         It actual ly came from the closet           in the bedroom

21 listed    as No. 1 .

22 Q.         Show ing you what 's been mark ed as P-2 54 , could

23 you tell the jury what we're see ing here ?

24 A.         That is approximately         $2,378    in various

25 de nomination s of U. S. currency .




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1 Q.       From where was this seize d?

2 A.       That was from the bottle        that was depict ed in

3 the photograph     before .

4 Q.       Did you make a record       of the currency      depict ed

5 in P-254 ?

6 A.       Yes, ma'am .

7 Q.       And what were the de nomination s?

8 A.       One hundred, eighty-three         $5 bill s, eighty-one

9 $10 bill s, one hundred thirty-seven          $1 bill s, eight $2

10 bill s, twenty-five    $20 bill s, for a total of $2,378 .

11 Q.      Now , find ing all this , did you take any action

12 with respect    to Mr. Bynum 's freedom      in the hall way ?

13 A.      Yes, ma'am .

14 Q.      What did you do ?

15 A.      I place d him under arrest .

16 Q.      As part of the search       of the house , did you

17 re cover additional    item s -- document s?

18 A.      Yes, ma'am .

19 Q.      Were they actual ly save d?        Were they kept in the

20 case file ?

21 A.      No , those document s are not .        They were part of

22 the evidence    that was turn ed in with all the rest of

23 the evidence , and I do not have them in          the case file .

24 Q.      Did you record       what they were as part of your

25 work in this case ?




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 1 A.        Yes .

 2 Q.        Did they corroborate     what Mr. Bynum already           told

 3 you , that he was the occupant       of that residence ?

 4 A.        Yes, ma'am .

 5 Q.        Could you give the jury some example s of the

 6 document s, which in your experience , would relate            to

 7 residency , what you seize d?

 8 A.        Well , there was bill s that were mail ed there

 9 with his name , such as a Sprint Spectrum           bill .   There

10 was a tax return      for the previous       year in his name in

11 the residence .

12 Q.        How much was reflect ed on the tax return ?

13 A.        If my memory     serve s me , it was about $10,000

14 total income      for the year , but I can look at my

15 records , if you want .

16 Q.        If you could fresh your recollection , please .

17 A.        Yeah , it 's listed   on Item 12 on my inventory           as

18 19 98 tax return     for Derrick   Bynum .     Total :   $10,605.

19 Q.        Were there any paper s reflect ing third -party

20 name s?

21 A.        There was some paperwork         in an envelope    that we

22 found in one of the closet s with a person 's name other

23 than Mr. Bynum .

24 Q.        Who was that ?

25 A.        The name Paulette     Martin .




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 1 Q.        Was it just Paulette     Martin , or was it connect ed

 2 with anybody     else ?

 3 A.        It was in an envelope     with paper s for Mr. Bynum .

 4 I don't recall     whether   or not it was an item that had

 5 both of their name s on it .

 6 Q.        Where was it locate d?

 7 A.        If you give me a moment .

 8 Q.        If you could refer to Location        8 and see if that

 9 refreshes    your recollection .

10 A.        That was from the closet      of bedroom    two in side

11 the residence .

12 Q.        Now , did you also re cover additional        ammunition

13 from that residence ?

14 A.        Yes, ma'am .

15 Q.        Where did you re cover the additional         ammunition ?

16 A.        They were actual ly in a cabinet       or a dress er

17 that all the furniture       had been move d from both of

18 those bedroom s and was now into the dini ng room or

19 kitchen    area , and that was found in one of the cabinet s

20 out in the -- that 's now in the kitchen          area -- dini ng

21 room .

22 Q.        In addition     to search ing the residence , did you

23 search    the vehicle ?

24 A.        Yes, ma'am .

25 Q.        Referring   to P-255 .   Do you recognize      that ?




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 1 A.         It 's a 19 94 Pontiac   Bonneville    with that

 2 Maryland     tag that I seize d and later search ed .

 3 Q.         Who was this vehicle     registered    to ?

 4 A.         Mr. Bynum .

 5 Q.         What are we look ing at in P-256 ?

 6 A.         That 's another   photograph   of that same vehicle,

 7 just a different      side of it , and it 's at our Public

 8 Work s Facility     in Takoma   Park .

 9 Q.         Could you tell the jury what we're see ing in

10 P-257 ?

11 A.         That 's a photograph    of the trunk area of that

12 vehicle     prior to it being search ed .

13 Q.         This is at the scene ?

14 A.         I'm sorry ?

15 Q.         This is at the scene ?

16 A.         No .   This is at our Public Work s Facility .

17 Q.         Did you end up seizi ng any item s from this

18 trunk ?

19 A.         Yes, ma'am .

20 Q.         Could you tell the jury what you seize d?

21 A.         One of the item s that was seize d was the

22 Pringle's potato      chip s can that is seen in the left

23 corner    of the trunk of the vehicle .

24 Q.         What are we see ing in P- 258 ?

25 A.         That 's a photograph    of the can actual ly in the




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1 trunk .    The lid has been re move d, and if you can look

2 down in side the can , the can does n't go -- the bottom

3 does n't go all the way down to the normal            level .

4 Q.        It 's considered    a false bottom ?

5 A.        That 's correct .

6 Q.        And P-259 ?

7 A.        That 's actual ly a picture      after the can has been

8 re move d and the search      was complete d and we were back

9 at police    headquarter s.      That 's lay ing on a table in

10 our office , the same can except        the bottom    has now been

11 re mov ed and you can see the bottom        to the right of the

12 photograph , and you're      actual ly look ing at the opening

13 of the bottom    of the can .

14 Q.       And 26 0?

15 A.       Same can in our office .       It 's on its -- stand ing

16 up with the bottom      back on it .

17 Q.       And just to be clear , what we're see ing in 26 0

18 is what is depict ed in P-257, in the corner           part of

19 that trunk ?

20 A.       That 's correct .

21 Q.       Is that what the trunk appear ed like when you

22 opened   up the trunk ?

23 A.       Yes, ma'am .

24 Q.       So that was right in there ?

25 A.       Yes, ma'am .




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 1 Q.         What is this thing here where the Nike shoe box

 2 is on top of it ?

 3 A.         That 's actual ly a child safety      seat .

 4 Q.         26 1.   What are we look ing at here ?

 5 A.         That 's the right rear passenger       portion    of the

 6 vehicle , the interior       be hind the passenger     seat is the

 7 floorboard     and it depict s a Gun k flat tire seal ant -type

 8 can .

 9 Q.         Is this how the car appear ed on the right rear

10 passenger     seat with the Gun k can at the time that you

11 saw it ?

12 A.         Yes, ma'am .

13 Q.         If we show P- 26 2, what is reflect ed there ?

14 A.         The Gunk can also had a false bottom           that was

15 opened , and in side there was actual ly a piece of paper

16 towel or tissue      paper , and then when you re move d that ,

17 there was all these individual          bag s of crack cocaine

18 in side there .

19            MS. GREENBERG:     Court 's indulgence .

20            Your Honor may I consult      with the clerk ?

21            THE COURT:     You may .

22            BY MS. GREENBERG:

23 Q.         Show ing you what's    been mark ed by , I believe ,

24 Miscellaneous      18 , and I will correct     the record    later

25 if I'm in correct , and provide       a fresh copy .




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1          Do you recognize      this crime report ?

2 A.       This i s from the Montgomery        County Police Crime

3 Laboratory .      That 's what we use d to submit      the

4 evidence , and then also get the response            back from the

5 laboratory .

6 Q.       Does it relate      to the search     of this particular

7 vehicle ?

8 A.       Yes, ma'am , it does .

9 Q.       Did you submit      the Pringle's     can , the Gunk flat

10 tire can a, nd some other baggi es that were seize d from

11 the car ?

12 A.      Yes .    The Pringle's     can , the Gunk can , and the

13 -- I believe     the baggi es that are depict ed as Item No.

14 3 are what came out of the Gunk can .

15 Q.      Start ing with the Pringle's        can , which we saw

16 with the false bottom , could you tell us why you

17 submitted   that ?

18 A.      Well , when examining       the Pringle's     can , it was

19 empty , but I could see a white , powdery         residue   in side

20 the can , so I submitted      that suspect ing that there was

21 a trace of controlled      dangerous    substance .

22 Q.      That was submitted       as Exhibit    No. 1 to the lab

23 in relation     to this report ?

24 A.      That 's correct .

25 Q.      What was the result        from the laboratory ?




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 1 A.        Trace amount s of cocaine .

 2 Q.        From the Gunk can itself , what were the result s

 3 of that ?

 4 A.        There were also trace result s in the can .

 5 Q.        From what the jury is see ing on the screen , what

 6 was the result s of that analysis ?            What was in side the

 7 Gunk fix a flat can ?

 8 A.        It was approximately 57.88 grams of crack

 9 cocaine, which        that tested   positive    as cocaine .

10 Q.        That 's consistent    with your observation s of

11 what's    on here ?

12 A.        Yes, ma'am .

13 Q.        Show ing you what's been marked as         P-263.     Can

14 you tell us how that relates to your analysis             ?

15 A.        That 's a Maryland    driver 's lice nse for Mr.

16 Bynum .     That was in the vehicle at the time of search,

17 and it was seized and impounded.

18 Q.        Where was that locate d?

19 A.        It was in the passenger       compartment     of the

20 vehicle , and I can tell you exact ly if you give me a

21 moment    to look at the inventory .        It was in side the

22 vehicle     between    the front passenger      seat an d the door

23 frame .

24 Q.        I'm show ing you --

25           MR. GREENBERG:      If I may approach      again , Your




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 1 Honor .

 2           THE COURT:     You may .

 3           BY MS. GREENBERG:

 4 Q.        Show ing you what 's been mark ed as Miscellaneous

 5 19 , certifi ed court records        from Montgomery    County ,

 6 State of Maryland .

 7           Can you tell if this relate s to the incident

 8 that you just spoke about with regard            to the search     of

 9 Mr. Bynum 's house and vehicle ?

10 A.        Yes, ma'am , it does .

11 Q.        And these are the records        relating    to the

12 proceed ings which start ed with your search           warrant ?

13 A.        That 's correct .

14 Q.        Could you tell the jury what occurred           on April

15 19 , 2000 , start ing with under -- with the defendant

16 right there ?

17           MR. MITCHELL:       Objection , Your Honor .

18           The document    speak s for itself .

19           THE COURT:     Over ruled .

20           BY MS. GREENBERG:

21 Q.        If you could read what happened         as a result      of

22 your investigation .

23 A.        The defendant    place d under oath and withdraw s

24 plea of not guilty       to Count s No. 1 and 3 of the

25 indict ment and enter s a plea of guilty          to said count s.




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 1 Do you want me to continue , ma'am ?

 2 Q.        Please .

 3 A.        Court :    Judge Beard advise s defendant         of his

 4 right s, finds the defendant           has know ingly ,

 5 intelligent ly , and free ly waive d his right to a jury

 6 trial and entered         his plea .    Accept s plea and enter s a

 7 find ing of guilty        to Count 1, possession     of a firearm

 8 in drug trafficking , and Count 3, possession               with

 9 intent    to distribute      controlled,     dangerous    substance .

10           Mrs. White , state 's attorney , Mr. Wood , defense

11 counsel , and Judge D. Beard .

12           MS. GREENBERG:       Thank you .     Nothing    further ,

13 Your Honor .

14           THE COURT:       Cross-examination    ?

15           THE COURT:       Ms. Greenberg , may I see that last

16 exhibit ?

17           MS. GREENBERG:       I'm sorry ?

18           THE COURT:       May I see that last exhibit ?

19           MS. GREENBERG:       Oh , certain ly .

20                            CROSS-EXAMINATION

21           BY MR. MITCHELL:

22 Q.        Is it detective ?       Sergeant    -- what is your

23 current     title now ?     I want to know how to --

24 A.        My current      title is "in vestigator ."       I carry the

25 rank of captain , but that 's fine .




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1             THE COURT:     Once a captain , always          a captain .

2             MR. MITCHELL:       I'll do captain .

3             BY MR. MITCHELL:

4 Q.          Captain , you know , you had applied            for and

5 received      a search    warrant   on November      12 , 19 99 .

6             You were present      when this was search         was

7 conduct ed ; correct ?

8 A.          Yes .

9 Q.          The purpose    for this search        warrant    was to

10 collect     evidence    in reference     to controlled      dangerous

11 substance s that you were look ing for ; correct ?

12 A.         That 's correct .

13 Q.         In your serving      the search      warrant , the purpose

14 of that is to do a thorough            search   of the house ,

15 thorough     search    of the person s in the house , make sure

16 you've    done a very complete         job of collect ing evidence ;

17 correct ?

18 A.         Yes, sir .

19 Q.         Some of those thing s you would be look ing for

20 would be controlled        dangerous     substance s,

21 paraphernalia , written        document s show ing any connection

22 with other people , other thing s such as that ; correct ?

23 A.         That 's correct .

24 Q.         Am I right ?    And all these item s you were

25 collect ing in order       to hand over to the state 's




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 1 attorney 's office , this would be Montgomery           County ; is

 2 that correct ?

 3 A.       Yes, sir .

 4 Q.       For even tual prosecution ?

 5 A.       Yes, sir .

 6 Q.       Now , you said that there was another           individual

 7 in the house when you arrive d.

 8 A.       That 's correct .

 9 Q.       And that individual , you call ed him Cookie , but

10 his name was Albert        Brad ley; isn't that correct ?

11 A.       That 's correct .

12 Q.       So Cookie was not his real name ?

13 A.       It was his nickname .

14 Q.       It was the nickname , but Albert         Brad ley was in

15 the residence     at the same time ?

16 A.       That 's correct .

17 Q.       If I understand      your testimony     --

18          MS. GREENBERG:       Your Honor , if we could

19 approach .

20          THE COURT:      You may .

21                    (At the bar of the Court.)

22          THE COURT:      By the way , Counsel , while you're        up

23 here , my intention     is to give the substantially

24 identical    instruction     on 404 (b) when it 's over .

25          MS. GREENBERG:       Your Honor , it 's within      the




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 1 conspiracy     theory .     It's part of the conspiracy .

 2            MR. MITCHELL:      I'd love an instruction .

 3            THE COURT:      Within   the conspiracy    theory ?     I

 4 won't do it then .

 5            MS. GREENBERG:      Your Honor , I caution ed Mr.

 6 Mitchell    a couple      of time s.    They went in on a murder

 7 warrant .

 8            THE COURT:      What ?

 9            MS. GREENBERG:      They went in on a murder

10 warrant .    If he start s asking , I think he 's get ting

11 dangerous ly close when he asks him why didn't               you talk

12 to this person     and investigate        this person ?     They were

13 investigati ng a murder        case .    It was only after they

14 found the drug s that they went back and got an

15 affidavit    and search      warrant    for drug s, and I don't

16 want to go there , Your Honor .

17            I've been very care ful .       I've given him both

18 affidavit s.     I've told him this issue .          We're get ting

19 dangerous ly close .        That 's why the officer       didn't

20 investigate     this other person .        I just want to put that

21 on the record     and make sure we're clear .

22            THE COURT:      Is this a murder    investigation       as to

23 Cookie ?

24            MS. GREENBERG:      It was a murder     investigation .

25 They went in the house on a murder            investigation ,




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 1 that 's why they didn't      detain   anybody , they didn't        stop

 2 anybody .     They didn't   have any basis to do that .          This

 3 was not a drug investigation .          I just think he 's

 4 get ting close , and I jus t want to be very care ful .

 5           MR. MITCHELL:      Ms. Greenberg     is correct     and not

 6 correct .     She is correct    that initial ly they serve d a

 7 search    warrant   based on a murder     investigation , saw

 8 drug s, came back , did another       search   warrant , and

 9 that 's when they collect ed the drug s.

10           What I'm talk ing about is the search          warrant

11 where they asked for drug s and drug paraphernalia .

12 We're I'm not talk ing about the         previous    search

13 warrant .     That 's not in evidence     and it was n't

14 discuss ed , and I'm not asking       about it .

15           MS. GREENBERG:      It 's all happening     at the same

16 time .

17           MR. MITCHELL:      No , no , no .   They serve d the

18 first one .

19           THE COURT:     Perhaps   the easiest     way to avoid a

20 problem     is to have the witness      advise d not to go there .

21           MS. GREENBERG:      I told him not to go there , but

22 if he start s question ing him why he did thing and why

23 he didn't     do thing s, the correct     answer    might be when I

24 first went, I was n't investigati ng a drug case , so I

25 just want ed to caution      Mr. Mitchell .      He's get ting




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 1 awful ly close .

 2           MR. MITCHELL:      I don't want to be boot strap ped

 3 by the    threat    of them introducing     evidence     that

 4 should n't come in by not being able to question                why he

 5 let some other guy go when he was there look ing for

 6 drug s, and there were drug s all throughout             the house ,

 7 and they already       knew there was drug s all throughout

 8 the house .

 9           MS. GREENBERG:      Your Honor , th e problem         is they

10 were on a murder       investigation .     That 's why they let

11 everybody     go.    They found the drug evidence .         That 's

12 exact ly where I'm going to have to ask this witness                  to

13 explain     why did they let the other person           go , and Mr.

14 Bynum stay out in the hall .         That 's where he 's going .

15           THE COURT:     Do you really     want to go there ?

16           MR. WARD:     He could certain ly be caution ed to

17 say it was another       matter , not I didn't     go in there for

18 drug s, I went in there for another          matter .

19           MR. MITCHELL:      His report    says he inter view ed

20 the guy .     The guy said he was just helping           him move

21 some furniture       and he let him go .     He didn't     say -- he

22 didn't    say in his report , and I would hope that Ms.

23 Greenberg     would n't create   some new evidence , but he

24 didn't    let him go because     he didn't    think he was

25 involve d in a murder .




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 1            His report    said he was helping      Mr. Bynum move

 2 some furniture .        His report    didn't   say , as Ms.

 3 Greenberg    would like to character ize , that he let him

 4 go because     he didn't    think that this other guy had

 5 anything    to do with this murder        investigation .

 6            MS. GREENBERG:      He let them go before      they got

 7 the drug search        warrant .   That 's where we're at .

 8            MR. MITCHELL:      It 's not crucial .     I can move on .

 9 I don't like being boot strap ped like this .

10            THE COURT:     It 's a very sharp tw o- edge d sword .

11            MS. GREENBERG:      Your Honor , to be clear , I have

12 highlight ed this as much as          you can highlight       it .   I'm

13 not going to highlight        it anymore .

14            MR. WARD:     I think we all assumed       that Cookie

15 was a female .

16            MS. GREENBERG:      No , no , no , no , no .

17            MR. MITCHELL:      Let 's not go there either .

18            THE COURT:     You're   going to move on .

19            MR. MITCHELL:      I'll move on .

20                             (Back in open court .)

21            BY MR. MITCHELL:

22 Q.         Captain   Hubbard , going through      the house , you've

23 already    identifi ed on the picture s that the government

24 has shown you a number        of item s that you seize d; right ?

25 You found those throughout           your search ?




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 1 A.         That 's correct .

 2 Q.         These item s have subsequent ly been destroy ed ?

 3 A.         Apparent ly .

 4 Q.         There was no need to retain         them , correct ,

 5 because     the case was over with , there was n't any

 6 appeal s or subsequent        appeal s?    It was n't significant

 7 to keep forever ; correct ?

 8 A.         Yes, sir .

 9 Q.         In your search      of the house , did you find any ,

10 like , pack ing materials        for , you know , other than what

11 you found here , but large pack ing materials              for

12 distributing      larger    amount s of drug s?    You found small

13 little    baggi es ; correct ?

14 A.         No .   I mean , there 's normal     household    pack ing

15 item s, but they were in the kitchen , not with the

16 drug s, so I didn't        consider   that .

17 Q.         Did you find big kilo wrapper s?            Are you

18 familiar     with that whose are ?

19 A.         No , I did not see that , sir .

20 Q.         I as sume you're     familiar    with them in your past

21 experience ; correct ?

22 A.         I've seen photograph s.         I haven't    re covered

23 kilo s.

24 Q.         Did you find any ledger s indicati ng any sale s of

25 any drug s to any particular          individuals ?




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 1 A.         Not that I recall .

 2 Q.         What about address     book s show ing name s of

 3 contact     people ?   Did you find any of that ; do you

 4 recall ?

 5 A.         I'd have to look back through         my note s exact ly

 6 what every item that was seize d, bu t going off my

 7 memory , I didn't      seize any address     book s.

 8 Q.         If you need to fresh your memory , that 's fine .

 9 Take a look .

10 A.         Did not seize an address     book .     There are some

11 document s here that I have        some records .

12 Q.         If it was an add ress book and seem ed significant

13 with name s and number s, would you have note d something

14 like that ?     Or would you have jus t put it down as a

15 miscellaneous     document ?

16 A.         Most of it would have been put as miscellaneous

17 document s, but there were also records           or photograph s

18 of other individuals , but most of it would just be

19 listed     as other document s.

20 Q.         Did you find the airline     ticket s of him

21 traveling     anywhere ?     Do you recall   maki ng any note of

22 something     like that ?

23 A.         I think there was a travel        itinerary   that was

24 taken .     I don't recall     where that was , but if you give

25 me another     second , I'll look back through         here .    I tem




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1 No. 15 , I've listed           here a travel    itinerary   for Derrick

2 Bynum , but I could n't tell you where it was .

3 Q.         Now , in your -- for the ladies and gentlemen of

4 the jury , you're       look ing at what , your return        that you

5 -- the evidence        log ?

6 A.         I'm actual ly look ing at an as sort ment of

7 document s, which is also the evidence              inventory   for the

8 search     warrant    as well as our im pound sheet , which is a

9 little     bit more descripti ve of the item s.

10 Q.        You also indicated         there was a letter     that was

11 in this inventory .           Now , I assume   that that was also in

12 your note s, there was a letter           with Paulette     Martin 's

13 address    or name on it you said ?

14 A.        There was an envelope , yes , that had some

15 document s in it , and one of the name s on the document s

16 was Paulette    Martin .

17 Q.        Is that -- are you referring           to your note s?

18 A.        Yes , I am .

19 Q.        May I see that ?

20 A.        Listed as No. 8 , sir .

21 Q.        You have to look at these note s because             this is ,

22 what , six and half year s ago is this period              of time , so

23 it 's not something      that your memory        would be fresh ?

24 A.        Not to every min or de tail , no .

25 Q.        I assume    you've     had a few search    warrant s in




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1 between     that time ?

2 A.        Yes, sir .

3 Q.        Your investigation      was close d as of this arrest ;

4 correct ?

5 A.        Th at 's correct .

6 Q.        Anything     contain ed in this conspiracy      that is

7 allege d here , you didn't      involve   yourself    in that

8 investigation ; did you ?

9 A.        I'm sorry , say that again .

10 Q.       You weren't     involve d in this larger     -- this

11 larger   investigation     of this conspiracy ; were you ?

12 A.       No, sir .

13 Q.       As of 19 99 , you were done , and once the case was

14 resolve d, you went on to other thing s?

15 A.       Yes, sir .

16 Q.       Now , you were asked to identify        Mr. Bynum , and

17 again , I assume     that it 's been some time and you've         had

18 a few case s since then .      Did you save any picture s or

19 keep any picture s in your note s to refresh          your memory

20 as to who Mr. Bynum was ?

21 A.       There is nothing     in my note file as a photograph

22 of Mr. Bynum , no.

23 Q.       Did you ever meet with the U. S. attorney             prior

24 to comi ng up and testify ing and have them show picture s

25 of Mr. Bynum to help you understand          wh o he was ?




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 1 A.       I was shown picture s that were taken of

 2 evidence , and of course , one of those picture s is that

 3 driver 's license     that was shown .

 4 Q.       That was what help ed you refresh           your memory ?

 5 A.       I had a memory       of Mr. Bynum before .      Yes , that

 6 ass is ted with it , as well as I saw a large board of

 7 photograph s here .

 8          MR . MITCHELL:      Okay.

 9          I have no further       question s, Your Honor .

10          THE COURT:      Any further      cross-examination    ?

11            Any re direct ?

12          MS. GREENBERG:        Brief ly , Your Honor .

13                        REDIRECT EXAMINATION

14          BY MS. GREENBERG:

15 Q.       Counsel    referred    you -- counsel     referred    you to

16 the paperwork      that you seize d reflect ed as Item 8.           Do

17 you recall    look ing at that ?

18 A.       Yes, ma'am .

19 Q.       Specifically , when you record ed the item that

20 you seize d in the name of -- with the name s Derrick

21 Bynum and Paulette      Martin       on them , could you tell the

22 jury what else was on that to further             de scribe   the

23 document s?

24 A.       Well , No. 8 says it 's two large envelope s:              One

25 brown envelope      date d December      4, 19 95 , contain ing




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1 assorted     paper s and document s in the name of Derrick

2 Bynum , and a second        brown envelope      date d -- it looks

3 like November        2, 19 97 , with assorted     paper s and

4 paperwork     in the name of Derrick       Bynum and Paulette

5 Martin .

6 Q.         Counsel    asked you about thing s like address

7 book s and pack ing materials .         Just to be clear .       On

8 P-244 , were these item s that you seize d from the shoe

9 box in the closet ?

10 A.        That 's correct .

11 Q.        Are there drug s here ?

12 A.        Yes , there are .

13 Q.        Is there packaging       material    here ?

14 A.        Yes, ma'am .

15 Q.        And a scale ?

16 A.        Yes, ma'am .

17 Q.        And spe cifically , the materials        seize d from

18 there on Item 17 is approximately             147 grams ?

19 A.        Yes, ma'am .

20 Q.        Of cocaine     base ?

21 A.        147 .12 grams .

22 Q.        Cocaine    base ?

23 A.        Yes, ma'am .

24 Q.        And you've     already   testifi ed you seize d money

25 from the various       place s in the apartment ?




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 1 A.       Yes, ma'am .

 2 Q.       And drugs ?

 3 A.       Yes, ma'am .

 4 Q.       And from the car , you seize d the item appear ing

 5 here of a false bottom       Gunk can ?

 6 A.       That 's correct .

 7 Q.       That was subsequent ly determine d to be 57 .88

 8 grams of crack cocaine ?

 9 A.       Yes, ma'am .

10 Q.       Is that correct ?

11 A.       Yes, ma'am .

12 Q.       The last thing you did before           the jury is Mr.

13 Bynum admitted     to possession     with intent     to distribute

14 the crack cocaine      and possession      of the gun ; is that

15 correct ?

16 A.       That 's correct .

17 Q.       Based on your search es that day ?

18 A.       Yes, ma'am .

19          MS. GREENBERG:       Nothing     further , Your Honor .

20          THE COURT:      Any re cross ?

21          MR. MITCHELL:       No , Your Honor .

22          THE COURT:      All right .      Captain , you may step

23 down .   Thank you .

24          MS. GREENBERG:       Your Honor , the witness       is

25 excused ?




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 1           THE COURT:      Yes , you may .

 2                    (Witness   excused    at 1:29 p.m. )

 3           MS. JOHNSTON:       Your Honor , at this time , we

 4 would like to recall        Sergeant    Chris Sakala        and

 5 hope fully finish      his recross examination         .

 6           THE COURT:      All right .

 7                    (Witness   Sakala    resume s the stand .)

 8                           RECROSS EXAMINATION

 9           BY MR. MONTEMARANO .

10 Q.        Good afternoon , Sergeant .        How are you ?

11 A.        Fine , thank you .

12 Q.        When we last spoke last week , we were talk ing

13 about the phone tap s, as I recall , phone call s you

14 hadn't    done -- you told us        you hadn't      tapped   any of the

15 phone s at 55 59 South Dakota ; correct ?

16           MS. JOHNSTON:       Objection .

17           Beyond   the scope of re direct .

18           THE COURT:      How is that in the scope of the

19 re direct ?

20           MR. MONTEMARANO :      I don't believe           it is beyond

21 the scope , Your Honor .

22           THE COURT:      Approach     the bench .

23                     (At the bar of the Court.)

24           THE COURT:      Tell me exact ly what the record           was

25 again .    I don't have     a perfect     memory .




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 1           MR. MONTEMARANO :     Let me get this straight , Your

 2 Honor .     It's been a week since I was asked to cease my

 3 cross so the government        could put on witness es that

 4 have other obligations,        and the first question       out of

 5 my mouth , I get an objection .         I think if I asked 15

 6 minute s of question s --

 7           THE COURT:     Tell me how it 's within      the scope of

 8 re direct .    That 's her objection .

 9           MR. MONTEMARANO :     Based upon my note s -- with

10 all due respect , it 's been over a week since the

11 government     did --

12           THE COURT:     When was he last on the stand ?

13           MS. JOHNSTON:      He was last on the stand on

14 Wednesday , Your Honor .

15           MR. MONTEMARANO :     It was before     the holiday ,

16 Your Honor .

17           THE COURT:     That was --

18           MR. MONTEMARANO :     Friday , June 30 .     Today is the

19 7th .

20           MS. JOHNSTON:      I think he was on the stand on

21 Tuesday .     On J uly 5th he was on the stand .

22           THE COURT:     July 5th ?

23           MS. JOHNSTON:      My note s show he was on the stand

24 July 5th .

25           MR. MONTEMARANO :     Day before    yesterday ?




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 1            MS. JOHNSTON:     Yes .

 2            THE COURT:     The beauty   of computer s.     Let 's see

 3 here .   July 5th .      All right .

 4            MS. JOHNSTON:     He was on cross-examination           by

 5 Mr. McKnett , re direct      by the government , and then Mr.

 6 Montemarano     did some re cross .

 7            THE COURT:     Then we had the elevator       failure ,

 8 and then we had the re cross by Mr. Montemarano .

 9            MR. MONTEMARANO :     My memory 's going , Your Honor .

10 I'm sorry , my memory 's going .        I re view ed my note s.         I

11 saw where I was hopi ng to lay some ground work as to

12 where I was and ask him then a few more question s

13 relative    to the government 's question s, but I don't

14 have very much .        I don't know   that I will get to the

15 end of the day , if truth be known .

16            MS. JOHNSTON:     Your Honor , re cross is

17 discretionary     with the Court .      The Court 's been --

18            THE COURT:     I've look ed at the re direct .      I

19 mean , there 's not a lot .      What do you intend       to go

20 into ?

21            MR. MONTEMARANO :     I was going to go into the

22 minimize d call s with the attorney s, the existence              of

23 other phone s at Hayward , and 559 5 South Dakota .            You

24 know , Your Honor , in all candor , I don't need to do

25 this on cross .       I can do all this in my case




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 1           THE COURT:     Do it in your case .       From look ing at

 2 my note s on re direct --

 3           MR. MONTEMARANO :      I don't wish to sound

 4 flippant , if it would make Your Honor and Ms. Johnston

 5 happy .

 6           THE COURT:     You're not here to make me happy .

 7 You're here to make your client           happy .   Don't worry

 8 about that .

 9           MR. MONTEMARANO :      I know that what I'm say ing ,

10 if the Court believe s this would be more appropriate

11 for me to do this because        Sergeant     Sakala   and I will be

12 commuting     for an ex tended   period     in my case .

13           THE COURT:     I think you need to do that in your

14 case then .

15           MR. MONTEMARANO :      That 's fine .

16           MS. JOHNSTON:      I want it clear that Mr.

17 Montemarano     is not do ing this to accommodate          the Court

18 or the government .       The government 's objection         is

19 beyond    the scope    of the re direct .

20           THE COURT:     Th e government 's objection        is well

21 taken and I have sustained         the objection .

22           MR. MONTEMARANO :      Fair enough , Your Honor .

23                        (Back in open court .)

24           MR. MONTEMARANO :      We have no further        re cross ,

25 Your Honor , on be half of Ms. Martin .




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 1            THE COURT:     Anyone   else have --

 2            MR. MARTIN:     Yes , Your Honor .     Just a moment ,

 3 please .

 4                          RECROSS EXAMINATION

 5            BY MR. MARTIN:

 6 Q.         Good afternoon , Sergeant     Sakala .

 7 A.         Good afternoon .

 8 Q.         I think the last time you were on the           stand , if

 9 I remember correctly,        was Wednesday ; is that correct ?

10 A.         I think that that 's accurate , yes .

11 Q.         At that time , you were shown a video of May 15 ,

12 2004 .     Do you remember    being shown a video ?        I think it

13 was Video Exhibit        27 but I 'm not sure .

14 A.         I'm not sure either .

15 Q.         It was a video of Mr. Goodwin        where you had

16 testifi ed , anyway , that it was Mr. Goodwin            get ting out

17 of a car , going into a house , and co ming back out .

18 Remember     that ?

19 A.         I recall   that now , yes .

20 Q.         You will also recall      that that video at the time

21 was on a fast -forward       mode ; was it not ?

22 A.         It was on a time lapse record        mode .

23 Q.         It was at a pole camera ; is that correct ?

24 A.         That is correct .

25 Q.         It was very hard to see the particular           feature s




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1 of anyone ; is that correct ?

2 A.       It was hard to see identif iable feature s, yes .

3 Q.       The last time I spoke to you , I think we had

4 establish ed there was no surveillance           on Mr. Goodwin       as

5 far as   you were aware ; is that correct ?

6          Aside from this video that we have here now of

7 May , 2000 --

8 A.       I'm not sure you asked me about that the last

9 time .   If you want to ask me that now , the answer            would

10 be that is correct , I'm not aware or know of any

11 surveillance    on Mr. Goodwin     specifically     other than

12 when he was at Hayward .

13 Q.      So on May 15 , 2004 , would it be correct           to state

14 that there was no surveillance          of Mr. Goodwin    lea ving

15 one point to arrive      at Hayward ?

16 A.      I believe    that is correct .      To be sure , I want ed

17 to check the surveillance       log , but I believe      that is

18 accurate .

19 Q.      Would it be accurate       that there was no video of

20 Mr. Goodwin    leavi ng Hayward    on May 15 , 200 4, and going

21 back to some other point or destination ?

22 A.      Other than the pole camera , I believe           th at 's

23 accurate .

24 Q.      Would it also be accurate         to state that during

25 your prior testimony , other than the reference            to the




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 1 Cadillac     on November     25 , 2003 , there was no vehicle

 2 that was specifically         identified    as being in the

 3 operation     or control     of Learley    Goodwin ; is that

 4 correct ?

 5 A.         I don't even know if we knew about the Cadillac

 6 at that time .         I certain ly don't recall   it .    He would

 7 primarily , if he show ed up at Hayward , be driven              --

 8 there was a vehicle         driven   by Larry Lane , and Mr.

 9 Goodwin     would frequent ly be in that vehicle , but he was

10 a pass eng er in that vehicle , I belie ve .

11 Q.         He was a pass enger,      so there was no vehicle          that

12 you could say or that you're           aware of that specifically

13 was identifi ed as one that he would operate              on a

14 frequent     basis ?

15 A.         I think that 's accurate , yes .

16 Q.         And your assumption       that the figure      leavi ng the

17 vehicle     that was depict ed on the video on May 15 , 2004 ,

18 was Learley     Goodwin     and you based that on the telephone

19 conversation s that you heard ; is that correct ?

20 A.         That and the fact that he -- a figure            in the

21 video match es Mr. Goodwin 's general          physical

22 description , yes .

23 Q.         That is your opinion .

24 A.         Yes , it is my opinion .

25            MR. MARTIN:      Nothing further .    Thank you , Your




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 1 Honor .

 2            THE COURT:      Any further    re cross ?

 3            MR. HALL:      Yes , Your Honor , just very brief ly .

 4                           RECROSS EXAMINATION

 5            BY MR. HALL:

 6 Q.         Good afternoon , Sergeant .

 7 A.         Good afternoon , Mr. Hall .

 8 Q.         You were asked a couple        of question s by the

 9 government     about the in ability       of Ms. Martin    and Mr.

10 Whiti ng to set up a deal .           Do you recall    that ?

11 A.         Yes , I do .

12 Q.         And you were given a couple         -- you were asked to

13 give some example s, I should           say , of reason s why a deal

14 might not happen        between     the two people .    Do you

15 remember     that question ?

16 A.         Yes , I do .

17 Q.         And you gave a couple        of example s, and one you

18 gave was an un paid debt -- for the record , you say yes

19 or no ?

20 A.         Yes , that is correct .       Yes , that is a frequent

21 reason    why a source     would cut off a customer .

22 Q.         And another     reason    that you gave was someone       may

23 be suspicious      of the other person s' involve ment with

24 the police ?

25 A.         Ab solut ely , yes .




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1 Q.         Would it be fair to say that those were just

2 example s that you were giving         based upon your knowledge

3 of the drug trade ; is that correct ?

4 A.         I believe    in the context     of the way the    question

5 was asked , that is a fair statement .

6 Q.         Okay .    There 's no evidence    that there was a

7 prior drug debt between        Mr. Whiti ng and Ms. Martin , for

8 example ; correct ?

9 A.         I would not agree with that .

10 Q.        Would you agree that based upon what has been

11 present ed to the jury , that there is no evidence            of a

12 prior drug debt ?

13 A.        I would agree that what has been present ed to

14 the jury to date , there is no evidence          of a drug debt .

15 Q.        Would you agree that in the telephone          call s

16 between    Mrs. Martin    and Mr. Whiti ng in which Mrs.

17 Martin , I'll say , put s him off as to get ting drug s for

18 him , that there 's no response       on her part about , well ,

19 you owe me money , or I'm not going to get you anything

20 until you're       paid up or something    like that ?

21 A.        I would agree with that .        The lack of pay ing or

22 lack of sell ing could be in direct , but there is no

23 direct    comment    by Ms. Martin   that that 's the reason

24 she 's not sell ing him drug s.

25 Q.        Okay .    Now , you were also asked about that -- a




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1 series   of question s by the government         that different        --

2 the people     have different     job s within   the drug

3 conspiracy .      Do you recall    that line of question s?

4 A.       Yes , I do .

5 Q.       Okay .    And you gave , again , some example s of a

6 person   could obvious ly supply      drug s; correct ?

7 A.       That is correct .

8 Q.       A person    could be supply ing paraphernalia         or

9 cut ting agent ; correct ?

10 A.      That is correct .

11 Q.      Okay .    And a person    could be engage d in money

12 laundering , which would be taking         the illegal     profit s

13 and funnel ing it into a legitimate         business ; right ?

14 A.      That is correct .

15 Q.      Okay .    And one of the example s you gave was

16 providi ng some degree     of legal advice      or legal

17 expertise ; is that correct ?

18 A.      That is correct .

19 Q.      Would you      agree with me that Mr. Whiting        is not

20 charge d with practici ng law without        a license ; is he ?

21 A.      No , he is not .

22 Q.      Now , you were also asked a couple          of question s

23 about the surveillance      that was done during       the -- I'll

24 say the time period      of the wiretap .

25 A.      I have been asked about surveillance , yes .




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1 Q.         I believe   you were specifically      asked , was n't it

2 a fact that , and I forget       the off icer 's name , forgive

3 me , but there was a police officer          whose identity

4 became     known while he was on surveillance , and I

5 believe      you made a statement    that the surveillance          was

6 somewhat      curtail ed after that ; is that correct ?

7 A.         After Detective     Schrier 's presence      became    known ,

8 yes .

9 Q.         Okay .   And you indicated     that there were other

10 method s by which you could ascertain , absent            the video ,

11 whether     or not somebody   had been there ; is that

12 correct ?

13 A.        That is correct , yes .

14 Q.        And one of those would have been conversation s

15 on the phone ?

16 A.        Conversation s on the phone and sometimes             you

17 could actual ly hear people       in the background , yes .

18 Q.        And specifically , I believe      you were referring

19 to a conversation     that had occurred      on , I believe       it

20 was April 25 , in which Ms. Martin         had indicated        that

21 Reece , or Mr. Whiting , had been there , and I think she

22 refers    to him as her brother     at some point in that

23 conversation ; is that right ?

24 A.        I think she says Reece just left out of here .

25 Q.        Reece just left .     Okay .   All right .     And that




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1 was your -- you indicated          that that would have been

2 evidence      to you that he had been there ; is that right ?

3 A.         I think that was a part of three conversation s

4 of my recollection       indicati ng that he had been there ,

5 yes .

6 Q.         And another   possibility     would be that she could

7 have been lying to the person           she was speak ing to on

8 the phone ; is that also correct ?

9 A.         Mr. Whiting   would have been also lying , then ,

10 when he said , I'll be right over , so you would have had

11 to have a series      of people    lying , yes , that is

12 possible .

13 Q.        Is it not a fact , though , that during        this time

14 period   of April 25 , you did have the pole video or the

15 pole camera     in operation ?

16 A.        It should   have been operati ng that day , yes .

17 Q.        Okay .   All right .    And if it had been operati ng ,

18 we would have seen whether         or not Mr. Whiting      was

19 there ; is that right ?

20 A.        I don't know .    I don't know    what the tape show s

21 that day .     I know there was a period         of time where they

22 were do ing construction      on the    street    where the street

23 was close d down , and during       that time period , people

24 had to use the side door , and we were not able -- the

25 pole cam was not able to capture          people    comi ng and




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 1 going from the residence         during   that time period .

 2 Q.       You don't specifically         remember       if it was that

 3 day ; do you ?

 4 A.       I do not know without         look ing at the log and the

 5 tape .

 6          MR. HALL:     Thank you .

 7          THE COURT:      Any further      re cross ?

 8          MR. MITCHELL:       Yes , Your Honor .

 9                             RECROSS EXAMINATION

10          BY MR. MITCHELL:

11 Q.       Detective    Sakala , I want to take you back to our

12 chart , if I could .

13          Do you recall     the chart that we did ?           It 's been

14 a few day s.

15 A.       Yes , I do recall      it .

16 Q.       And you were asked a number           of question s about

17 this and you made some notation s on here .               Do you

18 recall   what we were talk ing about , what I was asking

19 you in order     to produce     this chart ?

20 A.       You asked me a series         of question s after each

21 call , sometimes     the question s were slight ly different .

22 General ly , they focused       on whether     a specific    amount     of

23 money was mention ed .

24 Q.       And what was the purpose          of determini ng whether

25 or not a specific      amount    of money was asked about ?




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 1          MS. JOHNSTON:       Objection .

 2          MR. MITCHELL:       Let me lead .

 3          BY MR . MITCHELL:

 4 Q.       Do you recall     that what I asked you was in order

 5 to determine     amount s of drug s, you oftentimes        will look

 6 to some figure     in a conversation , which will help you

 7 put the two together       and perhaps     come up with your

 8 theory   how much the drug s were ?        Do you recall    that ?

 9 A.       I do recall     it , and I think I said before        I

10 agree with that .      That is one of the      thing s you look

11 at .

12 Q.       Right .    Now , would you also agree with me that I

13 didn't   ask you to re view every single         phone call Mr.

14 Bynum ever made ?

15 A.       The call s you asked me for this chart are listed

16 on the chart .     I don't know     if that 's every single        call

17 he made or not , but they're        on the chart .

18 Q.       If the government      asked you about three other

19 call s and made it a point and had you put up two here .

20 I want to go through       them for a moment .

21          The first call that Ms. Johnston           asked you about

22 was B-822 .    I don't have     a page reference      for that , but

23 she didn't    have me mark it on here .

24 A.       Have it on Page 116 .

25 Q.       I just ask ed you about that because          I assume      she




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 1 was asking     you whether    that was a dollar      figure , which

 2 would assist     you in determini ng an amount        of drug s.

 3            MS. JOHNSTON:     Objection    to the phrasi ng of the

 4 question     as to why the government       asked him a question .

 5            THE COURT:     Re phrase   the question , if you can .

 6            BY MR. MITCHELL:

 7 Q.         Ms. Johnston    was asking    you about this chart and

 8 asking     you question s regard ing this chart and the first

 9 question     she asked you was B-822 , which I did not

10 address .     Do you recall    that question ?

11 A.         What was the question       you're   referring   to ?

12 Q.         Well , she first said that I didn't        put down

13 B-822 on this chart and asked you about it because                 in

14 her question , she said it reference d some figure .               Do

15 you recall     that question ?

16 A.         I'm sure -- I'm still not sure I recall           the

17 question     you're   asking , whether    she asked me , but I

18 don't recall     the question .

19 Q.         Let me ask it this way :       If you could take a

20 look at this chart , do you find B-8 22 and me asking               you

21 about that specific        call ?

22 A.         B-822 ?

23 Q.         B-822 , if you could look at that chart .          Do you

24 see it ?

25 A.         Yes , I do .




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 1 Q.        We dis cuss ed it , did we not ?

 2 A.        If it 's on the chart , that would mean that you

 3 asked me a question          about the call , yes .

 4 Q.        In that question       I asked you whether       or not

 5 there was a dollar      figure     in that call , which would

 6 assist    you in comi ng up with some type of drug amount ,

 7 and your answer      was ?     If you can look at the chart .

 8 A.        I don't recall       the exact question      you asked

 9 again .    You would change       the phraseology      again on

10 occasion , but general ly , that 's what your question

11 concerned     was whether      they were figure    amount s.

12           In response    to this question , I referred           to the

13 $62 as being referring          to the amount   of cocaine       and not

14 the price .     You then wrote no on the chart .

15 Q.        Because   that is not a -- as you just said , it 's

16 not a dollar     figure .      That would assist      you in

17 determini ng amount     of drug s; correct ?

18 A.        The amount    of drug s is in the call .         I don't

19 need the dollar      figure .     I'm not sure I understand .            It

20 says 62 grams -- 62 , that 's the         amount , $62 .       I don't

21 need the money figure , so I'm not sure of your

22 question .

23 Q.        The next phone call Ms. Johnston            asked you about

24 was B-17 09 .    That 's on Page 210 .      Now , I didn't       ask you

25 about that call , did I?          Would you agree with me I




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 1 didn't ?

 2 A.         I do not see the call on the chart , but to be

 3 perfect ly frank with you , I don't remember           if you asked

 4 me any question s about this call or not .

 5 Q.         I can assure    you I didn't .     If it 's not on the

 6 chart , I didn't     ask you about it , but --

 7            MS. JOHNSTON:     Objection   to counsel 's

 8 testify ing .

 9            MR. MITCHELL:     I'll move on .     I'm try ing to    move

10 thing s along .

11            THE COURT:     Over ruled .

12            MR. MITCHELL:     I don't want us to stay beyond

13 2:00 .

14            BY MR. MITCHELL:

15 Q.         And in that call , if you could look on the fifth

16 conversation      from the top , what is Mr. Bynum say ing in

17 that phone call ?

18 A.         Specifically    say ing I'm just F-ing with you .

19 Q.         Right .   So , would it be safe to say that you

20 don't know exact ly whether        this figure    that is

21 discuss ed here is true or false ?          Would you agree with

22 me on that ?

23 A.         Based on the conversation , I would say it 's

24 false .    I mean , it appear s that he told her the money

25 was short , that being 14 something , and when Ms. Martin




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 1 counted     it , found out it was n't , then they have a

 2 little    joke about it , and he 's just say ing I'm just

 3 mess ing with you .       So based on the conversation , I

 4 would say that he was just mess ing with her .

 5 Q.         So would you , as an ex pert , rely on something

 6 that appear s to be false to come up with some figure                 of

 7 quantity     of drug s?

 8 A.         I would rely on the conversation        and what the

 9 conversation     is about .    It 's clear , I think , in the

10 conversation     that they're    joki ng with each other .        I

11 think Ms. Martin      is aware of that .

12 Q.         Would you , as an ex pert , then , rely on that

13 joki ng to come up with a precise , or in a theoretical

14 sense , a precise     amount   of drug s that they're      talk ing

15 about ?

16 A.         I would rely on the conversation        taken into

17 context     with all the other conversation s.        Based on

18 this , whatever    he said he was short , I don't think           I

19 offered     an opinion    about that .   I think I offered       an

20 opinion .     This show ed he paid her money .

21 Q.         So , that call could -- that call could

22 accurate ly go in this chart as another          call in which

23 the figure , whether       is one or whether    you can rely on

24 one , would n't assist      you with an actual    figure    of

25 drug s?




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 1 A.         I did not say that , no .

 2 Q.         I'm asking    you , would it be appropriate        to put

 3 this call on this chart as another            call in which you

 4 could not come up with an actual         quantity     of drug s

 5 based on the figure , whatever        it is ?

 6 A.         You put a lot of call s on the chart based on

 7 different     question s.     I'm not sure what the chart would

 8 represent , but based on this , I think my testimony                  on

 9 this call , if you have to put it on the chart , that 's

10 fine , but I think the call -- I think what I've

11 testifi ed to is this show s Mr. Bynum paid money .               I

12 don't think     I testifi ed to an amount .

13 Q.         So again , if I can refresh     your memory .       I know

14 it has been a few day s, but this chart I asked you

15 about was whether        there was a dollar      figure , some

16 quantity     amount , discuss ed in a phone call that would

17 allow you , as an ex pert , to come to then correspond                 to

18 some type of quantity         of drug s that was being purchase d

19 or sold .     Do you recall     that question ?

20 A.         As I think I testifi ed several        time s, I'll say

21 it again .     I certain ly don't mean to argue with you ,

22 sir .   Every question       you asked me with a call , near ly

23 every one was slight ly different        in th at s ometimes          you

24 asked me whether        the call con tained     money -- reference s

25 to money , sometimes        you would ask me whether     it




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 1 contain ed specific      figure s.          So without   re viewing    the

 2 transcript , I can't tell you what that chart purport s

 3 to show .

 4           All I can tell you is if we're talking                about

 5 Call 1709 what my opinion            is .     If based upon that

 6 opinion     you wish to put it on the chart , that 's fine .

 7 I'm not dis agree ing with that .              I know what you're

 8 try ing to ask , but I'm try ing to answer               the question

 9 accurate ly .

10 Q.        I don't want to -- I don't want to be labor this

11 either , but my -- my, I think               -- are you asking    --

12 say ing I asked you different               question s on every one of

13 these phone call s?

14 A.        On a lot of questions, you would ask different

15 questions on each phone call.                 I know what you were

16 getting at, but       the question s were sometimes           phrased

17 different ly , yes, sir .

18 Q.        And most of the time , I would say same as the

19 last question , same question , same question ?

20 A.        Sometimes    you did say that , yes, sir .

21 Q.        Right .    And understood          what I was do ing there ;

22 correct ?

23 A.        I understand     the general         gist of what you would

24 get .   Sometimes     you didn't      ask that question       to get

25 that specific       answer , yes .




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 1 Q.        And you understand      what I'm asking      you right

 2 now ; correct ?

 3 A.        I understand     what you're     asking .   I'm not

 4 agree ing to what you're       asking .    Again , my opinion          as

 5 to what this call mean s is based on a series             of call s

 6 and that Mr. Bynum paid Ms. Martin            for an amount       of

 7 cocaine .     I certain ly am not say ing that the figure               of

 8 14 something      is indicative    of the amount      of money that

 9 was paid on that particular         day , o r the amount     of

10 drug s.

11 Q.        In other words , you can't say what is discuss ed

12 here equal s this amount       of drug s, can you ?

13 A.        I have not said that .

14 Q.        I'm say ing you can't ; correct ?

15 A.        I have not said that .       I did not say that .            I am

16 not say ing that .       That is correct .

17 Q.        I also asked you about B-2179 on Page 241 .                  Do

18 you recall     being asked about that ?

19 A.        I do , yes .

20 Q.        And B-2179 , in your opinion , was an amount             of

21 $13 ,2 00 .

22 A.        That is correct .

23 Q.        Did you give an opinion         as to how much drug s

24 that correspond ed to , if at all ?

25 A.        I can , if you're    asking .     I don't recall      if I




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 1 did .

 2 Q.        I'm say ing did you in your direct         examination

 3 give an opinion       as to how much drug s this related           to ?

 4 A.        I believe    my testimony    was that this was the

 5 payment   towards     the kilogram    Mr. Bynum had receiv ed in

 6 a previous    transaction .     The $13,200    obvious ly would

 7 not be a full payment .

 8 Q.        Would that mean he would have gotten           a partial

 9 loan on this ?

10 A.        He could have , yes , or he could have been pay ing

11 off a prior debt .       I don't know .     This is just

12 reflect ing a payment      of $13,200 .     Ac tual ly, it 's

13 $13,000   because     the $200 is missing .

14 Q.        Let me jump ahead a little        bit .

15           I don't know    how long want to go , Your Honor .

16           MS. JOHNSTON:      Your Honor , I would ask the Court

17 to go long enough       to cover the recross examination           .      It

18 should n't take too long .

19           THE COURT:     Zip right along and see if we can

20 get this done .

21           BY MR. MITCHELL:

22 Q.        Ms. Johnston    also asked you about Hayward -7 .

23 That is a document       that 's become   relative ly understood

24 by most parti es here as the ledger          -- there were

25 ledger s within     that document .     Do you recall     that ?




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 1 A.       I've been asked about that document               several

 2 time s, yes .

 3 Q.       And you were asked about that specifically                   with

 4 regard   to Mr. Bynum .        Do you recall      that ?

 5          MS. JOHNSTON:         Objection .

 6          This is beyond        the scope of re direct .

 7          THE COURT:         I think we're go ing a little        far

 8 afield , aren't     we , Mr. Mitchell ?

 9          MR. MITCHELL:         No .     If I may .   Can we ap proach ?

10          THE COURT:         You may .

11                     (At the bar of the Court.)

12          MR . MITCHELL:        I don't know       how much closer      to

13 re direct     I can get .     She brought     out Hayward -7 .    She

14 asked Detective      Sakala     why isn't he in Hayward -7 ?          And

15 he said because      he was a cash customer          and people      keep

16 ledger s in order     to track the money owe d.            I'm asking

17 about Hayward -7 .     How can this not be on cross of

18 re direct ?     It 's clear as could be .

19          MS. JOHNSTON:         I will withdraw       my objection .

20 Hope fully just one or two question s.

21          THE COURT:         I'm hopi ng , too .

22                        (Back in open court .)

23          MS. JOHNSTON:         Your Honor , the objection        is

24 withdrawn      for the record .

25          BY MR. MITCHELL:




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 1 Q.         Do you recall     being asked about this Hayward -7 ?

 2 A.         Yes , I do .    I have been asked numerous

 3 question s.

 4 Q.         Do you recall     stati ng that the reason    Mr. Bynum

 5 isn't in that document        -- within   the page s of that

 6 document     is because    he was a cash customer ?

 7 A.         That 's certain ly a reason , yes .

 8 Q.         Now , is your opinion    still the same , based on

 9 what you just said , that the $13,000         is only a partial

10 payment    and he got a loan ?

11 A.         That is certain ly a reason      why he 's not in that

12 book , yes .

13 Q.         I don't think     you understand   my question .     Maybe

14 I'm not being clear .

15 A.         Please.

16 Q.         You said he 's a cash customer ; correct ?

17 A.         No , I did not say that .      Based on the

18 conversation s, it appear s to be -- I think the question

19 relating     to is there a reason     why Mr. Bynum is not in

20 the book or could there be a reason .           I don't think     I

21 definitively     said he 's not in this book because        he 's a

22 cash customer .      I'm say ing he could -- his name could

23 be talli ed in another       book that we did not re cover .

24 There are any number        of reason s why his name is not in

25 Hayward -7 .




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 1 Q.         Including    never buy ing drug s; correct ?

 2 A.         That would not be my opinion , no .

 3 Q.         Of course    it would n't , but you said there are

 4 any number     of reason s why he 's not in that book , and

 5 one of them might be he 's not buy ing drug s from Ms.

 6 Martin    because     he 's not in there .   Isn't that one

 7 possibility ?

 8 A.         No , it is not .

 9 Q.         So there 's any number     of reason s except     the one

10 you don't want to accept ?

11 A.         No, sir .    My opinion   is based on the evidence

12 that I have seen .        I have seen no evidence      that would

13 support    your opinion .     If that 's your opinion .

14 Q.         Let 's get back to what you're       character izing --

15 these are your theori es based on the conversation s that

16 you've    had , not your observation s of anybody , not your

17 --

18 A.         That 's not correct    sir .

19 Q.         Not your observation s of people       in side their

20 home s?

21 A.         That is correct .

22 Q.         Not in their minds ?      You don't know what they're

23 thinking     within    their minds ; do you ?

24 A.         No , I do not .

25            MS. JOHNSTON:      Objection , this is beyond      the




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 1 scope of re direct .

 2          THE COURT:      Over ruled , but try to stay within

 3 the scope .

 4          BY MR. MITCHELL:

 5 Q.       So when you gave the opinion         that it 's more

 6 like ly than not that he was n't in Hayward -7 is because

 7 he was a cash customer       is not consistent       with your

 8 second   opinion   that $13,200     is only a partial      payment

 9 and he got a loan for the rest , is it ?

10 A.       Yes , it is consistent .

11 Q.       How is it consistent ?

12 A.       I just told you .      I can go over it again .         Mr.

13 Bynum could be listed       in another    book we did not

14 re cover .    Ms. Martin   may decide    not to put that

15 particular     debt in the book .     There could be any number

16 of reason s why Mr. Bynum is not in that book and still

17 be a cash customer      or still be a person       who 's record ed

18 debt .   This could have been a short -term debt where he

19 said I'll bring you the cash tomorrow , that she didn't

20 write it down there .       Could be any number       of reason s,

21 so yes , I think it is consistent .

22 Q.       In your train ing and experience , is it your

23 experience     based on all your prior arrest s, that people

24 who are keep ing track of debt s just toss those

25 evidence s of debt s?




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 1 A.         Toss them where ?

 2 Q.         Get rid of them ?

 3 A.         Yes , it is my experience .           In fact , I think Mr.

 4 Uriarte     testifi ed yesterday       of him destroy ing one of

 5 his previous        ledger s.

 6 Q.         Is it more often than not when they're                owe d

 7 money , they keep record           of it so they make sure they

 8 get paid ?

 9 A.         I believe    they keep record         of it very care fully.

10 Does law enforcement            seize it ?     I believe    drug deal er s

11 often keep records of money.                 In most case s, in

12 probably     the overwhelming        majority of drug cases         I've

13 been involved in,        we are     not able to seize those

14 records .

15 Q.         There was another        call that I actual ly miss ed ,

16 and I'd like you to turn to Page 19 0, B-15 29 .

17            MS. JOHNSTON:         Objection .

18            Beyond    the scope of re direct .

19            THE COURT:      Mr. Mitchell , I think you're           going

20 pretty    far afield .

21            MR. MITCHELL:         All right .     Court 's indulgence ,

22 Your Honor .

23            THE COURT:      All right .

24            MR. MITCHELL:         I have no further      question s.

25            THE COURT:      All right .        Any further    re cross ?




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 1            MR. WARD:     I know everybody     is anxious    to get

 2 out of here , so I'll keep it short .

 3            THE COURT:     God bless you .

 4            BY MR. WARD:

 5 Q.         Sergeant , you recall    when you were asked on

 6 that , you were asked on Tuesday          -- pardon   me , on

 7 Wednesday , on re direct      by Ms. Johnston     about a

 8 telephone     call , B-6435 at Page 503 ?      I'm not sure which

 9 volume    that is , but in any event , you state d that she

10 did , in deed , have stolen     jewelry    that was found in her

11 apartment .     But you also said that there was a

12 reference     in that call to Dobie get ting additional

13 something     or having    line d up or found an additional

14 source    of supply     who had ounce s for $950 .     Do you

15 remember    that call ?

16 A.         Yes , I have it in front of me .

17 Q.         That was what she was say ing to -- allegedly             to

18 Ms. Martin ; is that correct , sir ?

19 A.         That is correct .

20 Q.         All right .    Now , would it be reasonable       to

21 conclude , sir , that this other source          was somebody

22 outside    this conspiracy , the one that 's being tri ed

23 now ?

24 A.         I have no idea .    I don't know     who the person       is .

25 Obvious ly if that person       is offering    drug s for sale to




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 1 people    in this conspiracy , I think by definition                 that

 2 make s them a part of this conspiracy , but I don't know

 3 who that person        is .

 4 Q.        Well , that 's a legal conclusion , with all due

 5 respect    to your ex per tise, I'm not           sure you're

 6 qualif ied to make .

 7           MS. JOHNSTON:          Object ion to counsel's comments           .

 8           THE COURT:          Sustained .

 9           MR. WARD:       Then I object        to the answer     and ask

10 that it be stricken            and the     jury be instruct ed to

11 dis regard   it .

12           THE COURT:          Dis regard    everything .

13           MR. WARD:       Pardon ?

14           THE COURT:          Dis regard    the question , her

15 objection , the answer , the whether or not he will

16 thing .    Dis regard    the whole thing .         It is stricken from

17 the record .        It is gone .

18                           RECROSS EXAMINATION

19           BY MR. WARD:

20 Q.        Let me ask you this :             If it was somebody     who was

21 in the conspiracy        that 's charge d here , would n't she

22 have said to Ms. Martin , oh , by the way , you know , Fred

23 Jones has ounce s for $950 or John Smith has ounce s for

24 $950 or Pookie        somebody     has ounce s for $950 ?       Would n't

25 that be reasonable            and rational     to conclude , sir ?




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 1 A.         No .

 2 Q.         Oh , it would n't ?   I see .     That does n't fit in

 3 with your theory        of the case , is that why ?

 4 A.         No .   I think you asked me whether        it would be

 5 reasonable , and it would be complete ly un reasonable                 for

 6 someone     to identify    a source   of cocaine     to somebody

 7 else .    I think I've testifi ed before         that would be

 8 contrary     to drug business .

 9 Q.         You're    tell ing this jury that my client         call ed

10 Paulette     Martin , with whom she is allege d to be a

11 co -con spirator      in the indict ment and tol d her that she

12 had a source        of supply , but for reason s of secrecy ,

13 didn't    want to tell her co -conspirator         who that person

14 was ?    That 's what you're     say ing ?

15 A.         She does n't identify      the person .    Whether    she

16 want ed to do it or not --

17 Q.         Is that what you're      say ing ?

18 A.         I'm sorry , Mr. Ward , if I may finish .

19 Q.         Maybe you if you could       answer   my question .

20            THE COURT:     Mr. Ward , let him finish      the

21 question     -- answer , please .

22            THE WITNESS:     She does not identify       the person 's

23 name in this call .        She does in previous       call s de scribe

24 the person .        However , her not want ing to or not

25 identify ing the person       is not un usual at all .




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 1          BY MR. WARD:

 2 Q.       So that 's what you're      tell ing this jury to

 3 answer   my question ?

 4 A.       I just answered      the question .     I can go over it

 5 again , sir , if you 'd like .

 6 Q.       Is there any evidence , sir , in any of the

 7 subsequent    conversation s that you're        familiar   with

 8 involving    my client    to show that there was ever any

 9 deal consummate d by her with respect           to this other

10 source   and the ounce s for $950 ?

11 A.       No , there is not that I'm aware of .

12          MR. WARD:     I see .    Well , thank you very much .

13          THE COURT:      Any further     re cross ?

14          MR. SUSSMAN :     Just a little , Judge , but I get so

15 few chance s.

16                        RECROSS EXAMINATION

17          BY MR. SUSSMAN :

18 Q.       Turn ing to   the event s of March 29 , 2004 .          Do you

19 your testimony     about those event s?

20 A.       Yes .

21 Q.       That 's the meet ing of Ms. Martin           and Ms.

22 Harden   in the park ing lot on New Hampshire           Avenue ;

23 correct ?

24 A.       That is correct .

25 Q.       Just to clarify      a couple    of thing s.     You weren't




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 1 there that day ?

 2 A.         That is correct .

 3 Q.         Detective    Musselmann .      He was there that day ?

 4 A.         That is correct .

 5 Q.         Okay .    And in police      parlance , he is known as an

 6 eyewitness ; is that correct ?

 7 A.         I think that 's the common        -- I don't know     the

 8 police     parlance , but he was an eyewitness .

 9 Q.         In common    parlance ?

10 A.         Common    parlance , yes .

11 Q.         From a police     perspective , eyewitness es are

12 considered        to be general ly good thing s in an

13 investigation ?

14 A.         General ly it can be , yes .

15 Q.         Based on your train ing and experience , do you

16 know any reason        why Detective     Musselmann   would be

17 un able to observe       relative ly simple     event s and record

18 them accurate ly ?

19 A.         Do I know of any reason s he can't see and record

20 thing s?

21 Q.         That 's correct .

22 A.         No .

23 Q.         Okay .    And you were present      in court when he

24 testifi ed ; correct ?

25 A.         Yes , I was .




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1 Q.        And he de scribe d general ly the event s where Ms.

2 Martin 's car was park ed and the conversation            occurring

3 and --

4 A.        I'm sorry .     The conversation     occurring ?

5 Q.        Occurring     between   Ms. Martin   and Ms. Harden ?

6 A.        I don't know     if he de scribe d the conversation .

7 I think he just saw that they had conversation .

8 Q.        Well , there seem ed to be a conversation .           Tha t's

9 what I meant .     He could n't hear anything ?

10 A.       That 's my recollection , yes .

11 Q.       He was fair ly close for surveillance,          15 or 20

12 feet away ?

13 A.       I would agree with that , yes .

14 Q.       Which you would estimate , which is the distance

15 you and I are from each other rough ly ?

16 A.       Yes it could be , yes .

17 Q.       And he testifi ed that he saw small -- he saw a

18 piece of paper pass and he was consistent            in that

19 testimony ?

20 A.       That 's my recollection , yes .       I agree with that .

21 Q.       Okay .   On re direct , you and Ms. Johnston         did a

22 little   demonstration     involvi ng a large fold ed up piece

23 of paper ; is that correct ?

24 A.       Yes .

25 Q.       Okay .   Was that something      spontaneous    or




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 1 something     that had been discuss ed prior to your

 2 testimony ?

 3 A.       We had not discuss ed it .

 4 Q.       Okay .    Am I correct       in term s of Detective

 5 Musselmann's      testimony    that he was never asked to

 6 demonstrate     with any large piece of paper ; is that

 7 correct ?

 8 A.       His testimony        in the courtroom       or beforehand ?

 9 Q.       His testimony        in the courtroom .

10 A.       I do not recall        him being asked that , no .

11 Q.       And he never de scribe d any large , fold ed -up

12 piece of paper during         his testimony ; did he ?

13 A.       He de scribe d -- he just said a piece of paper .

14 He did not further        de scribe    it .

15 Q.       He never de scribe d Ms. Harden            attempt ing to hide

16 or conceal     anything    during     the course     of his testimony ,

17 either ; did he ?

18 A.       I don't recall        anything       like that .

19          MR. SUSSMAN :        Thank you very much .

20          MR. MCKNETT :        I'm afraid       so , Your Honor .

21          THE COURT:       Go to it .

22                               RECROSS EXAMINATION

23          BY MR. MCKNETT :

24 Q.       Sergeant , when you were being question ed by Ms.

25 Johnston , you talk ed about the status              of PT K.   Do you




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 1 recall   that testimony ?

 2 A.         I think so .    If I recall      the question , it was

 3 about the business        Ms. Martin --

 4 Q.         Yeah , the business       PTK.

 5 A.         I think I recall      the question , yes .

 6 Q.         You were asked about the         PTK business    and

 7 Paula 's School of Perform ing Art s business ; correct ?

 8 A.         I think she asked about both of those .

 9 Q.         I didn't    write down your exact words , but I

10 think you said something            to the effect   that you did not

11 consider     either    of them to be legitimate       business es at

12 the time of this investigation ?

13 A.         I would agree with that .         I don't know     if I use d

14 that term , but I would agree with that .

15 Q.         In your opinion , they were not ?

16 A.         They were not function ing business es as a legal

17 enterprise , yes .

18 Q.         During   the course      of this investigation , a large

19 -- very large number        of doc uments    were obtain ed by the

20 government ; weren't       they ?

21 A.         Yes .

22 Q.         Either   by seizure      and in a search   or by

23 subpoena ; correct ?

24 A.         Correct .

25 Q.         And there were bank records         obtain ed in the name




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 1 of PTK?

 2 A.        Yes .

 3 Q.        Correct ?

 4 A.        Yes , there were bank account s she had .

 5 Q.        So at least    to some degree , Ms. Martin       was

 6 present ing PTK pro duc tions or whatever         it was as a

 7 legitimate    business    to other people ; correct ?

 8 A.        I was n't asked that question , but I would agree

 9 she did represent       that as her business .

10 Q.        And she at least     represent ed it to a bank and

11 opened    up an account    in the name of that business ; is

12 that correct ?

13 A.        She opened    up an account .     I don't know     what she

14 told the bank .

15 Q.        Do you recall    being asked question s about guilty

16 pro duc tions ?

17 A.        I have been asked some question s.          I think it

18 was Mr. Montemarano       might have asked some question s.

19 Q.        I think it may have      come up again in re direct       of

20 Ms. Johnston .

21 A.        I don't recall .

22 Q.        In any event , you do recall       guilty   pro duc tions ?

23 A.        Yes .

24 Q.        That was the business      apparently     run by Gil bert

25 Williams ?




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 1 A.         I believe     so , yes .

 2 Q.         And you said , I believe , that Ms. Martin -- that

 3 in your opinion , Ms. Martin            and Mr. Goodwin , was it ,

 4 had sent money ?

 5 A.         No .     The money was wire d from one of Ms.

 6 Martin 's account s.        I think I said Mr. Goodwin          was a

 7 partner      in that business     venture , if you want to call

 8 it , with Ms. Martin , but the money was , I believe ,

 9 wire d from one of Ms. Martin 's account s.

10 Q.         Okay .     But you were -- you did say , I believe ,

11 that to the best of your knowledge , neither                 of my

12 client s, Ms. Ali or her husband , Ulysses             Gardner ,

13 elicited      any of the    money ?

14 A.         I do not believe      they are involve d in that at

15 all , no .

16 Q.         You talk ed about the call , and I don't have             the

17 call number , but it was at Page 563 and 564 .                 That was

18 the call , if you remember            correct ly , between    Ms. Ali

19 and Ms. Martin        in which they agreed not to bring it up

20 with Ms. Terrell , mean ing they didn't             want to talk to

21 Ms. Terrell        about the neighbor      having   a problem    with --

22 for some reason .

23 A.         Yes .

24 Q.         Now , Ms. Martin     was a tenant     to Ms. Terrell ;

25 was n't she ?




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 1 A.         Yes , I believe     she rent ed the downstairs     and she

 2 probably     had full house privilege s.

 3 Q.         It make s sense a tenant     would not want to re mind

 4 her landlord       that some of the neighbor s were un happy

 5 with the tenant ?

 6 A.         In the general      context , not pertain ing to       this

 7 particular     case .   I would agree that could be a reason

 8 the tenant     would n't want a landlord      -- I think in this

 9 case , which is more specific , that Ms. Martin            just did

10 not want to draw any more attention           to the issue than

11 was necessary .

12 Q.         One reason   would be that a tenant        does n't want

13 to annoy the land lord at the risk of being evict ed ; is

14 that correct ?

15 A.         In a hypothetical      case , that could be a reason .

16 In this case , I think it was more direct           than that .

17 Q.         Well , it 's your opinion    it 's more direct .

18 A.         That 's correct .     It is my opinion .

19 Q.         And fin all y, I want to talk to you , and I'm

20 we're all glad to hear the word finally .             I want to

21 talk to you about the        two bag s that were present ed to

22 you .   They're     South Dakota    1 and South Dakota     15 .    Do

23 you recall     them ?

24 A.         Yes .

25 Q.         I don't think     we need to bring them out .          One of




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 1 them was a Hallmark         -- Hallmark     is a store that sell s

 2 cards and such ?

 3 A.         Yes , a Hallmark     bag and I think a green plaid

 4 bag .

 5 Q.         And a green plaid bag .         And you testifi ed , I

 6 believe , that those were the same bag s that my client ,

 7 Ms. Ali , and Ms. Martin        were carry ing on May 16 when

 8 they were , in your term s, moving           the business     to the

 9 school ?

10 A.         I did not say they were the same bag s.

11 Q.         I want ed to be clear with that .          I broke that

12 down and want ed to be sure .

13            You don't know if they were the same bag , do

14 you ?

15 A.         No .     I think I testifi ed they match ed the same

16 size and physical         description    appear ed to be the same .

17 I did not say they were the same .

18 Q.         Okay .     They appeared to     be the same bag s, but

19 those are common         bag s; aren't   they ?

20 A.         I don't know     whether     they're   common   or not .     The

21 jury can see them and --

22 Q.         If you shop at Hallmark         --

23 A.         If you shop at Hallmark , I'm sure you've

24 probably     got a lot of them at home .

25            MR. MCKNETT :     I take it back , Your Honor .            Now




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 1 finally .    I apologize .

 2          THE COURT:      Mr. McKnett , we all are facetious

 3 about these thing s, but you take your time .             I want you

 4 to adequate ly ask your question s.

 5          MR. MCKNETT :     I appreciate     that , Your Honor .

 6          THE COURT:      Don't worry about me .

 7          BY MR. MCKNETT :

 8 Q.       Sergeant , I want to talk to you about the drug s

 9 that were found at the school .          You testifi ed that

10 there were -- there was a quantity           -- in addition     to

11 the quantity     of powder   cocaine    that you and I talk ed to

12 previous ly , there was also a quantity          of crack cocaine .

13 A.       There was both , yes .

14 Q.       And there was also a relative ly small amount               of

15 heroin   found there ?

16 A.       I think this 's accurate , yes .

17 Q.       Now , we know how large an eight ball of powder

18 is .   It 's the size of a piece of can ; correct ?

19 A.       Yes .

20 Q.       And is it fair to say that the total quantity                of

21 drug s, powder , crack , and heroin       that was re covered

22 from the school      was something     less than 700 grams ?

23 A.       I would n't dis agree with that .        I'd have to look

24 at the drug report , but that sounds          about right .

25 Q.       Most of it was crack or powder          and the smallest




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 1 amount    was heroin ; correct ?

 2 A.         Again , I don't know     the exact amount , but I

 3 would agree that 's probably         accurate .

 4 Q.         Is it fair to say that it was about -- again ,

 5 without    try ing to pin you down to any specific          -- about

 6 half an d half powder        and crack ?

 7 A.         Again , without     see ing the exact number s, I don't

 8 know , but there was a significant          amount   of each one ,

 9 so that 's probably      a good estimate .

10 Q.         Okay .   Thank you .    How much volume     would a --

11 say a quarter       kilogram    of crack cocaine ?

12            MS. JOHNSTON:       Objection , beyond    the scope of

13 re direct .

14            THE COURT:      Mr. McKnett , I think that 's outside

15 the scope .

16            MR. MCKNETT :     Your Honor , Ms. Johnston     did talk

17 about the crack cocaine          that was re covered .

18            THE COURT:      Ask this one more question .

19            MR. MCKNETT :     That would have been the last

20 question      on that topic .

21            THE COURT:      That 's the last question .     Go for

22 it .

23            MR. MCKNETT :     Can I ask that question , Your

24 Honor ?

25            THE COURT:      Ask the question .




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 1            BY MR. MCKNETT :

 2 Q.         Approximately     how much volume       would a quarter

 3 kilogram     of crack cocaine        be compose d of ?

 4 A.         250 grams .

 5 Q.         Well , the size .     A fist ?     A softball ?   A tennis

 6 ball ?

 7 A.         Could be a softball , yeah .         I mean , I think the

 8 jury will actual ly see the crack , so I mean they --

 9 it 's -- softball       would probably      weigh 250 grams , but it

10 weigh s 250 grams .

11 Q.         They're     about the same size ?

12 A.         Could be .     Could be a little      bigger .

13 Q.         You're    right , they're    going to see that

14 probably , that 's why I'm not look ing for great

15 precision     right now.

16 A.         Correct .

17 Q.         But just to put it in context .

18            And those quantiti es of drug s, the powder          and

19 the crack , were re covered          -- at least   a lot of it was

20 re covered    in those hidden        contain er s, correct , at the

21 school ?

22 A.         I don't know .      I was n't there .

23 Q.         You didn't     see it ?

24 A.         I've seen it .      I don't know     where the -- or what

25 the exact state was when they were recovered.                There are




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 1 picture s represent ed .      I'm sure Detective       Cussan    will

 2 testify   as to how it appear ed .        I just don't recall .

 3           MR. MCKNETT :      You don't recall ?      That 's fine .

 4 Thank you .

 5           THE COURT:      Any re -re direct ?

 6           MS. JOHNSTON:       Yes , Your Honor , just a few

 7 question s.     No , the government      is finish ed with

 8 Detective     Sakala .   We have no other question s to ask

 9 him .

10                          (Witness excused.)

11           THE COURT:      All right .    Sergeant    Sakala , you can

12 now go back to patrol        duty subject     to being recall ed at

13 a later time .      You're   excuse d, ladies and gentlemen        .

14 We will recess      no w un til Tuesday    at 10 o'clock .

15           Counsel   should    be here at 9:45 for any

16 preliminary     matter s.

17           Have a nice weekend , and please          do not discuss

18 this among yourselves        or with anybody     else until

19 deliberation s begin .

20                   (Off the record       at 2:20 p.m. )

21

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 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al,     criminal Action Number        RWT -04-0235 on

10 July 7 , 2006.

11

12       I further certify that the foregoing 2           15 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 21st day of April 2008.

19

20

21                              __________________________

22                              TRACY RAE DUNLAP, RPR , CRR
                                OFFICIAL COURT REPORTER
23

24

25




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